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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                          Chapter 11

             ICON AIRCRAFT, INC.,1                                           Case No. 24-10703 (CTG)

                                       Debtors.                              (Joint Administration Requested)


                                     DEBTORS’ MOTION FOR
                              ENTRY OF INTERIM AND FINAL ORDERS
                     (I) AUTHORIZING POSTPETITION FINANCING; (II) GRANTING
                      LIENS AND PROVIDING SUPERPRIORITY ADMINISTRATIVE
                      EXPENSE CLAIMS; (III) MODIFYING THE AUTOMATIC STAY;
              (IV) SCHEDULING A FINAL HEARING; AND (V) GRANTING RELATED RELIEF

                      The above-captioned debtors and debtors in possession (collectively, the “Debtors”),

         hereby submit this motion (this “Motion”), under sections 105, 361, 362(d), 363(c), 364(c)(1),

         364(c)(2), 503(b), and 507 of title 11 of the United States Code (the “Bankruptcy Code”) and rules

         2002, 4001, 6003, 6004, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

         Rules”), for entry of interim and final orders, (a) authorizing the Debtors to obtain postpetition

         financing pursuant to a superpriority, senior secured, debtor-in-possession multiple draw term loan

         facility in an aggregate principal amount of up to $9 million; (b) granting liens and providing

         superpriority administration expense claims; (c) modifying the automatic stay; (d) scheduling a

         final hearing on the Motion; and (e) granting related relief. In support of this Motion, the Debtors

         submit the Declaration of Thomas McCabe in Support of the Debtors’ Chapter 11 Petition and

         First Day Pleadings (the “First Day Declaration”) and the Declaration of Neil Gupta in Support

         of the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Postpetition



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               The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
               number, are: ICON Aircraft, Inc. (7443); Rycon LLC (5297); IC Technologies Inc. (7918); and ICON Flying
               Club, LLC (6101). The Debtors’ service address is 2141 ICON Way, Vacaville, CA 95688.
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         Financing; (II) Granting Liens and Providing Superpriority Administrative Expense Claims; (III)

         Modifying the Automatic Stay; (IV) Scheduling a Final Hearing; and (V) Granting Related Relief

         (the “Gupta Declaration”), both of which are filed contemporaneously herewith and incorporated

         herein by reference. In further support of this Motion, the Debtors respectfully state as follows:

                                                   Preliminary Statement2

                  1.      The Debtors commenced these chapter 11 cases to implement a value-maximizing

         restructuring through a sale of some or all of their assets (the “Sale Transaction(s)”). In furtherance

         of these efforts, the Debtors, with the assistance of their advisors, have negotiated the terms of a

         postpetition delayed-draw financing facility, whereby the DIP Lenders will provide up to $9

         million of new money financing to the Debtors, with $4 million available upon entry of the Interim

         Order.

                  2.      The Debtors believe the amounts available under the DIP Facility will be sufficient

         to allow them to move expeditiously through these cases to maximize recovery to all stakeholders

         through one or more Sale Transactions. As set forth in more detail in the First Day Declaration,

         the Debtors intend to capitalize on their prepetition marketing and sale process, with an accelerated

         postpetition timeline culminating in an auction and free-and-clear sale anticipated to occur

         approximately two months post-filing. The DIP Facility will provide adequate liquidity to achieve

         this anticipated timeline, along with any runway necessary to distribute proceeds to stakeholders

         and exit the chapter 11 cases. In light of the facts and circumstances, the proposed DIP Facility

         provides the best financing available to the Debtors, and the Debtors respectfully request that the

         Court grant this Motion.




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             Capitalized terms used but not defined in this preliminary statement have the meaning given to them below.
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                                                            Jurisdiction

                 3.       The United States Bankruptcy Court for the District of Delaware (the “Court”) has

         jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the Amended Standing Order of

         Reference from the United States District Court for the District of Delaware, dated February 29,

         2012 (Sleet, C.J.). This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2),

         and the Debtors confirm their consent, pursuant to rule 9013-1(f) of the Local Rules of Bankruptcy

         Practice and Procedure of the United States Bankruptcy Court for the District of Delaware

         (the “Bankruptcy Local Rules”), to the entry of a final order or judgment by the Court in

         connection with this Motion if it is determined that the Court, absent consent of the parties, cannot

         enter final orders or judgments in connection herewith consistent with Article III of the United

         States Constitution.

                 4.       The statutory and other bases for the relief requested in this Motion are

         sections 105, 361, 362(d), 363(c), 364(c)(1), 364(c)(2), 503(b), and 507 of the Bankruptcy Code

         and Rules 2002, 4001, 6003, 6004, and 9014 of the Bankruptcy Rules.

                 5.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                         Relief Requested

                 6.       By this Motion, the Debtors seek entry of an interim order, substantially in the form

         attached hereto at Exhibit A (the “Interim Order”) and a final order (the “Final Order” and, together

         with the Interim Order, collectively, the “DIP Orders”),3 granting, among other things, the

         following relief:

                          a. Authorizing ICON Aircraft, Inc. (the “DIP Borrower”) to obtain postpetition
                             financing (the “DIP Financing”) pursuant to a senior secured, superpriority,
                             debtor-in-possession, multiple-draw term loan facility (the “DIP Facility”) in
                             an aggregate principal amount of up to $9 million, of which $4 million will be

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             The Debtors will file the form of Final Order prior to the Final Hearing (as defined herein).
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                 immediately available upon entry of the Interim Order and the satisfaction of
                 other applicable conditions precedent (the “Initial Draw”), $4 million will be
                 available upon the entry of the Final Order and the satisfaction of other
                 applicable conditions precedent (the “Second Draw”), and the final $1 million
                 will be available upon satisfaction of the other applicable conditions precedent
                 (the “Final Draw”), subject to the terms and conditions set forth in that certain
                 Senior Secured, Superpriority Debtor-in-Possession Loan and Security
                 Agreement attached hereto in substantially final form as Exhibit 1 to the Interim
                 Order (as amended, restated, amended and restated, supplemented, or otherwise
                 modified from time to time, the “DIP Credit Agreement”), by and among the
                 DIP Borrower, the Guarantors (as defined in the DIP Credit Agreement), the
                 financial institutions from time to time party thereto (collectively, the “DIP
                 Lenders”), and FeiRen International Co., Ltd., as administrative agent (in such
                 capacity, together with its successors and permitted assigns, the “DIP Agent”
                 and, together with the DIP Lenders, the “DIP Secured Parties”);

              b. authorizing the Debtors to execute, deliver, and perform under the DIP Credit
                 Agreement and the other DIP Documents (defined below), the DIP Orders, and
                 all other related agreements and documents creating, evidencing, or securing
                 indebtedness or obligations of any of the Debtors to the DIP Secured Parties on
                 account of the DIP Facility or granting or perfecting liens or security interests
                 by any of the Debtors in favor of and for the benefit of the DIP Agent, for itself
                 and for and on behalf of the DIP Lenders, on account of the DIP Facility, as the
                 same now exists or may hereafter be amended, restated, amended and restated,
                 supplemented or otherwise modified from time to time (any and all of the
                 agreements and documents currently executed or to be executed in connection
                 therewith or related thereto, by and among any of the Debtors, the DIP Agent,
                 and the DIP Lenders, and, in accordance with the DIP Credit Agreement,
                 collectively, the “DIP Documents”);

              c. authorizing the Debtors to pay fees and reimburse expenses under the DIP
                 Documents, and perform such other and further acts as required in connection
                 with the DIP Documents;

              d. granting to the DIP Agent, for itself and for and on behalf of the DIP Lenders,
                 and authorizing the Debtors to incur valid, binding, enforceable, non-avoidable,
                 and automatically and properly and fully perfected DIP Liens (defined below)
                 in all DIP Collateral (defined below) pursuant to sections 364(c)(2), (c)(3), and
                 (d), to secure the loans under the DIP Facility (the “DIP Loans”) and all
                 obligations and indebtedness of any of the Debtors to the DIP Agent and the
                 DIP Lenders under the DIP Documents, including all interest accrued and
                 accruing thereon, and all other amounts owing by the respective Debtors in
                 respect thereof (collectively, the “DIP Obligations”), which DIP Obligations
                 shall be subject and subordinate only to the Carve Out (defined below);

              e. granting to the DIP Agent, for itself and for and on behalf of the DIP Lenders,
                 allowed superpriority administrative expense claims pursuant to section
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                            364(c)(1) of the Bankruptcy Code against each of the Debtors in respect of all
                            DIP Obligations, with recourse to all prepetition and postpetition property of
                            the Debtors;

                        f. vacating and modifying the automatic stay of section 362 of the Bankruptcy
                           Code to the extent provided herein to permit the Debtors and the DIP Secured
                           Parties to implement and effectuate the terms and provisions of the DIP Orders
                           and the DIP Documents and to deliver any notices of termination described
                           herein;

                        g. scheduling a Final Hearing (defined below) within thirty (30) days of the entry
                           of the Interim Order and approving notice with respect thereto in accordance
                           with Bankruptcy Rule 4001(c)(2); and

                        h. waiving any applicable stay (including under Bankruptcy Rule 6004) with
                           respect to the effectiveness and enforceability of the DIP Orders and providing
                           for the immediate effectiveness of the DIP Orders.

                                           Background of the Debtors

                7.      The Debtors are an aircraft design and manufacturing company focused on the

         creation of consumer-friendly, safe, and technologically advanced aircrafts that make the

         adventure of flying more accessible to mainstream consumers. The Debtors’ flagship production

         aircraft—the ICON A5—is an amphibious sport plane.

                8.      On the date hereof (the “Petition Date”), the Debtors commenced with this Court a

         voluntary case under chapter 11 of the Bankruptcy Code. The Debtors are authorized to continue

         to operate their business and manage their properties as debtors in possession pursuant to

         sections 1107(a) and 1108 of the Bankruptcy Code. No trustee, examiner, or statutory committee

         of creditors has been appointed in these chapter 11 cases.

                9.      Additional information regarding the Debtors’ business and capital structure and

         the circumstances leading to the commencement of this chapter 11 case is set forth in the First

         Day Declaration, incorporated herein by reference.




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                                            Summary Terms of the DIP Documents

                   10.      In accordance with Rules 4001(c)–(d) of the Bankruptcy Rules and Rule 4001-2(a)

         of the Bankruptcy Local Rules, the chart below summarizes material terms of the DIP Facility.4

                   Provision                                     Summary                                       Location
             DIP Borrower                 ICON Aircraft, Inc., a Delaware corporation                    DIP Credit
             Bankruptcy Rule                                                                             Agreement,
             4001(c)(1)(B)                                                                               Preamble

             Guarantors                   The obligations of the DIP Borrower under the DIP DIP Credit
             Bankruptcy Rule              Facility will be guaranteed, jointly and severally, by Agreement,
             4001(c)(1)(B)                each of the following debtors and debtors in Preamble
                                          possession: (a) Rycon LLC, a Delaware limited
                                          liability company; (b) IC Technologies Inc., a
                                          Delaware corporation; and (c) ICON Flying Club,
                                          LLC, a Delaware limited liability company.
             DIP Agent                    FeiRen International Co., Ltd.                                 DIP Credit
             Bankruptcy Rule                                                                             Agreement,
             4001(c)(1)(B)                                                                               Preamble

             DIP Lenders                  FeiRen International Co., Ltd., along with any DIP Credit
             Bankruptcy Rule              subsequent successor or assignee.                              Agreement,
             4001(c)(1)(B)                                                                               Preamble

             Facility Type and            The DIP Facility is a superpriority, senior secured, DIP Credit
             Amount                       debtor-in-possession multiple-draw term loan facility Agreement, Section
             Bankruptcy Rule              in an aggregate principal amount of up to $9 million 2.1
             4001(c)(1)(B)                consisting of: (a) an Initial Draw up to $4 million,
                                          (b) a Second Draw of up to $4 million, and (c) a Final
             Bankruptcy Local Rule        Draw of up to $1 million.
             4001-2(a)(i)(A)
                                          Upon the Court’s entry of the Interim Order, and the
                                          satisfaction of the other applicable conditions
                                          precedent, the DIP Borrower will be permitted to
                                          draw the Initial Draw and upon the Court’s entry of
                                          the Final Order, and the satisfaction of the other
                                          applicable conditions precedent, the DIP Borrower
                                          will be permitted to draw the Second Draw and Final
                                          Draw, respectively.



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               The following summary of the terms of the DIP Facility is qualified entirely by the express terms of the referenced
               documents, including the DIP Credit Agreement and DIP Orders. If there are any inconsistencies between the
               summary below and such documents, the terms of such documents shall control. Capitalized terms used but not
               otherwise defined in this summary chart shall have the meanings ascribed to them in the DIP Credit Agreement
               or the DIP Orders, as applicable.
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                   Provision                               Summary                                     Location
             Use of                  The proceeds of the DIP Facility shall be used for (a)       DIP Credit
             Proceeds/Purpose        working capital and other general corporate purposes,        Agreement, Section
             Bankruptcy Rule         including the payment of professional fees and               6.11
             4001(c)(1)(B)           expenses; (b) the pursuit of a 363 Sale; and (c) non-        Interim Order ¶ H
                                     operating, bankruptcy-related cash disbursements,
             Bankruptcy Local Rule   subject to the Carve Out, and in each case, consistent
             4001-2(a)(i)(A)         with, subject to, and within the categories and
                                     limitations contained in the DIP Orders and the
                                     Approved Budget (defined below) (subject to
                                     Permitted Variances (defined below)).
             Maturity Date           The DIP Facility shall mature on the earliest of (a) the     DIP Credit
             Bankruptcy Rule         date that is six (6) months after the closing of the DIP     Agreement, Section
             4001(c)(1)(B)           Facility; (b) the substantial consummation (as defined       2.1
                                     in section 1101 of the Bankruptcy Code and which for         Interim Order ¶ 18
             Bankruptcy Local Rule   purposes hereof shall be no later than the “effective
             4001-2(a)(i)(B)         date” thereof) of a plan of reorganization filed in the
                                     chapter 11 cases that is confirmed pursuant to an
                                     order entered by the Court; (c) the consummation of
                                     a sale or other disposition of all or substantially all of
                                     the assets of the Debtors under Section 363 of the
                                     Bankruptcy Code; (d) entry of an order converting the
                                     chapter 11 cases to cases under chapter 7 of the
                                     Bankruptcy Code or dismissing the chapter 11 cases;
                                     and (e) the acceleration of the outstanding DIP
                                     Obligations and termination of the DIP Facility as a
                                     result of the occurrence and continuation of an Event
                                     of Default (defined below) (collectively, the
                                     “Maturity Date”).
             DIP Budget              The DIP Borrower has prepared and delivered to the DIP Credit
             Bankruptcy Rule         advisors to the DIP Agent an initial budget (the Agreement, Section
             4001(c)(1)(B)           “Initial DIP Budget”), attached to the Interim Order 5.2(b)
                                     as Exhibit 2. On April 29, 2024, and on the first
             Bankruptcy Local Rule   business day of every four (4) week period thereafter,
             4001-2(a)(iii)          the DIP Borrower shall deliver to the DIP Agent a
                                     supplement to the Initial DIP Budget (each a
                                     “Proposed Budget”) or the previously supplemented
                                     Proposed Budget so that it covers at least a 13-week
                                     period from the date of such Initial DIP Budget or
                                     Proposed Budget, as applicable, which supplemental
                                     Proposed Budget shall be subject to the DIP Agent’s
                                     approval in its reasonable discretion and without
                                     further order of the Court (the Initial DIP Budget and
                                     each approved Proposed Budget shall constitute,
                                     without duplication, an “Approved Budget”);
                                     provided, however, that in the event the DIP Agent,
                                     on the one hand, and the DIP Borrower, on the other
                                     hand, cannot agree as to a supplemented budget

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                   Provision                              Summary                               Location
                                     promptly, but in any event within two (2) days after
                                     the delivery thereof, the Approved Budget in effect
                                     immediately prior to such requested supplement shall
                                     govern and control for purposes of variance testing
                                     hereunder.

                                     The Debtors believe that the Approved Budget will
                                     be adequate, considering all available assets, to pay
                                     all administrative expenses due or accruing during the
                                     period covered by the Approved Budget.
             Variance Covenant       As of April 22, 2024 and the first business day of DIP Credit
                                     every other week thereafter (the “Testing Date”), for Agreement, Section
             Bankruptcy Rule         the period beginning as of the first day of the first full 5.11
             4001(c)(1)(B)           week following the Petition Date and ending on the
             Bankruptcy Local Rule   last business day of the week prior to the week of such
             4001-2(a)(i)(E)         Testing Date (such period, the “Testing Period”), the
                                     DIP Borrower shall not permit (a) the aggregate
                                     actual Cash Receipts of the DIP Borrower and its
                                     subsidiaries for such Testing Period to be less than
                                     85% of the cumulative Cash Receipts from the
                                     Approved Budget for such Testing Period; or (b) the
                                     aggregate actual Cash Operating Disbursements of
                                     the DIP Borrower and its Subsidiaries for such
                                     Testing Period to be greater than 115% of the
                                     cumulative Cash Operating Disbursements from the
                                     Approved Budget for such Testing Period (subsection
                                     (a) and (b) together, the “Permitted Variance”).
             Interest Rate           Except as otherwise set forth in the DIP Credit DIP Credit
             Bankruptcy Rule         Agreement, the DIP Loan shall bear interest on the Agreement, Section
             4001(c)(1)(B)           unpaid principal amount thereof from the date made 2.4(a) and (c)
                                     through repayment (whether by acceleration or
             Bankruptcy Local Rule   otherwise) at the rate of 15.00% per annum, due
             4001-2(a)(i)(B)         monthly and payable in kind; provided that the
                                     outstanding unpaid principal balance and all accrued
                                     and unpaid interest shall be paid in full in cash on the
                                     Maturity Date.
             Default Rate            The “Default Rate” shall be equal to the otherwise DIP Credit
             Bankruptcy Rule         applicable rate per annum plus 2.00%.              Agreement, Section
             4001(c)(1)(B)                                                              2.4(b)
             Bankruptcy Local Rule
             4001-2(a)(i)(B)
             Priority                The DIP Obligations shall, subject to the Carve- Out, Interim Order ¶ 5
             Bankruptcy Rule         at all times:
             4001(c)(1)(B)(vii)       (a)    First Priority Lien: pursuant to section
             Bankruptcy Local Rule           364(c)(2) of the Bankruptcy Code, be secured
                                             by a perfected first priority security interest
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                    Provision                             Summary                              Location
             4001-2(a)(i)(G), (J)            and lien on the DIP Collateral (defined
                                             below) to the extent such DIP Collateral
                                             (defined below) is not subject to valid,
                                             perfected and nonavoidable liens as of the
                                             Petition Date;
                                      (b)    Permitted Prior Liens: pursuant to section
                                             364(c)(3) of the Bankruptcy Code, be secured
                                             by a perfected junior lien on the DIP
                                             Collateral (defined below) to the extent such
                                             DIP Collateral (defined below) is subject to
                                             valid, perfected and nonavoidable liens
                                             (collectively, clauses (i) – (ii), the “DIP
                                             Liens”); and
                                      (c)    Super Priority Claims: pursuant to section
                                             364(c)(1) of the Bankruptcy Code, be entitled
                                             to superpriority administrative expense claim
                                             status, jointly and severally, with recourse to
                                             all prepetition and postpetition property of
                                             the Debtors (the “DIP Superpriority Claim”).

                                     The DIP Liens shall be senior to all administrative
                                     expenses of the kind specified in sections 503(b) and
                                     507(b) of the Bankruptcy Code, subject to the Carve
                                     Out.
             Parties with an         “Cash Collateral” means all of the Debtors’ cash, Interim Order ¶ 4
             Interest in Cash        wherever located and held, including cash in deposit
             Collateral              accounts, that constitutes or will constitute “cash
             Bankruptcy Rule         collateral” of any of the DIP Secured Parties within
             4001(b)(1)(B)           the meaning of section 363(a) of the Bankruptcy
                                     Code.

                                     To the extent there exists or comes to exist any cash
                                     of the Debtors’ estates that is not Cash Collateral,
                                     wherever located and however held, such cash shall
                                     be deemed to have been used first by the Debtors’
                                     estates, and such cash, to the extent applicable, shall
                                     be subject to the DIP Liens and DIP Superpriority
                                     Claims granted to the DIP Agent and DIP Lenders.
             Conditions Precedent    Conditions precedent to initial credit extension will DIP Credit
             to Effectiveness /      be customary and appropriate for similar debtor-in- Agreement, Section
             Credit Extensions       possession financings of this type, including as 3.1 and 3.2
             Bankruptcy Rule         follows:
             4001(c)(1)(B)            (a)    Approved Budget. Delivery to DIP Agent of
             Bankruptcy Local Rule           Approved Budget.
             4001-2(a)(i)(E)          (b)    Interim Order. The Court shall have entered
                                             the Interim Order in form and substance

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                   Provision                              Summary                              Location
                                             satisfactory to the DIP Agent in its reasonable
                                             discretion.
                                      (c)    Lien Searches. The DIP Agent shall have
                                             received copies of Uniform Commercial
                                             Code, tax, and judgment lien searches and
                                             title reports, in each case satisfactory to the
                                             DIP Agent in its reasonable discretion.

                                     Conditions precedent to each credit extension are as
                                     follows:
                                      (a)    Representations and Warranties. The
                                             representations and warranties set forth in the
                                             DIP Credit Agreement shall be true and
                                             correct in all material respects (except that
                                             such materiality qualifier shall not be
                                             applicable to any representations and
                                             warranties that already are qualified or
                                             modified by materiality in the text thereof) on
                                             and as of the date of such extension of credit,
                                             as though made on and as of such date
                                             (except to the extent that such representations
                                             and warranties relate solely to an earlier
                                             date).
                                      (b)    No Default or Event of Default. No Default
                                             or Event of Default under the DIP Facility
                                             shall have occurred and be continuing on the
                                             date of such extension of credit, nor shall
                                             either result from the making thereof.
                                      (c)    Final Order. Solely in respect of the Second
                                             Draw and Final Draw, the Court shall have
                                             entered the Final Order in form and substance
                                             satisfactory to the DIP Agent in its reasonable
                                             discretion.
                                     The Final Draw is subject to a reasonable
                                     determination by the Debtors that the projected cash
                                     flow forecasts support the need for a final draw.
             Affirmative Covenants   Affirmative covenants will be customary and DIP Credit
             Bankruptcy Rule         appropriate for similar debtor-in-possession Agreement, Section
             4001(c)(1)(B)           financings of this type, including as follows: 5.1–5.14
                                      (a)    Monthly Reports. Within 21 days after the Interim Order ¶ 19
                                             end of each calendar month (which may
                                             consist of the monthly operating reports as
                                             filed in the chapter 11 cases):
                                               i.    unaudited consolidated financial
                                                     statements for such calendar month
                                                     of the DIP Borrower consisting of a
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             Provision                         Summary                             Location
                                           balance sheet, and related statements
                                           of income and cash flows, all of
                                           which shall be certified on behalf of
                                           the DIP Borrower;
                                    ii.    an operating report for the DIP
                                           Borrower, including a detailed
                                           comparison of the actual year-to-date
                                           operating results against the
                                           Approved Budget; and
                                   iii.    solely with respect to the last month
                                           of each fiscal quarter, a management
                                           report, describing in reasonable
                                           detail the DIP Borrower’s operations
                                           and financial condition for such
                                           month.
                           (b)    Notice of Default. Provide notice of any
                                  default under DIP Facility.
                           (c)    Other     Materials.   Such    additional
                                  information, documents, statements, and
                                  other materials as the DIP Agent may
                                  reasonably request from time to time and
                                  which is reasonably capable of being
                                  obtained, produced or generated by such
                                  Debtor.
                           (d)    Notices. Notice of any Material Adverse
                                  Change or other material events, including
                                  material     litigation  or    actions    by
                                  governmental authorities, defaults under
                                  material contracts or receipt of bona fide
                                  offers to purchase the DIP Borrower’s assets.
                           (e)    Conference Calls.      Conference calls
                                  requested by the DIP Agent, not more often
                                  than once per week.
                            (f)   Existence. Maintenance of existence.
                           (g)    Maintenance of Properties. Maintenance and
                                  preservation of the DIP Collateral.
                           (h)    Taxes. Payment of taxes.
                            (i)   Insurance. Maintenance of insurance.
                            (j)   Inspection. Visitation of properties and
                                  inspection of DIP Collateral and books and
                                  records.
                           (k)    Environmental. Compliance with applicable
                                  environmental laws.
                            (l)   Compliance with Laws. Compliance with

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                   Provision                             Summary                                Location
                                            applicable laws.
                                     (m)    Formation of Subsidiaries. Limitations on
                                            formation of new subsidiaries.
                                     (n)    Approved Budget. Compliance with the
                                            Variance Covenant.
                                     (o)    Pre-Carve Out Trigger Notice Reserve.
                                            Maintenance of Pre-Carve Out Trigger
                                            Notice Reserve in segregated account,
                                            subject to weekly obligation to fund
                                            additional amounts up to Pre-Trigger Carve
                                            Out Cap.
             Negative Covenants      Negative covenants will be customary and DIP Credit
             Bankruptcy Rule         appropriate for similar debtor-in-possession Agreement, Section
             4001(c)(1)(B)           financings of this type and will include exceptions set 6.1–6.17
                                     forth in the DIP Facility, including as follows:
             Bankruptcy Local Rule
             4001-2(a)(i)(C)          (a)   limitation on indebtedness;
                                     (b)    limitation on liens;
                                      (c)   limitation on fundamental changes;
                                     (d)    limitation on disposal of assets;
                                      (e)   limitations on modifications to material
                                            contracts and organizational documents;
                                      (f)   limitation on change of control;
                                     (g)    limitation on transactions with affiliates;
                                     (h)    limitation on use of proceeds of the DIP
                                            Facility;
                                      (i)   limitation on seeking modifications to the
                                            DIP Orders;
                                      (j)   limitations on proposing or supporting any
                                            plan of reorganization;
                                     (k)    limitations on         acquisitions,   loans   or
                                            investments;
                                      (l)   limitations on paying other indebtedness; and
                                     (m)    limitations on distributions and redemptions
                                            of any equity interests.
             Milestones              The Debtors shall be subject to the following DIP Credit
             Bankruptcy Rule         milestones    in    these Chapter 11    Cases Agreement, Section
             4001(c)(1)(B)(vi)       (the “Milestones”):                           6.17
             Bankruptcy Local Rule    (a)   not later than ninety (90) days after the
             4001-2(a)(i)(H)                Petition Date, the Court shall have entered an
                                            order approving the sale of all or a potion of
                                            the DIP Collateral pursuant to section 363 of
                                            the Bankruptcy Code (the “Sale Order”);

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                   Provision                             Summary                                  Location
                                      (b)   not later than one hundred fifty (150) days
                                            after the Petition Date, the Court shall have
                                            entered an order to approve the disclosure
                                            statement for an Acceptable Plan (defined in
                                            Section 1.1 of the DIP Credit Agreement);
                                            and
                                      (c)   not later than one hundred eighty (180) days
                                            after the Petition Date, the Bankruptcy Court
                                            shall have entered an order to approve an
                                            Acceptable Plan (defined in Section 1.1 of
                                            the DIP Credit Agreement).
             Postpetition Default    “Event of Defaults” under the DIP Credit Agreement       DIP Credit
             Bankruptcy Rule         include:                                                 Agreement,
             4001(c)(1)(B)            (a)   failure to pay (i) when due, any principal or     Section 8.1
             Bankruptcy Local Rule          (ii) within 5 business days of when due, any      Interim Order ¶ 20
             4001-2(a)(i)(M)                other DIP Obligations;
                                      (b)   failure to comply with reporting and required
                                            notice affirmative covenants (which remain
                                            unremedied for 5 business days), existence of
                                            DIP Borrower, failure to join a new
                                            subsidiary as a loan party as and when
                                            required, any negative covenant, and any
                                            failure to maintain liens in favor of DIP
                                            Agent;
                                      (c)   failure to meet or satisfy the Milestones;
                                      (d)   any other breach that remains unremedied for
                                            30 days;
                                      (e)   any misrepresentation that continues for 30
                                            days;
                                      (f)   any Debtor files a motion with the Court or
                                            any other court with jurisdiction in the matter
                                            seeking an order, or an order is otherwise
                                            entered, (i) amending or modifying the DIP
                                            Orders in a manner materially adverse to the
                                            DIP Lenders’ interests, or (ii) reversing,
                                            revoking, staying, rescinding, or vacating the
                                            DIP Orders;
                                      (g)   the DIP Borrower files or obtains Court
                                            approval of a disclosure statement for a
                                            chapter 11 plan that is not an Acceptable Plan
                                            or a chapter 11 plan is confirmed that is not
                                            an Acceptable Plan;
                                      (h)   except with respect to the Carve Out and any
                                            Permitted Liens, any Debtor shall file any
                                            motion or application, or the Court allows the

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                                               motion or application of any other person,
                                               which seeks approval for or allowance of any
                                               claim, lien, security interest ranking equal or
                                               senior in priority to the claims, liens and
                                               security interests granted to the DIP Agent
                                               under the DIP Orders, or with respect to the
                                               DIP Collateral or any such equal or prior
                                               claim, lien, or security interest shall be
                                               established in any manner, except, in any
                                               case, as expressly permitted under the DIP
                                               Orders;
                                         (i)   the DIP Orders shall cease to be in full force
                                               and effect from and after the date of entry
                                               thereof by the Court;
                                         (j)   the entry of an order which provides relief
                                               from the automatic stay otherwise imposed
                                               pursuant to section 362 of the Bankruptcy
                                               Code, which order permits any creditor, other
                                               than the DIP Agent (other than any creditor
                                               having a lien on specific equipment that is
                                               senior to the DIP Agent), to realize upon, or
                                               to exercise any right or remedy with respect
                                               to, any material portion of the DIP Collateral;
                                         (k)   conversion of the chapter 11 cases to cases
                                               under chapter 7 of the Bankruptcy Code, or
                                               dismissal of the chapter 11 cases either
                                               voluntarily or involuntarily and the DIP
                                               Obligations are not simultaneously paid in
                                               full; or
                                         (l)   a trustee or an examiner with special powers
                                               is appointed pursuant to section 1104 of the
                                               Bankruptcy Code.
             Remedies; Waiver or        When an Event of Default exists, the DIP Agent may       DIP Credit
             Modification of the        do any one or more of the following, in each case        Agreement, Section
             Automatic Stay             subject, as set forth in the DIP Orders, to the          8.2
             Bankruptcy Rule            requirement for a Default Notice and the expiration      Interim Order ¶ 21
             4001(c)(1)(B)(iv), (vii)   of the Waiting Period:
             Bankruptcy Local Rule       (a)   declare the DIP Obligations due and payable,
             4001-2(a)(i)(S), (T)              and the DIP Facility terminated, in each case
                                               upon the expiration of the Waiting Period,
                                               whereupon the DIP Obligations shall become
                                               and be immediately due and payable;
                                         (b)   terminate, restrict, or reduce the DIP
                                               Borrower’s ability to use Cash Collateral
                                               other than to pay expenses set forth in the
                                               Approved Budget that are necessary to avoid

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             Provision                         Summary                              Location
                                  immediate and irreparable harm to the
                                  Debtors’ estates; provided, however, that the
                                  professional fees and expenses of the Debtors
                                  and the Committee’s professionals shall be
                                  governed by the paragraph in the DIP Order
                                  authorizing the Carve Out;
                           (c)    charge interest at the Default Rate;
                           (d)    upon five (5) business days’ prior written
                                  notice, in accordance with the terms hereof,
                                  to the Debtors, the Office of the United States
                                  Trustee (the “U.S. Trustee”) and lead counsel
                                  for any statutorily appointed committee
                                  (the “Committee”), obtain and liquidate the
                                  DIP Collateral;
                           (e)    require the applicable Debtor to assemble all
                                  of the DIP Collateral constituting personal
                                  property without judicial process pursuant to
                                  Section 9-609 of the Uniform Commercial
                                  Code;
                            (f)   upon five (5) business days’ prior written
                                  notice, in accordance with the terms hereof,
                                  to the Debtors, the U.S. Trustee and the
                                  Committee, take possession of all DIP
                                  Collateral constituting tangible personal
                                  property without judicial process pursuant to
                                  Section 9-609 of the Uniform Commercial
                                  Code; and
                           (g)    exercise any of its other rights under the DIP
                                  Documents, any rights granted under the
                                  Final Order and applicable law.

                          Subject to the terms of the DIP Documents and the
                          Interim Order, the automatic stay provisions of
                          section 362 of the Bankruptcy Code shall be modified
                          to the extent necessary to permit the DIP Secured
                          Parties to exercise all rights and remedies and to take
                          any or all of the above actions, without further order
                          of or application to the Court, after five (5) business
                          days (as may be extended by the Court, such period,
                          the “Waiting Period”) from the delivery of a written
                          notice of the occurrence and continuance of an Event
                          of Default (the “Default Notice”) (e-mail being
                          sufficient for this purpose) by the DIP Secured Parties
                          to the Debtors, their counsel (Sidley Austin LLP), the
                          U.S. Trustee, and the Committee, if any.



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                   Provision                            Summary                              Location
             Prepayments             Mandatory prepayments include:                        DIP Credit
             Bankruptcy Rule          (a)   Within five (5) business days of the date of Agreement, Section
             4001(c)(1)(B)                  receipt by any Debtor of the Net Cash 2.3(d)
             Bankruptcy Local Rule          Proceeds of any disposition (whether through Interim Order ¶ 17
             4001-2(a)(i)(I)                a voluntary or involuntary sale, the loss,
                                            destruction or damage thereof or any actual
                                            condemnation, confiscation, requisition,
                                            seizure or taking thereof or otherwise) of DIP
                                            Collateral (other than Permitted Transfers),
                                            the DIP Borrower shall prepay such portion
                                            of the outstanding amount of the DIP
                                            Obligations in an amount equal to one
                                            hundred percent (100%) of the Net Cash
                                            Proceeds received in connection with such
                                            sales or dispositions.
                                      (b)   Within five (5) business days of the date of
                                            incurrence by any Debtor of any
                                            Indebtedness     (other    than    Permitted
                                            Indebtedness), the DIP Borrower shall
                                            prepay the outstanding principal amount of
                                            the DIP Obligations in an amount equal to
                                            one hundred percent (100%) of the Net Cash
                                            Proceeds received by such Debtor in
                                            connection with the incurrence of such
                                            Indebtedness plus the accrued interest.
             Fees and Expenses;      The DIP Borrower will reimburse the DIP Secured DIP Credit
             Indemnification         Parties for certain expenses in connection with the Agreement, Sections
             Bankruptcy Rule         DIP Facility, including reasonable and documented: 1.1 and 10.3
             4001(c)(1)(B)(ix)        (a)   costs or expenses (including taxes and Interim Order ¶¶ 9–
             Bankruptcy Local Rule          insurance premiums) required to be paid by 11
             4001-2(a)(i)(B), (K)           the DIP Borrower under any of the DIP
                                            Documents that are paid, advanced, or
                                            incurred by the DIP Agent and/or any DIP
                                            Lenders;
                                      (b)   out-of-pocket fees or charges paid or incurred
                                            by the DIP Agent and/or such DIP Lenders in
                                            connection with its transactions with the DIP
                                            Borrower under any of the DIP Documents;
                                      (c)   out-of-pocket costs and expenses incurred by
                                            the DIP Agent and/or such DIP Lenders in
                                            the disbursement of funds to the DIP
                                            Borrower (by wire transfer or otherwise);
                                      (d)   out-of-pocket    costs,  fees   (including
                                            reasonable and documented attorneys’ fees,
                                            but limited to one primary counsel for the
                                            DIP Agent and the DIP Lenders (taken as a
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             Provision                         Summary                              Location
                                  whole) plus local counsel to the extent
                                  reasonably necessary in any relevant
                                  jurisdiction) and expenses paid or incurred by
                                  the DIP Agent and/or such DIP Lenders to
                                  enforce any provision of the DIP Documents,
                                  or during the continuance of an Event of
                                  Default, in gaining possession of,
                                  maintaining, handling, preserving, storing,
                                  shipping, selling, preparing for sale, or
                                  advertising to sell the DIP Collateral, or any
                                  portion thereof, irrespective of whether a sale
                                  is consummated;
                           (e)    out-of-pocket audit fees and reasonable
                                  expenses of the DIP Agent and/or such DIP
                                  Lenders related to any inspections or audits;
                            (f)   out-of-pocket costs and expenses of third
                                  party claims or any other suit paid or incurred
                                  by the DIP Agent and/or such DIP Lenders in
                                  enforcing or defending the DIP Documents
                                  or in connection with the transactions
                                  contemplated by the DIP Documents or the
                                  DIP Agent and/or such DIP Lenders’
                                  relationship with any Debtor;
                           (g)    out-of-pocket costs and expenses (including
                                  attorneys’ fees) incurred by the DIP Agent
                                  and/or such DIP Lenders incurred in
                                  advising, structuring, drafting, reviewing,
                                  administering, or amending the DIP
                                  Documents (limited to one primary counsel
                                  for the DIP Agent and the DIP Lenders (taken
                                  as a whole) plus local counsel to the extent
                                  reasonably necessary in any relevant
                                  jurisdiction);
                           (h)    out-of-pocket fees and expenses of the DIP
                                  Agent and/or such DIP Lenders related to any
                                  due diligence in connection with the DIP
                                  Facility or meetings with the DIP Borrower
                                  in connection with the DIP Facility; and
                            (i)   costs and expenses of the DIP Agent and/or
                                  such DIP Lenders incurred in terminating,
                                  enforcing, or defending the DIP Documents,
                                  irrespective of whether suit is brought, or in
                                  taking any Remedial Action concerning the
                                  DIP Collateral.

                          The Debtors will indemnify the DIP Agent, the DIP
                          Lenders and their related persons for liabilities usual

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                   Provision                              Summary                               Location
                                     and customary for a facility of this type, subject to
                                     certain exceptions, including to the extent (a) any
                                     liability that a court of competent jurisdiction finally
                                     determines to have resulted from the gross
                                     negligence, bad faith or willful misconduct of such
                                     indemnified person; (b) arising from a material
                                     breach of any obligation of such indemnified person
                                     under the DIP Documents; or (c) arising out of any
                                     loss, claim, damage, liability or expense that does not
                                     involve an act or omission of the Debtors and that is
                                     brought by an indemnified person against another
                                     indemnified person (other than claims against an
                                     indemnified person in its capacity or in fulfilling its
                                     role as the DIP Agent or any similar role under the
                                     DIP Documents).
             Carve Out               “Carve Out” shall mean the sum of: (a) all fees Interim Order ¶¶
             Bankruptcy Rule         required to be paid to the Clerk of the Court and to the 12–14
             4001(c)(1)(B)           U.S. Trustee under section 1930(a) of title 28 of the
                                     United States Code plus interest at the statutory rate
             Bankruptcy Local Rule   (collectively, the “Statutory Fees”); (b) all reasonable
             4001-2(a)(i)(F)         fees and expenses up to $25,000 incurred by a trustee
                                     under section 726(b) of the Bankruptcy Code (the
                                     “Chapter 7 Trustee Carve Out”); (c) any incurred and
                                     unpaid professional’s fees (excluding any success or
                                     transaction fees), costs, disbursements and expenses
                                     (the “Allowed Professional Fees”) incurred or earned
                                     by persons or firms retained by the Debtors pursuant
                                     to sections 327, 328 or 363 of the Bankruptcy Code
                                     (the “Debtor Professionals”) and the Committee
                                     pursuant to sections 327, 328 or 1103 of the
                                     Bankruptcy Code (the “Committee Professionals”
                                     and, together with the Debtor Professionals, the
                                     “Professional Persons”) at any time before or on the
                                     first business day following delivery by any DIP
                                     Agent of a Carve Out Trigger Notice (as defined
                                     below) (the “Pre-Trigger Carve Out Cap”); and (d)
                                     Allowed Professional Fees of Professional Persons in
                                     an aggregate amount not to exceed $1,000,000
                                     incurred after the first business day following
                                     delivery by any DIP Agent of the Carve Out Trigger
                                     Notice (such date, the “Trigger Date”), to the extent
                                     allowed at any time, whether by final order, interim
                                     order, procedural order, or otherwise (the amounts set
                                     forth in this clause (d) being the “Post-Carve Out
                                     Trigger Notice Cap”); (all such amounts set forth in
                                     clauses (a) through (d), collectively, the “Carve Out
                                     Cap”); provided that nothing herein shall be
                                     construed to impair any party’s ability to object to

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                   Provision                               Summary                                    Location
                                      Court approval of the fees, expenses, reimbursement
                                      of expenses or compensation of any Professional
                                      Person.

                                      The “Carve Out Trigger Notice” shall mean a written
                                      notice delivered by email (or other electronic means)
                                      to the Debtors and their counsel, the U.S. Trustee, and
                                      the Committee and its counsel, if any, which notice
                                      may be delivered following the occurrence and during
                                      the continuation of an Event of Default under the DIP
                                      Credit Agreement, stating that (a) the Post-Carve Out
                                      Trigger Notice Cap has been invoked, and (b) the
                                      obligations under the DIP Facility have been
                                      accelerated.

                                      The Debtors shall deposit and hold in a segregated
                                      account a reserve sufficient to pay the then incurred
                                      but unpaid fees and expenses of the Professional
                                      Persons prior to any and all other claims (such
                                      reserves, the “Professional Fee Reserves”). The
                                      Professional Fee Reserves shall be funded by the
                                      Debtors on a weekly basis, and shall contain an
                                      amount equal to the amount of fees and expenses
                                      reflected in the Approved Budget from the Petition
                                      Date through the weekly date of funding. To the
                                      extent the incurred but unpaid fees and expenses of a
                                      Professional Persons exceeds the amount set forth for
                                      such Professional Person in the Approved Budget, the
                                      Debtors are authorized to increase the Professional
                                      Fee Reserves in an amount necessary to reconcile the
                                      deficiency.
             DIP Collateral / Liens   All assets of the DIP Borrower and the Guarantors,         DIP Credit
             on Avoidance Actions     including (a) all accounts, contracts rights, chattel      Agreement, Section
             Bankruptcy Rule          paper, cash, general intangibles, intellectual property,   1.1
             4001(c)(1)(B)            machinery, equipment, goods, inventory, furniture,         Interim Order ¶ C
                                      fixtures, letter of credit rights, books and records,
             Bankruptcy Local Rule    deposit     accounts,     documents,       instruments,
             4001-2(a)(i)(U)          commercial tort claims, money, insurance,
                                      receivables, receivables records, deposit accounts,
                                      collateral support, supporting obligations and
                                      instruments, all interests in leaseholds and real
                                      properties, all patents, copyrights, trademarks (but
                                      excluding trademark applications filed in the United
                                      States Patent and Trademark Office on the basis of
                                      the applicant’s intent-to-use such trademark unless
                                      and until evidence of use of the trademark has been
                                      filed with, and accepted by, the United States Patent
                                      and Trademark Office pursuant to Section 1(c) or

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                                     Section 1(d) of the Lanham Act (15 U.S.C. §1051, et
                                     seq.)), trade names and other intellectual property, all
                                     equity interests (to be limited to the extent of any
                                     adverse tax consequences, as reasonably determined
                                     by the DIP Agent and the DIP Borrower, and
                                     limitations imposed by applicable law), all books and
                                     records relating to the foregoing, all other personal
                                     and real property of the DIP Borrower and
                                     Guarantors, and all proceeds, products, accessions,
                                     rents and profits of or in respect of any of the
                                     foregoing (in each case as the foregoing are defined
                                     in the Uniform Commercial Code as in effect from
                                     time to time in the State of New York (and, if defined
                                     in more than one Article of such Uniform
                                     Commercial Code, shall have the meaning given in
                                     Article 9 thereof)); and (b) subject to entry of the
                                     Final Order, proceeds of any actions under sections
                                     544, 545, 547, 548 and 550 of the Bankruptcy Code;
                                     provided, that the DIP Collateral shall not include (a)
                                     property subject to a purchase money lien, capital
                                     lease or similar arrangement to the extent the creation
                                     of a security interest therein is prohibited thereby or
                                     creates a right of termination in favor of any other
                                     party thereto or otherwise requires third party consent
                                     thereunder, (b) the Professional Fee Reserves or any
                                     contents or proceeds thereof, or (c) the account that
                                     holds the adequate assurance deposits of the Debtors
                                     for the benefit of their utility providers; provided,
                                     further, however, that the DIP Collateral shall include
                                     any equity or residual value in such property
                                     described in clause (a) of the foregoing proviso.
             Section 552(b) Waiver   The DIP Documents and DIP Orders do not seek to N/A
             Bankruptcy Rule         waive any “equities of the case” exception under
             4001(c)(1)(B)           section 552(b) of the Bankruptcy Code.
             Bankruptcy Local Rule
             4001-2(a)(i)(W)
             Section 506(c) Waiver   The DIP Documents and DIP Orders do not seek a N/A
             Bankruptcy Rule         waiver under section 506(c) of the Bankruptcy Code.
             4001(c)(1)(B)(x)
             Bankruptcy Local Rule
             4001-2(a)(i)(V)
             Marshalling             The DIP Documents and DIP Orders do not seek a N/A
             Bankruptcy Rule         waiver of the equitable doctrine of “marshaling” or
             4001(c)(1)(B)           any similar doctrine with respect to the DIP
                                     Collateral.
             Bankruptcy Local Rule
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                   Provision                               Summary                                 Location
             4001-2(a)(i)(X)


             Other Typical              There is no prepetition secured debt, so the DIP N/A
             Provisions                 Facility does not seek to prime existing debt, limit the
             Bankruptcy Rule            use of estate funds to investigate prior liens, cross-
             4001(c)(1)(B)              collateralize or “roll up” prepetition debt, or
                                        otherwise bind the estate with respect to any
             Bankruptcy Local Rule      prepetition debt. Additionally, the DIP Facility shall
             4001-2(a)(i)(D), (L),      not be used to fund any non-debtor affiliates.
             (N), (O), (P), (Q)

                   11.       The Debtors respectfully submit that the foregoing material terms are appropriate

         as necessary components of the consensual agreement with the DIP Lenders regarding the DIP

         Facility and use of the proceeds thereof. Granting the relief requested herein is critical to the

         continued operation of the Debtors’ businesses and will maximize the value of the Debtors’ estates

         for all stakeholders by permitting an orderly and efficient sale of the Debtors’ assets pursuant to

         section 363 of the Bankruptcy Code. Accordingly, the material provisions in the DIP Orders should

         be approved.

                                         Debtors’ Prepetition Capital Structure

                   12.       The Debtors have significant prepetition unsecured funded debt obligations,

         consisting of approximately $105,400,000 in convertible note obligations and approximately

         $65,000,000 in other unsecured note obligations. A summary chart of the Debtors’ prepetition

         capital structure is set forth below:

                          Note                       Issuance Date          Principal         Maturity Date
             Convertible Notes
                                                                                             3/20/2021
             PDSTI                                      3/20/2020      $12,500,000           (ext. 3/20/2025)
                                                                                             1/26/2022
             PDSTI                                      1/26/2021      $23,900,000           (ext. 1/26/2025)
                                                                                             2/24/2023
             PDSTI                                      2/24/2022      $1,027,090            (ext. 2/24/2024)
                                                                                             9/30/2022
             Unimax                                     3/30/2022      $2,400,000            (ext. 9/25/2024)
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                                                                                                        11/3/2022
             PDSTI                                           5/3/2022         $1,300,000                (ext. 5/3/2024)
                                                                                                        11/14/2022
             PDSTI                                          5/16/2022         $2,300,000                (ext. 5/16/2024)
                                                                                                        6/27/2023
             Feiren                                         6/28/2022         $5,000,000                (ext. 11/28/2024)
                                                                                                        12/30/2022
             PDSTI                                          8/11/2022         $4,000,000                (ext. 6/30/2024)
                                                                                                        5/26/2023
             PDSTI                                          11/25/2022        $1,500,000                (ext. 5/25/2024)
                                                                                                        6/9/2023
             PDSTI                                          12/9/2022         $1,500,000                (ext. 6/9/2024)
                                                                                                        7/11/2023
             PDSTI                                          1/11/2023         $1,500,000                (ext. 7/11/2024)
                                                                                                        11/12/2023
             Feiren                                         3/14/2023         $5,000,000                (ext. 11/13/2024)

             PDSTI                                          3/29/2023         $28,972,910               3/29/2024
                                                                                                        12/12/2023
             PDSTI                                          6/12/2023         $1,000,000                (ext. 12/12/2024)
                                                                                                        12/29/2023
             PDSTI                                          6/29/2023         $2,000,000                (ext. 12/29/2024)

             PDSTI                                          7/26/2023         $3,000,000                1/22/2024

             PDSTI                                          8/31/2023         $1,000,000                2/27/2024

             PDSTI                                         9/28/2023         $2,000,000           3/26/2024
             PDSTI                                       10/27/2023          $1,500,000           4/26/2024
             PDSTI                                       11/10/2023          $2,000,000           5/10/2024
             PDSTI                                       12/13/2023          $2,000,000           12/12/2024
                                                                           Total (Convertible Notes): $105,400,000
             Other Notes
                                                                                                        6/23/2021
             East West Note 12/24/2020                   12/24/2020           $40,000,0005              (ext. 6/22/2024)
                                                                                                        12/23/2023
             East West Note 12/22/2022                   12/22/2022           $16,500,000               (ext. 6/22/2024)
                                                                                                        8/1/2023
             East West Note 2/6/2023                     2/6/2023             $6,500,000                (ext. 8/1/2024)
                                                                                                        3/22/2024
             Ext. of 12/22/2022 Note                     1/8/2024             $750,000                  (ext. 6/22/2024)

         5
               The original principal of the 12/24/2020 note was $50 million, which was increased by $1.5 million and $1.25
               million respectively at various points. The 12/24/20 note was then replaced by a $40 million and a $16.5 million
               note in December 2022, which extended maturity to the dates listed in the chart.
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             Ext. of 12/22/2022 Note                 3/14/2024        $1,250,000         6/22/2024
                                                                          Total (Other Notes): $65,000,000

                    13.     As of the Petition Date, the aggregate principal amount outstanding under all of the

         Debtors’ prepetition unsecured funded debt obligations totaled approximately $170,400,000. The

         Debtors have no prepetition secured debt obligations.

                                                  Need for DIP Facility

                    14.     As set forth in the Gupta Declaration, the Debtors require immediate access to the

         DIP Facility throughout the chapter 11 process to ensure they have sufficient liquidity to run an

         efficient and value-maximizing sale process, operate their businesses in the ordinary course, and

         administer their estates.6

                    15.     The Debtors’ advisors, SSG Capital Advisors LLC (“SSG”) and Armanino LLP,

         with the assistance of the Debtors’ management, have evaluated the Debtors’ financing needs and

         funding alternatives.7 The DIP Facility is designed to provide the Debtors with enough liquidity

         to continue the operation of their business, maintain relationships with vendors, suppliers and

         customers, satisfy wage and salary obligations, and continue to satisfy other working capital and

         operational needs during the chapter 11 cases, all while continuing the marketing process for the

         Debtors’ assets that began prior to the Petition Date.8 This funding should allow the Debtors the

         necessary time to (a) achieve entry of an order from this Court approving one or more value

         maximizing Sale Transactions; (b) close such Sale Transactions; and (c) distribute the proceeds

         from the Sale Transactions to creditors pursuant to the terms of a liquidating plan.9 The Debtors’

         Initial DIP Budget, reflecting these requirements, is attached to the Interim Order as Exhibit 2.


         6
               Gupta Decl. ¶ 10.
         7
               Id. ¶ 9.
         8
               Id. ¶ 11.
         9
               Id. ¶ 10.
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                    16.    Without access to the DIP Facility, the Debtors will also lose the ability to run their

         sale process, to the detriment of all creditors and other parties in interest, and will not otherwise

         have funds to proceed with the orderly administration of these chapter 11 cases.10 The Debtors

         respectfully submit such an outcome would constitute a clear, immediate, and irreparable harm to

         these estates and their stakeholders.

                           DIP Facility Was Negotiated in Good Faith and at Arms’ Length

                    17.    The DIP Facility is the product of extensive, good faith, arms’ length negotiations

         among the Debtors, the DIP Lenders, and the DIP Agent.11 The Debtors and the Debtors’ advisors

         actively negotiated the terms and provisions of the DIP Facility leading up to the Petition Date,

         including on material terms of the proposed financing, such as the economics and covenants,

         ultimately resulting in the deal embodied in the DIP Credit Agreement.12

                    18.    Based on extensive negotiations among the parties, the Debtors respectfully submit

         that the DIP Facility represents the best financing option reasonably available to the Debtors under

         the current circumstances.13 The interest rate, claim priority, liens, and other protections to be

         granted to the DIP Lenders pursuant to the DIP Facility, were essential features of the facility,

         without which the DIP Lenders would not have committed to provide funding for the Debtors, and

         are comparable to other debtor in possession financings and generally consistent with market terms

         for companies facing similar circumstances as the Debtors.14 Accordingly, based on the facts and

         circumstances of these chapter 11 cases, such terms should be approved.




         10
              Id.
         11
              Id. ¶ 12.
         12
              Id.
         13
              Id. ¶ 13.
         14
              Id.
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                                 Debtors’ Efforts to Obtain Postpetition Financing

                    19.    SSG canvassed the market to assess whether any financing would be available by

         any party on better terms than those offered by the DIP Lenders.15 As part of that marketing

         process, SSG considered a wide variety of potential alternative lenders, including third-party

         financial institutions experienced in distressed lending and financings as well as existing unsecured

         lenders and shareholders.16 The current unsecured lenders and shareholders were unwilling to

         offer financing due to the size of the facility requirement.17 Additionally, third-party prospective

         lenders were only willing to size the Debtors’ facility based off a conservative loan-to-value ratio

         of the liquidation value of the assets. However, the specialty nature of the Debtors’ assets made it

         difficult for any third-party to assign a value sufficient to fulfill the financing need.18 Notably, no

         party was willing to provide postpetition financing on an unsecured basis.19

                    20.    Of the parties contacted, only the DIP Lender submitted a credit agreement for

         consideration. Under the terms of the credit agreement, the DIP Lender originally proposed an $8

         million DIP Facility with an up to twelve-month Maturity Date, 15.00% interest rate, and no

         origination fees or other premiums.20 Following negotiations, the Debtors were able to increase

         the available liquidity under the DIP Facility to $9 million.

                    21.    Shanghai Pudong Science and Technology Investment Co. (“PDSTI”)— who holds

         approximately 50% of the of the Company’s outstanding preferred shares through one or more of

         its affiliate companies and approximately $93,000,000 of the convertible unsecured notes—holds


         15
              Id. ¶ 14.
         16
              Id.
         17
              Id.
         18
              Id.
         19
              Id.
         20
              Id. ¶ 15.
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         an indirect minority equity interest in the DIP Lender.21 The DIP Lender is also the licensee of

         the Intellectual Property License Agreement with ICON Aircraft, Inc., dated July 29, 2021.22 In

         addition, a PDSTI affiliate is party to an arrangement with the DIP Lender’s ultimate parent,

         Shanghai Feiren Technology Co. Ltd. (“Feiren Shanghai”), pursuant to which the PDSTI affiliate

         agreed to manage all assets, business, and daily operations of Feiren Shanghai. All rights and

         obligations under the arrangement were then assigned to a different PDSTI affiliate.23 Notably,

         the DIP Lender is the only party to have offered financing in these Chapter 11 Cases.

                    22.    The proposed DIP Facility is the best financing available to these estates, it funds a

         value-maximizing sale process for the benefit of all creditors and parties in interest, and it

         otherwise provides the estate with the ability to continue operations in the ordinary course over

         the term of the sale process.24 In addition, to the extent any party wishes to propose better terms,

         the Debtors have the ability to obtain better financing during the period between entry of the

         Interim Order and Final Order, subject to the consent of the DIP Lenders.25 The Debtors therefore

         submit that DIP Facility presents the best terms available to these estates within the totality of the

         circumstances of these chapter 11 cases.

                                               Basis for Relief Requested

         I.         The Debtors Should be Authorized to Obtain Postpetition Financing Through the
                    DIP Documents

                    23.    The Debtors satisfy the requirements for relief under section 364 of the Bankruptcy

         Code, which authorizes a debtor to obtain secured or superpriority financing under certain



         21
              See First Day Decl. ¶ 48.
         22
              Id.
         23
              Id.
         24
              Gupta Decl. ¶ 16.
         25
              Id.
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         circumstances. As set out above, the Debtors were unable to procure sufficient financing in the

         form of unsecured credit, which would be allowable under section 503(b)(1) or as an

         administrative expense, in accordance with sections 364(a) or (b) of the Bankruptcy Code.26 The

         Debtors also negotiated vigorously, and at arms’ length with the DIP Lenders to secure the DIP

         Facility on the terms described herein. For these reasons, as discussed further below, the Debtors

         satisfy the necessary conditions under section 364 for authority to enter into the DIP Facility.

                  A.       Entering into the DIP Facility Is a Sound Exercise of Business Judgment

                  24.      The Court should authorize the Debtors, in an exercise of their sound business

         judgment, to enter into the DIP Documents and obtain access to the DIP Facility. If an agreement

         to obtain secured credit does not run afoul of the provisions of, and policies underlying, the

         Bankruptcy Code, courts give debtors considerable deference in acting in accordance with their

         sound business judgment in obtaining postpetition credit.27

                  25.      To determine whether the business judgment test is met, a court need only “examine

         whether a reasonable business person would make a similar decision under similar

         circumstances.”28       In considering whether the terms of postpetition financings are fair and

         reasonable, courts consider the terms in light of the relative circumstances of both the debtor and




         26
              See 11 U.S.C. §§ 364(a)–(b).
         27
              See, e.g., In re Trans World Airlines, Inc., 163 B.R. 964 974 (Bankr. D. Del. 1994) (approving a postpetition loan
              and receivables facility because such facility “reflect[ed] sound and prudent business judgment”); In re L.A.
              Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts will almost always defer to the business
              judgment of a debtor in the selection of the lender.”).
         28
              In re AbitiBowater Inc., 418 B.R. 815, 831 (Bankr. D. Del. 2009); see also In re Curlew Valley Assocs., 14 B.R.
              506, 513–14 (Bankr. D. Utah 1981) (noting that courts should not second-guess a debtor’s business decision when
              that decision involves “a business judgment made in good faith, upon a reasonable basis, and within the scope of
              [the debtor’s] authority under the [Bankruptcy] Code”).
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         the potential lender.29 The Court may also appropriately take into consideration non-economic

         benefits to the Debtors offered by a proposed postpetition facility.30

                    26.       As more fully set forth above and in the Gupta Declaration, the DIP Facility

         represents a proper exercise of the Debtors’ business judgment. The DIP Facility and the

         accompanying economic terms were the product of extensive, good faith, arms’ length

         negotiations among the Debtors, the DIP Lenders, and the DIP Agent.31 The claim priority, liens,

         and other protections (including the granting of liens on the proceeds of avoidance actions), were

         essential features of the facility without which the DIP Lenders would not have committed to

         provide funding for the Debtors.32 These protections are comparable to other debtor in possession

         financings and generally consistent with market terms for companies facing similar circumstances

         as the Debtors.33 Accordingly, the Debtors have exercised sound business judgment in negotiating

         these protections

                    27.       The Debtors’ decision to agree to the terms of the DIP Facility is reasonable under

         the circumstances, where no viable alternative financing is available on superior terms and where

         the Debtors’ need for liquidity is immediate in order to avoid an immediate shutdown of operations

         and resulting loss of employee jobs. As the Approved Budget reflects, use of available cash alone

         will be insufficient to fund these chapter 11 cases or otherwise allow the Debtors to continue

         operations.34 Because the DIP Facility will preserve the Debtors as a going concern through the

         entirety of the proposed sale process, thus maximizing value for the Debtors’ estates for the benefit


         29
              In re Farmland Indus., Inc., 294 B.R. 855, 880 (Bankr. W.D. Mo. 2003).
         30
              In re Ion Media Networks, Inc., No. 09-13125, 2009 WL 2902568, at *4 (Bankr. S.D.N.Y. July 6, 2009).
         31
              Gupta Decl. ¶ 12.
         32
              Id. ¶ 13.
         33
              Id.
         34
              See id. ¶ 10.
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         of all creditors and other parties in interest, it represents the best course for the Debtors’

         stakeholders.35 Thus, the Court should authorize the Debtors’ entry into the DIP Documents as a

         reasonable exercise of the Debtors’ sound business judgment.

                  B.           The Debtors Should Be Authorized to Obtain DIP Facility on a Secured and
                               Superpriority Basis

                  28.          Section 364 of the Bankruptcy Code distinguishes among (a) obtaining unsecured

         credit in the ordinary course of business, (b) obtaining unsecured credit out of the ordinary course

         of business and (c) obtaining credit with specialized priority or with security.36 If a debtor in

         possession cannot obtain postpetition credit on an unsecured basis, pursuant to section 364(b) of

         the Bankruptcy Code, a court may authorize a debtor to obtain credit or to incur debt, the

         repayment of which is entitled to superpriority administrative expense status, or is secured by a

         senior lien on unencumbered property, or a junior lien on encumbered property, or a combination

         of the foregoing.37

                  29.          The Debtors propose to grant the DIP Lenders (a) first priority liens on all of the

         DIP Collateral; and (b) junior liens on any DIP Collateral that is subject to valid, perfected, and

         nonavoidable liens (collectively, clauses (a) and (b), the “DIP Liens”); and (c) superpriority

         administrative expense claim status with recourse to all prepetition and postpetition property of

         the Debtors (the “DIP Superpriority Claims”). Therefore, the approval of the DIP Facility is

         governed by section 364(c) of the Bankruptcy Code.




         35
              Id. ¶¶ 11, 16.
         36
              See 11 U.S.C. § 364.
         37
              See 11 U.S.C. § 364.
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                           i. The Debtors Satisfy the Condition Under Section 364(c) to Obtain Financing
                              on a Senior Secured and Superpriority Basis

                  30.      In the event that a debtor demonstrates that it is unable to obtain unsecured credit

         allowable as an administrative expense under section 503(b)(1) of the Bankruptcy Code,

         section 364(c) provides that a court:

                           may authorize the obtaining of credit or the incurring of debt (1) with
                           priority over any or all administrative expenses of the kind specified in
                           section 503(b) or 507(b) of [the Bankruptcy Code]; (2) secured by a lien on
                           property of the estate that is not otherwise subject to a lien; or (3) secured
                           by a junior lien on property of the estate that is subject to a lien.38

                  31.      In determining whether to authorize financing under 364(c) of the Bankruptcy

         Code, courts will consider whether (i) the debtor’s efforts to obtain unsecured credit under

         sections 364(a) and 364(b) of the Bankruptcy Code, (ii) the credit transaction benefits the debtor

         and is necessary to preserve estate assets, and (iii) the terms of the credit transaction are fair,

         reasonable, and adequate, given the circumstances of the debtor and proposed lender.39

                  32.      First, to show that the credit required is not obtainable on an unsecured basis, a

         debtor need only demonstrate “by a good faith effort that credit was not available without” the

         protections of sections 364(c) of the Bankruptcy Code.40 The Debtors have not been able to obtain

         unsecured credit or an alternative debtor-in-possession financing on better terms than those




         38
              11 U.S.C. § 364(c).
         39
              In re Republic Airways Holdings Inc., No. 16-10429 (SHL), 2016 WL 2616717, at *11 (Bankr. S.D.N.Y. May 4,
              2016); In re Ames Dep ’t Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“cases consistently reflect that
              the court’s discretion under section 364 is to be utilized on grounds that permit reasonable business judgment to
              be exercised”).
         40
              Bray v. Shenandoah Fed. Savs. & Loan Ass’n (In re Snowshoe Co.), 789 F.2d 1085, 1088 (4th Cir. 1986) (stating
              section 364 “imposes no duty to seek credit from every possible lender before concluding that such credit is
              unavailable”).
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         reflected in the DIP Credit Agreement, and there are no better offers available to the Debtors or

         before the Court at this time.41

                    33.        Second, the DIP Facility is necessary to preserve the Debtors’ estates. As noted,

         the DIP Facility should provide the Debtors with liquidity to (a) continue the operation of their

         business, maintain relationships with vendors, suppliers and customers, satisfy wage and salary

         obligations, and continue to satisfy other working capital and operational needs during the

         chapter 11 cases; and (b) implement one or more value maximizing Sale Transactions.42 In

         particular, the DIP Facility should allow the Debtors to preserve the going concern value of their

         operations through these chapter 11 cases, which maximizes value for all stakeholders.43

                    34.        Third, the terms of the DIP Facility are fair, reasonable, and adequate under the

         circumstances. The DIP Facility is the best financing available to the Debtors and will allow the

         Debtors to continue the marketing process commenced prepetition to maximize the value of the

         Debtors’ estate for the benefit of all parties in interest.44

                    35.        In light of the foregoing, the Court should authorize the Debtors to provide the DIP

         Lender with the DIP Loans and the DIP Superpriority Claims, each in accordance with the DIP

         Credit Agreement and as provided for in section 364(c) of the Bankruptcy Code.

                    C.         The Scope of the Carve Out Is Appropriate

                    36.        The DIP Liens and the DIP Superpriority Claims are subject to the Carve Out.

         Without the Carve Out, the Debtors’ estates or other parties in interest could be harmed because

         the services that professionals might otherwise provide in these chapter 11 cases could be



         41
              Gupta Decl. ¶ 14.
         42
              Id. ¶ 11.
         43
              Id.
         44
              Id. ¶¶ 11, 16.
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         restricted.45 Additionally, the Carve Out protects against administrative insolvency during the

         pendency of the chapter 11 cases by ensuring that funds are available to pay U.S. Trustee’s fees

         and professional fees of the Debtors and any statutory Committee. Accordingly, the scope of the

         Carve Out is appropriate and should be approved.

                    D.      Debtors Should Be Authorized to Pay Fees Required by the DIP Documents

                    37.     The Debtors have agreed to pay certain interest and fees in connection with the

         DIP Facility, which are integral to the financing package. The DIP Facility, including the fees and

         other economic terms of the DIP Facility, were all negotiated in good faith and at arms’ length.46

         Under the circumstances, the terms of the DIP Facility, which include the fees payable in

         connection therewith, are the most favorable terms the Debtors could obtain.47 Furthermore, the

         Debtors submit that the interest payments and fees required by the DIP Facility are reasonable,

         comparable to other debtor in possession financings, and generally consistent with market terms

         for companies facing similar circumstances as the Debtors.48 The Debtors believe that under these

         circumstances, authorization to pay the fees is warranted.

                    E.      The DIP Lenders Should Be Deemed Good Faith Lenders under
                            Section 364(e).

                    38.     Section 364(e) of the Bankruptcy Code protects a good faith lender’s right to collect

         on loans extended to a debtor, and its rights with respect to liens securing those loans, even if the




         45
              See In re Ames Dep’t Stores, 115 B.R. at 38 (observing that courts insist on carve outs for professionals
              representing parties in interest because “[a]bsent such protection, the collective rights and expectations of all
              parties-in-interest are sorely prejudiced”).
         46
              Gupta ¶ 12.
         47
              Id. ¶ 13.
         48
              Id.
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         authority of the debtor to obtain such loans or grant such liens is later reversed or modified on

         appeal. Section 364(e) provides that:

                            The reversal or modification on appeal of an authorization under this
                            section [364 of the Bankruptcy Code] to obtain credit or incur debt,
                            or of a grant under this section of a priority or a lien, does not affect
                            the validity of any debt so incurred, or any priority or lien so granted,
                            to an entity that extended such credit in good faith, whether or not
                            such entity knew of the pendency of the appeal, unless such
                            authorization and the incurring of such debt, or the granting of such
                            priority or lien, were stayed pending appeal.49

                   39.      As explained herein and in the Gupta Declaration, negotiations of the DIP Facility

         were conducted in good faith and at arms’ length.50 The proceeds of the DIP Facility will be used

         only for purposes that are permissible under the Bankruptcy Code and approved in the Approved

         Budget. Accordingly, the Court should find that the DIP Lenders are “good faith” lenders within

         the meaning of section 364(e) of the Bankruptcy Code, and therefore, entitled to all of the

         protections afforded by that section.

         II.        Modification of the Automatic Stay Is Warranted

                   40.      The relief requested herein contemplates a modification of the automatic stay to the

         extent necessary to permit the DIP Secured Parties to exercise all rights and remedies, and to take

         certain actions without further order of or application to the Court, upon the occurrence and during

         the continuance of any Event of Default, subject to the requirement for a Default Notice and the

         expiration of the Waiting Period. Upon satisfaction of the requirement for a Default Notice and

         the expiration of the Waiting Period, the DIP Agent may: (a) declare the DIP Obligations due and

         payable, and the DIP Facility terminated, whereupon the DIP Obligations shall become and be

         immediately due and payable; (b) terminate, restrict, or reduce the DIP Borrower’s ability to use


         49
               11 U.S.C. § 364(e).
         50
               Gupta Decl. ¶¶ 12–13.
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         Cash Collateral other than to pay expenses set forth in the Approved Budget that are necessary to

         avoid immediate and irreparable harm to the Debtors’ estates; provided, however, that the

         professional fees and expenses of the Debtors and the Committee’s professionals shall be governed

         by the paragraph in the DIP Order authorizing the Carve Out; (c) charge interest at the Default

         Rate; (d) obtain and liquidate the DIP Collateral; (e) require the applicable Debtor to assemble all

         of the DIP Collateral constituting personal property without judicial process pursuant to Section

         9-609 of the Uniform Commercial Code; (f) take possession of all DIP Collateral constituting

         tangible personal property without judicial process pursuant to Section 9-609 of the Uniform

         Commercial Code; and (g) exercise any of its other rights under the DIP Documents, any rights

         granted under the Final Order and applicable law.51

                    41.      These provisions were part of the negotiations over the terms and conditions of the

         DIP Facility. Notably, the exercise of remedies will be subject to five business days’ notice (as

         such may be otherwise extended by the Court) to allow the Debtors or the Committee, if any, to

         seek relief.52 Under these circumstances, the Debtors believe that the extent of the modifications

         to the automatic stay under the DIP Orders are reasonable and should be approved.

         III.      Immediate Access to DIP Facility Should Be Approved

                    42.      The Court may grant interim relief in respect of a motion filed pursuant to

         section 364 of the Bankruptcy Code if, as here, interim relief is “necessary to avoid immediate and

         irreparable harm to the estate pending a final hearing.”53 In examining requests for interim relief




         51
                See DIP Credit Agreement, § 8.2.
         52
                See Interim Order ¶ 22.
         53
                Fed. R. Bankr. P. 4001(c)(2).
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         under this rule, courts generally apply the same business judgment standard applicable to other

         business decisions.54

                   43.         Here, the Debtors and their estates will suffer immediate and irreparable harm if

         the interim relief requested herein is not granted promptly. As set forth in the Gupta Declaration,

         the Debtors have an immediate need for additional liquidity through the DIP Facility in order to

         continue the operation of their business, maintain relationships with vendors, suppliers and

         customers, satisfy wage and salary obligations, and continue to satisfy other working capital and

         operational needs during the chapter 11 cases.55 Without immediate access to the DIP Facility,

         the Debtors will be forced to shutter operations and terminate employees, thus destroying the value

         of the business as a going concern in any subsequent sale.56 Accordingly, approval of the DIP

         Facility will not only provide essential funding, but will allow the Debtors to preserve the value of

         their estates for the benefit of all creditors and other stakeholders.57 As such, the Debtors request

         the Court grant the interim relief requested herein to be effective immediately.

         IV.      Request for Final Hearing

                   44.         Pursuant to Bankruptcy Rules 4001c)(2), the Debtors request that the Court set a

         date for consideration of entry of the Final Order (the “Final Hearing”). The Debtors request that

         they be authorized to serve a copy of the signed Interim Order, which fixes the time and date for

         the filing of any objections, by first class mail and e-mail upon the notice parties listed below. The

         Debtors further request that the Court consider such notice of the Final Hearing to be sufficient

         notice under Bankruptcy Rule 4001(c)(2).



         54
               See In re Ames Dep’t Stores, 115 B.R. at 40.
         55
               Gupta Decl. ¶¶ 10–11.
         56
               See id. ¶ 10.
         57
               See id. ¶ 11.
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                           The Requirements of Bankruptcy Rule 6003 Are Satisfied

                45.     The Debtors assert that immediate relief is necessary to avoid immediate and

         irreparable harm. Bankruptcy Rule 6003 empowers a court to grant relief within the first twenty-

         one (21) days after the commencement of a chapter 11 case “to the extent that relief is necessary

         to avoid immediate and irreparable harm.” For the reasons discussed above, entry of the proposed

         interim order is integral to the Debtors’ ability to successfully transition into chapter 11 and run

         an orderly sale. Specifically, the relief requested is necessary to avoid a severe disruption of the

         Debtors’ sale process and operations at this critical juncture and, in turn, to preserve and maximize

         the value of the Debtors’ estates for the benefit of all stakeholders. Accordingly, the Debtors

         submit that they have satisfied the “immediate and irreparable harm” standard of Bankruptcy

         Rule 6003 and, therefore, respectfully request that the Court approve the relief requested in this

         Motion.

                                   Request for Bankruptcy Rule 6004 Waivers

                46.     The Debtors request a waiver of any applicable notice requirements under

         Bankruptcy Rule 6004(a) and any stay of the order granting the relief requested herein pursuant to

         Bankruptcy Rule 6004(h). As explained above and in the First Day Declaration, the relief

         requested herein is necessary to avoid immediate and irreparable harm to the Debtors’ sale process

         and to preserve and maximize the value of the Debtors’ estates for all stakeholders. Accordingly,

         ample cause exists to justify the waiver of the notice requirements under Bankruptcy Rule 6004(a)

         and the 14-day stay imposed by Bankruptcy Rule 6004(h), to the extent such notice requirements

         and such stay apply.

                                               Reservation of Rights

                47.     Nothing contained herein or any action taken pursuant to relief requested is

         intended to be or shall be construed as (a) an admission as to the validity of any claim against the
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         Debtors; (b) a waiver of the Debtors’ or any party in interest’s rights to dispute the amount of,

         basis for, or validity of any claim or interest under applicable law or nonbankruptcy law; (c) a

         promise or requirement to pay any claim; (d) a waiver of the Debtors’ or any other party in

         interest’s rights under the Bankruptcy Code or any other applicable law; or (e) a request for or

         granting of approval for assumption of any agreement, contract, program, policy, or lease under

         section 365 of the Bankruptcy Code. Likewise, if the Court grants the relief sought herein, any

         payment made pursuant to the Court’s order is not intended to be and should not be construed as

         an admission to the validity of any claim or a waiver of the Debtors’ or any party in interest’s

         rights to subsequently dispute such claim.

                                                        Notice

                48.     Notice of this Motion will be provided to: (a) the U.S. Trustee; (b) the holders of

         the thirty (30) largest unsecured claims against the Debtors; (c) the DIP Secured Parties; (d) the

         United States Attorney’s Office for the District of Delaware; (e) the Internal Revenue Service;

         (f) the state attorneys general for states in which the Debtors conduct business; and (g) any party

         that has requested notice pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of

         the nature of the relief requested, no other or further notice need be given.




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                 WHEREFORE, the Debtors respectfully request entry of the Interim Order, substantially

         in the form attached hereto as Exhibit A, granting the relief requested herein and granting such

         other relief as is just and proper.

         Dated: April 4, 2024
         Wilmington, Delaware

         /s/ Ashley E. Jacobs
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                                    Exhibit A

                             Proposed Interim Order




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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                          Chapter 11

             ICON AIRCRAFT, INC., et al.,1                                   Case No. 24-10703 (CTG)

                                       Debtors.                              (Jointly Administered )

                                                                             Ref. Docket No. ___

                                 INTERIM ORDER (I) AUTHORIZING
                             POST-PETITION FINANCING; (II) GRANTING
                      LIENS AND PROVIDING SUPERPRIORITY ADMINISTRATIVE
                      EXPENSE CLAIMS; (III) MODIFYING THE AUTOMATIC STAY;
              (IV) SCHEDULING A FINAL HEARING; AND (V) GRANTING RELATED RELIEF

                      Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

         debtors in possession (collectively, the “Debtors”), for entry of an interim order (this “Interim

         Order”) (I) authorizing the Debtors to obtain postpetition financing pursuant to a superpriority,

         senior secured, debtor-in-possession multiple draw term loan facility in an aggregate principal

         amount of up to $9 million; (II) granting liens and providing superpriority administration expense

         claims; (III) modifying the automatic stay; (IV) scheduling a final hearing on the Motion; and

         (V) granting related relief, each as more fully set forth in the Motion; and upon consideration of

         the First Day Declaration, the Gupta Declaration, and the Approved Budget; and this Court having

         jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the Amended Standing Order of

         Reference from the United States District Court for the District of Delaware, dated February 29,



         1     The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
               number, are: ICON Aircraft, Inc. (7443); Rycon LLC (5297); IC Technologies Inc. (7918); and ICON Flying
               Club, LLC (6101). The Debtors’ service address is 2141 ICON Way, Vacaville, CA 95688.
         2     Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to them in
               the Motion or in the Senior Secured, Superpriority Debtor-in-Possession Loan and Security Agreement, dated as
               of April 4, 2024, and attached hereto as Exhibit 1 (the “DIP Credit Agreement”), as applicable.

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         2012 (Sleet, C.J.); and this matter being a core proceeding within the meaning of 28 U.S.C.

         § 157(b)(2); and this Court being able to issue a final order consistent with Article III of the United

         States Constitution; and venue of this proceeding and the Motion in this district being proper

         pursuant to 28 U.S.C. §§ 1408 and 1409; and appropriate notice of and opportunity for hearing on

         the Motion having been given; and the Court having determined that the relief requested in the

         Motion is necessary to avoid immediate and irreparable harm to the Debtors and their estates, as

         contemplated by Bankruptcy Rule 6003; and the relief requested in the Motion being in the best

         interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court having

         determined that the legal and factual bases set forth in the Motion establish just cause for the relief

         granted herein; and after due deliberation and sufficient cause appearing therefor,
                                                            3
                 IT IS HEREBY ORDERED THAT:

                 A.      Petition Date. On April 4, 2024 (the “Petition Date”), the Debtors filed voluntary

         petitions for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court

         for the District of Delaware (the “Court”) commencing these chapter 11 cases (the “Chapter 11

         Cases”).

                 B.      Debtors in Possession. Each Debtor has continued with the management and

         operation of its business and properties as a debtor in possession pursuant to Bankruptcy Code

         sections 1107 and 1108. No trustee or examiner has been appointed in these Chapter 11 Cases.

                 C.      Jurisdiction and Venue. This Court has jurisdiction over this matter pursuant to

         28 U.S.C. §§ 157 and 1334. This matter constitutes a core proceeding within the meaning of 28

         U.S.C. § 157(b) and, pursuant to Bankruptcy Local Rule 9013-1(f), the Debtors consent to the



         3   Pursuant to Rule 7052 of the Federal Rules of Bankruptcy Procedure, findings of fact shall be construed as
             conclusions of law and conclusions of law shall be construed as findings of fact when appropriate.

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         entry of a final order by this Court in connection with the Motion to the extent that it is later

         determined that this Court, absent consent of the parties, cannot enter final orders or judgments in

         connection herewith consistent with Article III of the United States Constitution. Venue is proper

         in this jurisdiction pursuant to 28 U.S.C. §§ 1408 and 1409.

                 D.      Notice. In accordance with Bankruptcy Rules 2002, 4001(c), 6003, 6004, and

         9014, and Bankruptcy Local Rules 2002-1 and 4001-2, notice of the hearing for interim approval

         of the Motion (the “Interim Hearing”) and the emergency relief requested in the Motion has been

         provided by the Debtors. Under the circumstances, the notice given by the Debtors of the Motion,

         the relief requested therein, and the Interim Hearing complies with Bankruptcy Rules 2002,

         4001(c), 6003, 6004, and 9014 and Bankruptcy Local Rules 2002-1 and 4001-2.

                 E.      Committee. As of the date hereof, no official committee of unsecured creditors

         has been appointed in the Chapter 11 Cases pursuant to Bankruptcy Code section 1102 (any such

         committee, the “Committee”).

                 F.      Need for DIP Facility. The Debtors have a critical need to obtain credit pursuant

         to the DIP Facility to, among other things, make payroll, satisfy other working capital and

         operational needs, and fund these Chapter 11 Cases, in each such case in accordance with the terms

         of this Interim Order and the Approved Budget. The Debtors’ access to sufficient working capital

         and liquidity, including through access to the DIP Facility, is necessary to preserve and maintain

         the value of the Debtors’ estates, to run a value-maximizing sale process for the Debtors’ assets to

         the benefit of creditors, and to avoid immediate and irreparable harm to the Debtors, their estates,

         and their creditors. Entry into this Interim Order is in the best interests of the Debtors, their

         creditors, and their estates, and good cause exists for granting the relief requested in the Motion as

         set forth herein.


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                 G.      Best Available Financing. The Debtors represent that they are unable to procure

         financing in the form of (a) unsecured credit allowable as an administrative expense under sections

         364(a), 364(b), or 503(b)(1) of the Bankruptcy Code; or (b) credit for money borrowed secured by

         a lien on the property of the estates on more favorable terms and conditions than those provided in

         the DIP Credit Agreement. In light of the foregoing, the Debtors have reasonably and properly

         concluded, in the exercise of their business judgment, that the DIP Facility (as defined in the DIP

         Credit Agreement) represents the best financing available to the Debtors at this time, and is in the

         best interests of the Debtors, their estates, and all of their stakeholders.

                 H.      Use of Proceeds of DIP Facility. The Debtors have prepared and delivered to the

         DIP Lender an initial budget (the “Initial DIP Budget”), a copy of which is attached hereto as

         Exhibit 2. The Initial DIP Budget reflects the Debtors’ anticipated cash receipts and disbursements

         for the 13-week period following the Petition Date (the Initial DIP Budget and each subsequent

         budget approved by the DIP Agent, in its reasonable discretion and in accordance with the DIP

         Credit Agreement, shall constitute, without duplication, an “Approved Budget”). The proceeds

         from the DIP Facility shall be used in accordance with the Approved Budget and consistent with

         the terms and conditions of the DIP Credit Agreement.

                 I.      Good Faith of DIP Lender; Effect of Reversal. The DIP Lender has indicated a

         willingness to provide financing to the Debtors solely in accordance with the DIP Credit

         Agreement and this Interim Order; provided that the DIP Obligations and other protections granted

         by this Interim Order and the DIP Credit Agreement will not be affected by any subsequent reversal

         or modification of this Interim Order as provided in section 364(e) of the Bankruptcy Code. The

         DIP Lender is hereby found to have acted in good faith in agreeing to provide the DIP Facility




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         approved by this Interim Order and is thus entitled to the protections provided under section 364(e)

         of the Bankruptcy Code.

                   J.      Business Judgment and Good Faith. The terms and conditions of the DIP Facility

         and the DIP Credit Agreement, and the amounts to be paid thereunder, are fair, reasonable, and

         the best reasonably available under the circumstances, reflect the Debtors’ exercise of sound

         business judgment consistent with their fiduciary duties, and are supported by reasonably

         equivalent value and consideration. The DIP Credit Agreement was negotiated in good faith and

         at arms’-length between the Debtors and the DIP Lender.

                   THEREFORE, IT IS HEREBY ORDERED THAT:

                   1.      Motion Granted. The interim relief sought in the Motion is granted as set forth

         herein. Any objection to the relief requested in the Motion on an interim basis that is not

         withdrawn, waived, or otherwise resolved, and all reservations of rights included therein, are

         hereby denied and overruled on the merits. The rights of all parties in interest to object to the entry

         of a Final Order are fully reserved.

                   2.      Final Hearing. The final hearing on the Motion shall be held on __________,

         2024 at __________ (prevailing Eastern Time) (the “Final Hearing”). Any objections or responses

         to entry of the proposed final order shall be filed on or before 4:00 p.m. (prevailing Eastern Time)

         on ________________, 2024. In the event no objections to entry of a final order on the Motion

         are timely received, this Court may enter a final order without need for the Final Hearing

                   3.      The DIP Credit Agreement.

                           a.     Approval of Entry into the DIP Credit Agreement. The Debtors are

             hereby authorized to negotiate, execute, make, enter into, and perform under the DIP Facility with

             the DIP Lender on the terms reflected in the DIP Credit Agreement attached hereto as Exhibit 1


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             (as amended, supplemented, or otherwise modified from time to time in accordance with the terms

             and conditions set forth herein), which is hereby approved and incorporated herein in its entirety,

             and to perform all obligations under the DIP Credit Agreement, which upon being entered into

             shall constitute valid, binding, and non-avoidable obligations of the Debtors that are enforceable

             against the Debtors in accordance with the terms of the DIP Credit Agreement and this Interim

             Order. The Debtors are hereby authorized to do and perform all acts, pay the principal, interest,

             fees, and expenses, and other amounts described in the DIP Credit Agreement as and when such

             amounts become due and payable.

                            b.       Authorization of Initial Draw. Subject to the terms and conditions of the

             DIP Credit Agreement and this Interim Order, the Debtors are hereby authorized to draw an

             amount not to exceed $4,000,000. The Debtors are authorized to use the DIP Facility in

             accordance with the Debtors’ Initial DIP Budget (subject to the Permitted Variance), which is

             hereby approved in all respects, to continue operations, fund operating expenses, service their

             debt, and administer and preserve the value of their estates, all in accordance with the terms of

             this Interim Order and the DIP Credit Agreement. The Initial DIP Budget comprises the Debtors’

             anticipated uses of the amounts advanced under the DIP Facility and will not be a cap on any

             particular line item.

                            c.       DIP Collateral. The “DIP Collateral” shall consist of all assets of the

             Debtors, including: (i) all accounts, contracts rights, chattel paper, cash, general intangibles,

             intellectual property, machinery, equipment, goods, inventory, furniture, fixtures, letter of credit

             rights, books and records, deposit accounts, documents, instruments, commercial tort claims,

             money, insurance, receivables, receivables records, deposit accounts, collateral support,

             supporting obligations and instruments, all interests in leaseholds and real properties, all patents,


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             copyrights, trademarks (but excluding trademark applications filed in the United States Patent

             and Trademark Office on the basis of the applicant’s intent-to-use such trademark unless and until

             evidence of use of the trademark has been filed with, and accepted by, the United States Patent

             and Trademark Office pursuant to Section 1(c) or Section 1(d) of the Lanham Act (15 U.S.C.

             §1051, et seq.)), trade names and other intellectual property, all equity interests (to be limited to

             the extent of any adverse tax consequences, as reasonably determined by the DIP Agent and the

             DIP Borrower, and limitations imposed by applicable law), all books and records relating to the

             foregoing, all other personal and real property of the DIP Borrower and Guarantors, and all

             proceeds, products, accessions, rents and profits of or in respect of any of the foregoing (in each

             case as the foregoing are defined in the Uniform Commercial Code (“UCC”) as in effect from

             time to time in the State of New York (and, if defined in more than one Article of such UCC,

             shall have the meaning given in Article 9 thereof)); and (ii) subject to entry of the Final Order,

             proceeds of any actions under sections 544, 545, 547, 548 and 550 of the Bankruptcy Code;

             provided, that the DIP Collateral shall not include (i) property subject to a purchase money lien,

             capital lease or similar arrangement to the extent the creation of a security interest therein is

             prohibited thereby or creates a right of termination in favor of any other party thereto or otherwise

             requires third party consent thereunder, (ii) the Professional Fee Reserves (defined below) or any

             contents or proceeds thereof, or (iii) the account that holds the adequate assurance deposits of the

             Debtors for the benefit of their utility providers; provided, further, however, that the DIP

             Collateral shall include any equity or residual value in such property described in clause (i) of the

             foregoing proviso.

                   4.      Cash Collateral. “Cash Collateral” shall mean all of the Debtors’ cash, wherever

         located and held, including cash in deposit accounts, that constitutes or will constitute “cash


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         collateral” of any of the DIP Secured Parties within the meaning of section 363(a) of the

         Bankruptcy Code. To the extent there exists or comes to exist any cash of the Debtors’ estates that

         is not Cash Collateral, wherever located and however held, such cash shall be deemed to have been

         used first by the Debtors’ estates, and such cash, to the extent applicable, shall be subject to the

         DIP Liens and DIP Superpriority Claims granted to the DIP Agent and DIP Lender.

                5.      Granting of the DIP Liens. To secure the DIP Obligations and subject in all

         respects to the terms of this Interim Order and the DIP Credit Agreement, including the Carve Out,

         the DIP Lender shall be granted valid, enforceable, and fully perfected liens under sections

         364(c)(2) and (c)(3) of the Bankruptcy Code as follows (together the “DIP Liens”): (a) a perfected,

         first priority security interest and lien on the DIP Collateral to the extent such DIP Collateral is not

         subject to valid, perfected, and nonavoidable liens or security interests in existence as of the

         Petition Date, or that are perfected subsequent to the Petition Date as permitted by Bankruptcy

         Code section 546(b); and (b) a perfected junior lien on the DIP Collateral to the extent such DIP

         Collateral is subject to valid, perfected, and nonavoidable liens or security interests in existence as

         of the Petition Date or that are perfected subsequent to the Petition Date as permitted by

         Bankruptcy Code section 546(b), whether arising by operation of law or otherwise (each

         a “Statutory Lien”). At all times prior to the indefeasible payment in cash in full of the DIP

         Obligations, the DIP Liens will be valid and enforceable against any trustee appointed in these

         Chapter 11 Cases, upon the conversion of any of the Chapter 11 Cases to a case under chapter 7

         of the Bankruptcy Code (a “Successor Case”), or upon the dismissal of any of the Chapter 11 Cases

         or any Successor Case(s).

                6.      Subject to the Carve Out, the DIP Liens and the DIP Superpriority Claim (defined

         below) (a) shall not be made subject or subordinated to, or made pari passu with, (i) any other lien,


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         security interest, or claim heretofore or hereinafter granted in any of these Chapter 11 Cases or any

         Successor Case (with the exception of liens perfected in accordance with section 546(b) of the

         Bankruptcy Code) and shall be valid and enforceable against the Debtors, their estates, any trustee,

         or any other estate representative appointed or elected in these Chapter 11 Cases or any Successor

         Case and/or upon the dismissal of any of these Chapter 11 Cases or any Successor Case; (ii) any

         lien that is avoided and preserved for the benefit of the Debtors and their estates under section 551

         of the Bankruptcy Code or otherwise; (iii) any intercompany or affiliate lien or claim; (b) shall not

         be subject to Bankruptcy Code sections 510, 549, 550, or 551; and (c) shall be senior to all

         administrative expenses of the kind specified in sections 503(b) and 507(b) of the Bankruptcy

         Code.

                 7.     DIP Superpriority Claim. Subject to the Carve-Out, the DIP Lender is hereby

         granted pursuant to section 364(c)(1) of the Bankruptcy Code an allowed superpriority

         administrative expense claim, joint and several to all of the Debtors, with recourse to all prepetition

         and postpetition property of the Debtors (the “DIP Superpriority Claim”). Subject to the Carve

         Out, the DIP Superpriority Claim shall have the priority set forth in section 507(b) of the

         Bankruptcy Code.

                 8.     Postpetition Lien Perfection. The DIP Liens shall be and hereby are deemed fully

         perfected liens and security interests, effectuated and perfected upon the date of this Interim Order,

         without the necessity of execution by the Debtors of mortgages, security agreements, pledge

         agreements, financing agreements, financing statements, account control agreements, or any other

         agreements, filings, or instruments (each a “Perfection Act”), such that no action whatsoever need

         be taken by the DIP Lender, the DIP Agent, the Debtors, or any other party (including any

         depository bank or securities intermediary) to perfect such interests. This Interim Order shall


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         constitute sufficient and conclusive evidence of the priority, perfection, and validity of the DIP

         Liens without regard to any other federal, state, or local requirements or law. Notwithstanding the

         foregoing, if the DIP Lender or DIP Agent, in their sole discretion, elect for any reason to file,

         record, or otherwise effectuate any Perfection Act, then the DIP Lender or DIP Agent, as

         applicable, is hereby granted relief from the automatic stay of section 362 of the Bankruptcy Code

         to perform such Perfection Act, and the Debtors are authorized and directed to perform such

         Perfection Act to the extent necessary or required by the DIP Documents, which act or acts shall

         be deemed to have been accomplished as of the date and time of entry of this Interim Order

         notwithstanding the date and time actually accomplished, and, in such event, the subject filing or

         recording office is authorized to accept, file, or record any document in regard to such act in

         accordance with applicable law. The DIP Lender may choose to file, record, or present a certified

         copy of this Interim Order in the same manner as a Perfection Act, which shall be tantamount to a

         Perfection Act, and, in such event, the subject filing or recording office is authorized to accept,

         file, or record such certified copy of this Interim Order in accordance with applicable law. Should

         the DIP Lender so choose and attempt to file, record, or perform a Perfection Act, no defect or

         failure in connection with such attempt shall in any way limit, waive, or alter the validity,

         enforceability, attachment, priority, or perfection of the post-petition liens and security interests

         granted herein by virtue of the entry of this Interim Order.

                9.      Authorization for Payment of DIP Expenses. The Debtors are authorized to pay

         all fees, costs, and expenses set forth in the DIP Credit Agreement, including the Lender Expenses,

         without any requirement that the Debtors, the DIP Lender, the DIP Agent, or their respective

         attorneys file any further application or other pleading, notice, or document with this Court for

         approval or payment of such fees, costs, or expenses, and all such amounts are hereby approved to


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         the extent provided in the DIP Credit Agreement. “Lender Expenses” shall mean (a) costs or

         expenses (including taxes and insurance premiums) required to be paid by the DIP Borrower under

         any of the DIP Documents that are paid, advanced, or incurred by the DIP Agent and/or any DIP

         Lenders; (b) out-of-pocket fees or charges paid or incurred by the DIP Agent and/or such DIP

         Lenders in connection with its transactions with the DIP Borrower under any of the DIP

         Documents; (c) out-of-pocket costs and expenses incurred by the DIP Agent and/or such DIP

         Lenders in the disbursement of funds to the DIP Borrower (by wire transfer or otherwise); (d) out-

         of-pocket costs, fees (including reasonable and documented attorneys’ fees, but limited to one

         primary counsel for the DIP Agent and the DIP Lenders (taken as a whole) plus local counsel to

         the extent reasonably necessary in any relevant jurisdiction) and expenses paid or incurred by the

         DIP Agent and/or such DIP Lenders to enforce any provision of the DIP Documents, or during the

         continuance of an Event of Default (defined below), in gaining possession of, maintaining,

         handling, preserving, storing, shipping, selling, preparing for sale, or advertising to sell the DIP

         Collateral, or any portion thereof, irrespective of whether a sale is consummated; (e) out-of-pocket

         audit fees and reasonable expenses of the DIP Agent and/or such DIP Lenders related to any

         inspections or audits; (f) out-of-pocket costs and expenses of third party claims or any other suit

         paid or incurred by the DIP Agent and/or such DIP Lenders in enforcing or defending the DIP

         Documents or in connection with the transactions contemplated by the DIP Documents or the DIP

         Agent and/or such DIP Lenders’ relationship with any Debtor; (g) out-of-pocket costs and

         expenses (including attorneys’ fees) incurred by the DIP Agent and/or such DIP Lenders incurred

         in advising, structuring, drafting, reviewing, administering, or amending the DIP Documents

         (limited to one primary counsel for the DIP Agent and the DIP Lenders (taken as a whole) plus

         local counsel to the extent reasonably necessary in any relevant jurisdiction); (h) out-of-pocket


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         fees and expenses of the DIP Agent and/or such DIP Lenders related to any due diligence in

         connection with the DIP Facility or meetings with the DIP Borrower in connection with the DIP

         Facility; and (i) costs and expenses of the DIP Agent and/or such DIP Lenders incurred in

         terminating, enforcing, or defending the DIP Documents, irrespective of whether suit is brought,

         or in taking any Remedial Action concerning the DIP Collateral. The payment of all such Lender

         Expenses, whether incurred before or after the Petition Date, shall not be subject to the Approved

         Budget but shall be subject solely to the terms of the DIP Credit Agreement.

                10.     Subject to the review rights below, none of the Lender Expenses shall be subject to

         the approval (whether prior to payment or after) of this Court or the guidelines of the U.S. Trustee,

         and no recipient of any such payment shall be required to file with respect thereto any interim or

         final fee application with this Court. Payment of the Lender Expenses shall be made by the Debtors

         within fourteen (14) days after delivery of a summary invoice (redacted for privilege) to the

         Debtors and without the need for application to or order of this Court. A copy of such summary

         invoice shall be provided by the DIP Agent to the U.S. Trustee and counsel for the Committee, if

         any, contemporaneously with the Debtors’ receipt of such summary invoice. An unredacted copy

         of the summary invoice will be supplied to the U.S. Trustee upon request. If (a) either of the

         Debtors, the U.S. Trustee, or the Committee, if any, object to the reasonableness of a summary

         invoice submitted by the DIP Agent, and (b) the parties cannot resolve such objection within the

         fourteen (14)-day period following receipt of such summary invoice, the Debtors, the U.S. Trustee,

         or the Committee, if any, shall file with this Court and serve on the DIP Agent a fee objection (a

         “DIP Lender Fee Objection”). The Debtors shall promptly pay any submitted invoice after the

         expiration of the fourteen (14)-day period if no DIP Lender Fee Objection is filed with this Court

         and served on the DIP Lender in such fourteen (14)-day period. If a DIP Lender Fee Objection is


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         timely filed and served, the Debtors shall promptly pay the undisputed amount of the summary

         invoices, and this Court shall have jurisdiction to determine the disputed portion of such invoice

         if the parties are unable to resolve the DIP Lender Fee Objection.

                11.     Indemnification. The Debtors are authorized to indemnify and hold harmless the

         DIP Agent, the DIP Lender, and solely in its capacity as such, each of their respective affiliates,

         and each such person’s representatives, agents, attorneys, officers, directors, and employees, in

         accordance with, and subject to, the DIP Loan Documents, which indemnification is hereby

         authorized and approved.

                12.     Carve Out; Professional Fee Escrow. The DIP Liens and the DIP Superpriority

         Claim shall be subject to the payment, without duplication, of the following fees and expenses (the

         amounts set forth in the clauses (i) through (iv) collectively, the “Carve Out”): (i) all fees required

         to be paid to the Clerk of the Court and to the U.S. Trustee under section 1930(a) of title 28 of the

         United States Code plus interest at the statutory rate, which shall not be reduced by any Approved

         Budget (collectively, the “Statutory Fees”); (ii) all reasonable fees and expenses up to $25,000

         incurred by a trustee under section 726(b) of the Bankruptcy Code (the “Chapter 7 Trustee Carve

         Out”); (iii) any incurred and unpaid professional’s fees (excluding any success or transaction fees),

         costs, disbursements and expenses (the “Allowed Professional Fees”) incurred or earned by

         persons or firms retained by the Debtors pursuant to sections 327, 328 or 363 of the Bankruptcy

         Code (the “Debtor Professionals”) and the Committee, if any, pursuant to sections 327, 328 or

         1103 of the Bankruptcy Code (the “Committee Professionals” and, together with the Debtor

         Professionals, the “Professional Persons”) at any time before or on the first business day following

         delivery by any DIP Agent of a Carve Out Trigger Notice (as defined below) (the “Pre-Trigger

         Carve Out Cap”); and (iv) Allowed Professional Fees of Professional Persons in an aggregate


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         amount not to exceed $1,000,000 incurred after the first business day following delivery by any

         DIP Agent of the Carve Out Trigger Notice (such date, the “Trigger Date”), to the extent allowed

         at any time, whether by final order, interim order, procedural order, or otherwise (the amounts set

         forth in this clause (iv) being the “Post-Carve Out Trigger Notice Cap”); (all such amounts set

         forth in clauses (a) through (d), collectively, the “Carve Out Cap”); provided that nothing herein

         shall be construed to impair any party’s ability to object to Court approval of the fees, expenses,

         reimbursement of expenses or compensation of any Professional Person.

                13.     “Carve Out Trigger Notice” shall mean a written notice delivered by email (or other

         electronic means) to the Debtors and their counsel, the U.S. Trustee, and the Committee and its

         counsel, if any, which notice may be delivered following the occurrence and during the

         continuation of an Event of Default (defined below) under the DIP Credit Agreement, stating that

         (a) the Post-Carve Out Trigger Notice Cap has been invoked, and (b) the obligations under the DIP

         Facility have been accelerated.

                14.     The Debtors shall wire transfer funds, on a weekly basis, to the professional fee

         reserve maintained by Young, Conaway Stargatt & Taylor, LLP (“Young Conaway”) for Debtor

         Professionals (such reserve, the “Debtor Professional Fee Reserve”) in an amount equal to the

         amounts set forth in the professional fee line items under the “Professional Fees – Restructuring”

         subheading in the Approved Budget for each Debtor Professional for each such week, with such

         amounts used to pay the then incurred but unpaid fees and expenses of the Debtor Professionals

         prior to any and all other claims. The Debtors shall also wire transfer funds, on a weekly basis, to

         the professional fee reserve maintained by Young Conaway for Committee Professionals (such

         reserve, the “Committee Professional Fee Reserve” and together with the Debtor Professional Fee

         Reserve, the “Professional Fee Reserves”) in an amount equal to the amounts set forth in the


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         professional fee line items under the “Professional Fees – Restructuring” subheading in the

         Approved Budget for each Committee Professional for each such week, with such amounts used

         to pay the then incurred but unpaid fees and expenses of the Committee Professionals prior to any

         and all other claims. To the extent the incurred but unpaid fees and expenses of Professional

         Persons exceeds the amount set forth for such Professional Person in the Approved Budget, the

         Debtors are authorized to increase the Professional Fee Reserves in an amount necessary to

         reconcile the deficiency. Upon any delivery of a Carve Out Trigger Notice, the Debtors shall also

         fund the Professional Fee Reserves with the amount of the Post-Carve Out Trigger Notice Cap.

         Notwithstanding any (a) occurrence of any Event of Default (defined below), (b) delivery of a

         Carve Out Trigger Notice, or (c) termination of the DIP Credit Agreement, the Debtors shall be

         permitted to fund and make payments from the Professional Fee Reserves in accordance with the

         Approved Budget and this Interim Order, and the DIP Agent shall not sweep or foreclose on cash

         (including cash received as a result of the sale or other disposition of any assets) of the Debtors

         until the Professional Fee Reserves have been fully funded as permitted above in an amount equal

         to all applicable obligations benefiting from the Carve Out. Any payment or reimbursement made

         to any Professional Person prior to the delivery of the Carve Out Trigger Notice shall not reduce

         the Carve Out.

                15.       Payment of Compensation. Nothing herein shall be construed as consent to the

         allowance of any professional fees or expenses of the Debtors or the Committee, if any, or affect

         the right of any party in interest to object to the allowance and payment of such fees and expenses.

         Notwithstanding the foregoing, the amounts held in the Professional Fee Reserves shall remain

         property of the estates unless and until paid to the Professional Persons according to approved




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         interim compensation procedures or a further order of this Court approving the allowance and

         payment of such fees and expenses.

                16.     Right to Credit Bid. Subject to entry of the Final Order and in connection with

         any sale or disposition of all or any portion of the DIP Collateral and, with respect to any credit

         bid, pursuant to section 363(k) of the Bankruptcy Code, the DIP Lender shall have the power and

         right to “credit bid” the full amount of all DIP Obligations to purchase (either directly or through

         one or more acquisition vehicles) all or any portion of the DIP Collateral.

                17.     Mandatory Prepayments. Mandatory prepayment of the DIP Obligations shall

         be required: (a) within five (5) business days of the date of receipt by any Debtor of the Net Cash

         Proceeds of any disposition (whether through a voluntary or involuntary sale, the loss, destruction

         or damage thereof or any actual condemnation, confiscation, requisition, seizure or taking thereof

         or otherwise) of DIP Collateral (other than Permitted Transfers), in an amount equal to one hundred

         percent (100%) of the Net Cash Proceeds received by the Debtors in connection with such sales or

         dispositions; and (b) within five (5) business days of the date of incurrence by any Debtor of any

         Indebtedness (other than Permitted Indebtedness), in an amount equal to one hundred percent

         (100%) of the Net Cash Proceeds received by the Debtors in connection with the incurrence of

         such Indebtedness, plus accrued interest. There shall be no fee or penalty associated with any

         mandatory or voluntary prepayments of the DIP Obligations.

                18.     Maturity Date. The DIP Facility shall mature on the earliest of (a) the date that is

         six (6) months after the closing of the DIP Facility; (b) the substantial consummation (as defined

         in section 1101 of the Bankruptcy Code and which for purposes hereof shall be no later than the

         “effective date” thereof) of a chapter 11 plan filed in the chapter 11 cases that is confirmed pursuant

         to an order entered by this Court; (c) the consummation of a sale or other disposition of all or


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         substantially all of the assets of the Debtors under Section 363 of the Bankruptcy Code; (d) entry

         of an order converting the chapter 11 cases to cases under chapter 7 of the Bankruptcy Code or

         dismissing the chapter 11 cases; and (e) the acceleration of the outstanding DIP Obligations and

         termination of the DIP Facility as a result of the occurrence and continuation of an Event of Default

         (defined below) (collectively, the “Maturity Date”).

                19.     Reporting. The Debtors shall be required to provide the DIP Agent with the

         following reports within twenty-one (21) days after the end of each calendar month (which may

         consist of the monthly operating reports as filed in the Chapter 11 Cases): (a) unaudited

         consolidated financial statements for such calendar month of the DIP Borrower consisting of a

         balance sheet, and related statements of income and cash flows, all of which shall be certified on

         behalf of the DIP Borrower; (b) an operating report for the DIP Borrower, including a detailed

         comparison of the actual year-to-date operating results against the Approved Budget; and (c) solely

         with respect to the last month of each fiscal quarter, a management report, describing in reasonable

         detail the DIP Borrower’s operations and financial condition for such month.

                20.     Events of Default. The following shall constitute an event of default under the

         DIP Credit Agreement and this Interim Order, unless expressly waived by the DIP Agent in the

         DIP Agent’s reasonable discretion, in writing (email being sufficient), in accordance with the terms

         of the DIP Credit Agreement (each, an “Event of Default”): (a) the failure to pay (i) when due,

         any principal or (ii) within five (5) business days of when due, any other DIP Obligations; (b) the

         failure to comply with reporting and required notice affirmative covenants (which remain

         unremedied for five (5) business days), existence of DIP Borrower, failure to join a new subsidiary

         as a loan party as and when required, any negative covenant, and any failure to maintain liens in

         favor of DIP Agent; (c) the failure to meet or satisfy the Milestones; (d) any other breach that


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         remains unremedied for thirty (30) days; (e) any misrepresentation that continues for thirty (30)

         days; (f) the filing of a motion by any Debtor with the Court or any other court with jurisdiction in

         the matter seeking an order, or an order is otherwise entered, (i) amending or modifying the DIP

         Orders in a manner materially adverse to the DIP Lenders’ interests, or (ii) reversing, revoking,

         staying, rescinding, or vacating the DIP Orders; (g) the filing or obtaining of Court approval of a

         disclosure statement for a chapter 11 plan that is not an Acceptable Plan or a chapter 11 plan is

         confirmed that is not an Acceptable Plan; (h) except with respect to the Carve Out and any

         Statutory Liens or Permitted Liens, the filing of any motion or application, or this Court’s granting

         of any motion or application of any other person, which seeks approval for or allowance of any

         claim, lien, security interest ranking equal or senior in priority to the claims, liens and security

         interests granted to the DIP Agent under this Interim Order, or with respect to the DIP Collateral

         or any such equal or prior claim, lien, or security interest shall be established in any manner,

         except, in any case, as expressly permitted under this Interim Order; (i) the ceasing of the DIP

         Orders to be in full force and effect from and after the date of entry thereof by the Court; (j) the

         entry of an order which provides relief from the automatic stay otherwise imposed pursuant to

         section 362 of the Bankruptcy Code, which order permits any creditor, other than the DIP Agent

         (other than any creditor holding a Statutory Lien that is senior to the DIP Agent), to realize upon,

         or to exercise any right or remedy with respect to, any material portion of the DIP Collateral; (k)

         conversion of the chapter 11 cases to cases under chapter 7 of the Bankruptcy Code, or dismissal

         of the chapter 11 cases either voluntarily or involuntarily and the DIP Obligations are not

         simultaneously paid in full; and (l) the appointment of a trustee or examiner with special powers

         pursuant to section 1104 of the Bankruptcy Code.




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                21.     Rights and Remedies upon Event of Default. Upon the occurrence and during

         the continuance of an Event of Default, the DIP Agent shall have the right to do one or more of

         the following, in each case subject to the requirement for a Default Notice (defined below) and the

         expiration of the Waiting Period (defined below): (a) declare the DIP Obligations due and payable,

         and the DIP Facility terminated, in each case upon the expiration of the Waiting Period, whereupon

         the DIP Obligations shall become and be immediately due and payable; (b) terminate, restrict, or

         reduce the Debtors’ ability to use Cash Collateral other than to pay expenses set forth in the

         Approved Budget that are necessary to avoid immediate and irreparable harm to the Debtors’

         estates; provided, however, that the professional fees and expenses of the Professional Persons

         shall be governed by Paragraphs 12 through 14 of this Interim Order relating to the Carve Out; (c)

         charge interest at the Default Rate; (d) upon five (5) business days’ prior written notice to the

         Debtors, the U.S. Trustee, and the Committee, if any, obtain and liquidate the DIP Collateral; (e)

         require the Debtors to assemble all of the DIP Collateral constituting personal property without

         judicial process pursuant to Section 9-609 of the UCC; (f) upon five (5) business days’ prior written

         notice to the Debtors, the U.S. Trustee, and the Committee, if any, take possession of all DIP

         Collateral constituting tangible personal property without judicial process pursuant to Section 9-

         609 of the UCC; and (g) exercise any of its other rights under the DIP Documents and applicable

         law.

                22.     Subject to the terms of the DIP Documents and this Interim Order, the automatic

         stay provisions of section 362 of the Bankruptcy Code shall be modified to the extent necessary to

         permit the DIP Secured Parties to exercise all rights and remedies and to take any or all of the

         above actions, without further order of or application to the Court, after five (5) business days (as

         may be extended by the Court, such period, the “Waiting Period”) from the delivery of a written


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         notice of the occurrence and continuance of an Event of Default (the “Default Notice”) (e-mail

         being sufficient for this purpose) by the DIP Secured Parties to the Debtors, their counsel, the U.S.

         Trustee, and the Committee, if any.

                23.     Binding Effect. The terms of this Interim Order shall be valid and binding upon

         the Debtors, all creditors of the Debtors, and all other parties in interest from and after the entry of

         this Interim Order by this Court.

                24.     Good Faith Under Section 364(e) of the Bankruptcy Code. The DIP Lender has

         acted in good faith in connection with the DIP Facility, the DIP Documents, and this Interim Order,

         and is entitled to rely upon the protections granted herein and by section 364(e) of the Bankruptcy

         Code. Any modification, amendment, waiver, or vacatur shall not affect the validity of any

         advances previously made, including advances made hereunder, or any priority lien granted,

         including liens granted hereunder, unless the advances made, or the granting of the priority or lien,

         is stayed pending appeal.

                25.     Reversal, Stay, Modification, or Vacatur. In the event the provisions of this

         Interim Order are reversed, stayed, modified, or vacated by court order following notice and any

         further hearing, such reversals, modifications, stays, or vacatur shall not affect the rights and

         priorities of the DIP Lender or DIP Agent granted pursuant to this Interim Order. Notwithstanding

         any such reversal, stay, modification, or vacatur by court order, any indebtedness, obligation, or

         liability incurred by the Debtors pursuant to this Interim Order arising prior to the DIP Lender’s

         receipt of notice of the effective date of such reversal, stay, modification, or vacatur shall be

         governed in all respects by the original provisions of this Interim Order, and the DIP Lender and

         DIP Agent shall continue to be entitled to all of the rights, remedies, privileges, and benefits,

         including any payments authorized herein and the security interests and liens granted herein, and


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         with respect to all such indebtedness, obligation, or liability, and the validity of any payments

         made or obligations owed or credit extended or lien or security interest granted pursuant to this

         Interim Order, such shall remain subject to the protection afforded under this Interim Order and

         the Bankruptcy Code.

                26.     Proofs of Claim. Notwithstanding anything to the contrary contained in any prior

         or subsequent order of the Court, including, without limitation, any order establishing a deadline

         for the filing of proofs of claim or requests for payment of administrative expenses under

         Bankruptcy Code section 503(b), the DIP Agent and the DIP Lender shall not be required to file

         any proofs of claim or request for payment of administrative expenses with respect to any of the

         DIP Obligations; and the failure to file any such proof of claim or request for payment of

         administrative expenses shall not affect the validity, priority, or enforceability of any of the DIP

         Obligations or of any other indebtedness, liabilities, or obligations arising at any time under the

         DIP Credit Agreement or under this Interim Order or prejudice or otherwise adversely affect the

         DIP Agent or DIP Lender’s rights, remedies, powers, or privileges under any of the DIP

         Documents or applicable law. The provisions set forth in this paragraph are intended solely for

         the purpose of administrative convenience and shall not affect the substantive rights of any party-

         in-interest or their respective successors-in-interest.

                27.     Survival of Final Order or Other Matters. The provisions of this Interim Order

         and any actions taken pursuant hereto shall survive the entry of any order confirming a plan,

         converting the Chapter 11 Cases, or dismissing the Chapter 11 Cases or any Successor Case, and

         the terms and provisions of this Interim Order shall continue in full force notwithstanding any such

         order. In the event of a conflict between this Interim Order and any order confirming a chapter 11

         plan, the order confirming the chapter 11 plan shall control.


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                28.     The requirements set forth in Bankruptcy Rule 6003(b) are satisfied.

                29.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

         of such Motion under the circumstances and the requirements of Bankruptcy Rule 6004(a) and the

         Bankruptcy Local Rules are satisfied by such notice.

                30.     Notwithstanding the applicability of Bankruptcy Rule 6004(h), the terms and

         conditions of this Interim Order shall be immediately effective and enforceable upon its entry.

                31.     The Debtors are authorized to take all such actions as are necessary or appropriate

         to implement the terms of this Interim Order.

                32.     This Court retains jurisdiction with respect to all matters arising from or related to

         the implementation, interpretation and enforcement of this Interim Order.




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                                      Exhibit 1

                                 DIP Credit Agreement




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                                                                                   Execution Version




                        SENIOR SECURED, SUPER-PRIORITY DEBTOR-IN-POSSESSION
                                   LOAN AND SECURITY AGREEMENT

                                              by and among

                                         ICON AIRCRAFT INC.,
                                             as Borrower,

                                       the Guarantors party hereto,

                                         the Lenders party hereto

                                                   and

                                      FeiRen International Co., Ltd.,
                                               as the Agent

                                         Dated as of April 4, 2024




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                        SENIOR SECURED, SUPER-PRIORITY DEBTOR-IN-POSSESSION
                                   LOAN AND SECURITY AGREEMENT

         THIS SENIOR SECURED, SUPER-PRIORITY DEBTOR-IN-POSSESSION LOAN AND
SECURITY AGREEMENT (this “Agreement”), is entered into as of April 4, 2024, by and among ICON Aircraft
Inc., a Delaware corporation (the “Borrower”), the guarantors from time to time party hereto (collectively, the
“Guarantors” and, together with the Borrower, the “Loan Parties”), the financial institutions from time to time party
hereto as lenders (collectively, the “Lenders”) and FeiRen International Co., Ltd., as a Lender and as administrative
agent (in such capacity, the “Agent”) for itself and the other Lenders.

          WHEREAS, on April 4, 2024 (the “Petition Date”), the Borrower, the other Loan Parties, and certain other
Affiliates of the Borrower (collectively, the “Debtors”) commenced voluntary bankruptcy proceedings, under
Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”), in the United States Bankruptcy Court
for the District of Delaware (the “Bankruptcy Court”) under the lead case filed by the Borrower substantially
concurrently herewith (each, a “Chapter 11 Case” and collectively, the “Chapter 11 Cases”);

         WHEREAS, the Loan Parties remain in possession of their businesses and manage their properties as
debtors and debtors-in-possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code;

         WHEREAS, the Loan Parties have requested that Lenders provide financing to Borrower consisting of a
senior secured super-priority multiple draw term loan in a principal amount of up to Nine Million Dollars
($9,000,000) (the “Facility”) pursuant to Sections 105, 363, 364(c) and 364(d) of the Bankruptcy Code;

          WHEREAS, the Guarantors have agreed to guarantee the Obligations under this Agreement;

         WHEREAS, Lenders have indicated their willingness to agree to extend the Facility to Borrower, all on
terms and conditions set forth herein and in the other Loan Documents and in accordance with Sections 105, 363,
364(c) and 364(d) of the Bankruptcy Code, so long as the Obligations are (i) secured by Liens on the Collateral
granted by the Loan Parties as hereinafter provided and (ii) given superpriority status as provided in the DIP Orders;

         WHEREAS, the Loan Parties have agreed to grant to the Agent a security interest in all their assets as
Collateral, and the Borrower has further agreed that the Agent shall have Superpriority Claims in their Chapter 11
Cases for the repayment of the Obligations pursuant to the DIP Orders, subject to the approval of the Bankruptcy
Court; and

        NOW, THEREFORE, in consideration of the premises and of the mutual covenants and agreements
contained herein, the parties hereto hereby agree as follows:

1.        DEFINITIONS AND CONSTRUCTION.

          1.1.        Definitions. As used in this Agreement, the following terms shall having the meanings specified
below:

          “Acceptable 363 Sale” means a sale of all or substantially all of the Loan Parties’ assets pursuant to Section
363 of the Bankruptcy Code, subject to the following conditions: the Agent shall have reviewed and approved in
writing in its reasonable discretion any “stalking horse” asset purchase agreement (the “Stalking Horse Purchase
Agreement”), the bidding procedures governing a sale of any portion of the Collateral (the “Bidding Procedures”),
any order or proposed order approving the Bidding Procedures (the “Bidding Procedures Order”), any order or
proposed order approving a sale of all or any portion of the Collateral pursuant to Section 363 of the Bankruptcy
Code (a “Sale Order”), and any motions seeking entry of a Sale Order or approval of the Bidding Procedures;
provided that the Agent shall be deemed to approve such Stalking Horse Purchase Agreement, Bidding Procedures,
Bidding Procedures Order, Sale Order, and related motions and forms of order if such documents (a) provide for the
repayment in full in cash of the Facility on the date such sale is consummated or (b) are submitted or agreed by any
affiliate of the Agent.




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          “Acceptable Plan” means a plan of reorganization or liquidation for the Chapter 11 Cases that (i) provides
for the payment in full in cash of the Obligations, in exchange for full discharge thereof, on or prior to the effective
date of the plan as a condition to the effectiveness thereof, and (ii) contains releases, exculpations and waivers for
the Agent and Lenders (solely in their capacity as such) in form and substance reasonably acceptable to the Agent in
its discretion.

          “Advances” has the meaning set forth in Section 2.1(a).

          “Affiliate” means, as to any Person, any other Person that, directly or indirectly through one or more
intermediaries, controls, is controlled by, or is under common control with, such Person. For purposes of this
definition, the term “control” (and the correlative terms, “controlled by” and “under common control with”) shall
mean the possession, directly or indirectly, of the power to direct or cause the direction of the management or
policies, whether through ownership of securities or other interests, by contract or otherwise.

          “Agent” has the meaning set forth in the preamble to this Agreement.

          “Agreement” has the meaning set forth in the preamble to this Agreement.

          “Allowed Professional Fees” has the meaning set forth in the DIP Orders.

          “Approved Budget” means an initial budget, prepared by Borrower, for the period commencing on the
week ending April 5, 2024 through the week ending June 28, 2024 that sets forth in reasonable detail all of the Loan
Parties’ projected (i) Cash Receipts, (ii) Cash Operating Disbursements, and (iii) Cash Bankruptcy Disbursements,
separated into line items for each category of receipt or disbursement, and is otherwise in form and substance
reasonably acceptable to the Agent, and is attached hereto as Exhibit A.

         “Authorized Person” means any one of the individuals identified on Schedule A-2, as such schedule is
updated from time to time by written notice from Loan Parties to the Agent.

          “Bankruptcy Code” has the meaning set forth in the recitals hereto.

          “Bankruptcy Court” has the meaning set forth in the recitals hereto.

          “Borrower” has the meaning set forth in the preamble to this Agreement.

         “Business Day” means any day that is not a Saturday, Sunday, or other day on which banks are authorized
or required to close in the State of New York.

        “Capital Lease” means a lease that is required to be capitalized for financial reporting purposes in
accordance with GAAP as in effect prior to the adoption and/or effectiveness of Accounting Standards Codification
No. 842 or any successor or replacement accounting provisions.

          “Carve Out” has the meaning set forth in the DIP Orders.

          “Case Milestones” has the meaning set forth in Section 6.17.

         “Cash Bankruptcy Disbursements” means the non-operating, bankruptcy-related cash disbursements of the
Debtors, including, but not limited to, fees and expenses owing to professionals and the United States Trustee.

          “Cash Collateral” has the meaning set forth in the DIP Orders.

          “Cash Operating Disbursements” means cash operating disbursements of the Debtors, which shall exclude,
for the avoidance of doubt, all Cash Bankruptcy Disbursements.



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        “Cash Operating Variance” means a positive 15% or less variance of cumulative Cash Operating
Disbursements from the Approved Budget for each Testing Date.

       “Cash Receipt Variance” means a negative 15% or less variance of cumulative Cash Receipts from the
Approved Budget for each Testing Date.

          “Cash Receipts” means the cash receipts of the Debtors.

         “Change of Control” means, except with respect to the consummation of a Sale (whether under a plan of
reorganization or under Section 363 of the Bankruptcy Code), the acquisition, through purchase or otherwise
(including the agreement to act in concert without anything more), by any Person or group (as such term is used in
Section 13(d)(3) of the Securities Exchange Act of 1934, as amended), after the date of this Agreement, of the
beneficial ownership, directly or indirectly, of 50% or more of the equity interests of the Borrower.

          “Chapter 11 Cases” has the meaning set forth in the recitals hereto.

          “Closing Date” means the date upon which the Initial Advance is made pursuant to Section 2.1.

          “Collateral” means, collectively, (a) all real property and all tangible and intangible personal property of
each Loan Party, in each case wherever located and whether now owned or hereafter acquired, including, but not
limited to, all accounts, contracts rights, chattel paper, cash, general intangibles, intellectual property, machinery,
equipment, goods, inventory, furniture, fixtures, letter of credit rights, books and records, deposit accounts,
documents, instruments, commercial tort claims, money, insurance, receivables, receivables records, deposit
accounts, collateral support, supporting obligations and instruments, all interests in leaseholds and real properties, all
patents, copyrights, trademarks (but excluding trademark applications filed in the United States Patent and
Trademark Office on the basis of the applicant’s intent-to-use such trademark unless and until evidence of use of the
trademark has been filed with, and accepted by, the United States Patent and Trademark Office pursuant to Section
1(c) or Section 1(d) of the Lanham Act (15 U.S.C. §1051, et seq.)), trade names and other intellectual property, all
equity interests (to be limited to the extent of any adverse tax consequences, as reasonably determined by the Agent
and the Borrower, and limitations imposed by applicable law), all books and records relating to the foregoing, all
other personal and real property of the Borrower and Guarantors, and all proceeds, products, accessions, rents and
profits of or in respect of any of the foregoing (in each case as the foregoing are defined in the Uniform Commercial
Code as in effect from time to time in the State of New York (and, if defined in more than one Article of such
Uniform Commercial Code, shall have the meaning given in Article 9 thereof)); and (b) subject to entry of the Final
Order, proceeds of any actions under sections 544, 545, 547, 548 and 550 of the Bankruptcy Code; provided, that
the Collateral shall not include (a) property subject to a purchase money lien, capital lease or similar arrangement to
the extent the creation of a security interest therein is prohibited thereby or creates a right of termination in favor of
any other party thereto or otherwise requires third party consent thereunder, (b) the Professional Fee Reserves or any
contents or proceeds thereof, or (c) the account that holds the adequate assurance deposits of the Debtors for the
benefit of their utility providers; provided, further, however, that the Collateral shall include any equity or residual
value in such property described in clause (a) of the foregoing proviso.

        “Commitment” means the commitment of each Lender to make Advances hereunder. The aggregate
amount of the Lenders’ Commitments on the Closing Date is Nine Million Dollars ($9,000,000). In no event shall
the Lenders be obligated to make Advances in an amount that exceeds the aggregate Commitments of the Lenders.

          “Committee” means the statutory committee of unsecured creditors appointed by the United States Trustee
in relation to the Chapter 11 Cases, if any.

          “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. Section 1 et seq.).

          “Daily Balance” means, as of any date of determination, the amount of the unpaid principal amount of the
Facility owed at the end of such day.

          “Debtors” has the meaning set forth in the recitals hereto.

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        “Default” means an event, condition, or default that, with the giving of notice, the passage of time, or both,
would be an Event of Default.

          “Default Notice” has the meaning set forth in the DIP Orders.

          “Default Rate” has the meaning specified in Section 2.4(b).

          “Deposit Account” means any deposit account, as that term is defined in the UCC.

        “Designated Account” means the Deposit Account of Borrower identified on Schedule D-1; which shall be
an account existing within the Borrower’s cash management system as of the Petition Date.

          “Designated Account Bank” has the meaning specified in Schedule D-1.

          “DIP Orders” means the Interim Order and/or the Final Order as applicable.

          “Dollars” or “$” means United States dollars.

          “Environmental Action” means any written complaint, summons, citation, notice, directive, order, claim,
litigation, investigation, judicial or administrative proceeding, judgment, letter, or other written communication from
any Governmental Authority, or any third party relating to or arising out of violations of Environmental Laws or
releases of Hazardous Materials (a) from any Collateral; (b) from adjoining properties or businesses of any real
property that constitutes Collateral, or (c) from or onto any facilities, with respect to the Collateral, which received
Hazardous Materials generated by any Loan Party.

          “Environmental Law” means any applicable federal, state, provincial, foreign or local statute, law, rule,
regulation, ordinance, code, binding and enforceable guideline, binding and enforceable written policy, or rule of
common law now or hereafter in effect and in each case as amended, or any judicial or administrative interpretation
thereof, including any judicial or administrative order, consent decree or judgment, in each case, to the extent
binding on the Loan Parties, relating to the environment, the effect of the environment on employee health, or
Hazardous Materials, in each case as amended from time to time.

         “Environmental Liabilities” means all liabilities, monetary obligations, losses, damages, costs and expenses
(including all reasonable fees, disbursements and expenses of counsel, experts, or consultants, and costs of
investigation and feasibility studies), fines, penalties, sanctions, and interest incurred as a result of any claim or
demand, or Remedial Action required, by any Governmental Authority or any third party, and which relate to any
Environmental Action.

          “Event of Default” has the meaning specified in Section 8.1.

          “Excluded Swap Obligation” means, with respect to any Guarantor, any Swap Obligation if, and to the
extent that, all or a portion of the guarantee of such Guarantor of, or the grant by such Guarantor of a security
interest to secure, such Swap Obligation (or any guarantee thereof) is or becomes illegal under the Commodity
Exchange Act or any rule, regulation or order of the Commodity Futures Trading Commission (or the application or
official interpretation of any thereof) by virtue of such Guarantor’s failure for any reason to constitute an “eligible
contract participant” as defined in the Commodity Exchange Act and the regulations thereunder at the time the
guarantee of such Guarantor or the grant of such security interest becomes effective with respect to such related
Swap Obligation. If a Swap Obligation arises under a master agreement governing more than one swap, such
exclusion shall apply only to the portion of such Swap Obligation that is attributable to swaps for which such
guarantee or security interest is or becomes illegal.

          “Facility” has the meaning specified in the recitals to this Agreement.

       “Fees” means all fees due to the Agent and/or Lenders under this Agreement, any Loan Document or the
DIP Orders.

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          “Final Advance Amount” means One Million Dollars ($1,000,000).

          “Final Order” means a final order of the Bankruptcy Court authorizing and approving the Borrower’s entry
into this Agreement and the other Loan Documents, in form and substance satisfactory to the Agent, in its
reasonable discretion, on a final basis and entered following a final hearing.

        “Governmental Authority” means any federal, state, local, or other governmental or administrative body,
instrumentality, board, department, or agency or any court, tribunal, administrative hearing body, arbitration panel,
commission, or other similar dispute-resolving panel or body.

          “Guaranteed Obligations” has the meaning specified in Section 7.1.

          “Guaranty” means the terms and provisions of Section 7.

         “Hazardous Materials” means (a) substances that are defined or listed in, or otherwise classified pursuant
to, any applicable laws or regulations as “hazardous substances,” “hazardous materials,” “hazardous wastes,” “toxic
substances,” or any other formulation intended to define, list, or classify substances by reason of deleterious
properties such as ignitability, corrosivity, reactivity, carcinogenicity, reproductive toxicity, or “EP toxicity”, (b) oil,
petroleum, or petroleum derived substances, natural gas, natural gas liquids, synthetic gas, drilling fluids, produced
waters, and other wastes associated with the exploration, development, or production of crude oil, natural gas, or
geothermal resources, (c) any flammable substances or explosives or any radioactive materials, and (d) asbestos in
any form or electrical equipment that contains any oil or dielectric fluid containing levels of polychlorinated
biphenyls in excess of 50 parts per million.

          “Indebtedness” means (a) all obligations for borrowed money, including, without limitation, the
Obligations, (b) all obligations evidenced by bonds, debentures, notes, or other similar instruments and all
reimbursement or other obligations in respect of letters of credit, bankers acceptances, or other financial products,
(c) all obligations as a lessee under Capital Leases, (d) all obligations or liabilities of others secured by a Lien on
any asset of such Person, irrespective of whether such obligation or liability is assumed, (e) all payment obligations
to pay the deferred purchase price of assets (other than trade payables incurred in the ordinary course of business
and repayable in accordance with customary trade practices), (f) all indebtedness created or arising under any
conditional sale or other title retention agreement, or incurred as financing, in either case with respect to property
acquired by such Person, (g) the principal balance outstanding under any synthetic lease, off-balance sheet loan or
similar off balance sheet financing products, or (h) any obligation guaranteeing or intended to guarantee (whether
directly or indirectly guaranteed, endorsed, co-made, discounted, or sold with recourse) any obligation of any other
Person that constitutes Indebtedness under any of clauses (a) through (g) above. For purposes of this definition, (i)
the amount of any Indebtedness represented by a guaranty or other similar instrument shall be the lesser of the
principal amount of the obligations guaranteed and still outstanding and the maximum amount for which the
guaranteeing Person may be liable pursuant to the terms of the instrument embodying such Indebtedness, and (ii) the
amount of any Indebtedness described in clause (d) above shall be the lower of the amount of the obligation and the
fair market value of the assets of such Person securing such obligation.

          “Indemnified Liabilities” has the meaning specified in Section 10.3.

          “Indemnified Person” has the meaning specified in Section 10.3.

          “Indemnitee Agent Party” has the meaning specified in Section 16.5.

          “Information” has the meaning specified in Section 15.

          “Initial Advance” has the meaning specified in Section 2.1.

          “Initial Advance Amount” means Four Million Dollars ($4,000,000).

          “Interest Payment Date” has the meaning specified in Section 2.4(c).

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         “Interim Order” means that interim order entered by the Bankruptcy Court authorizing and approving the
Borrower’s entry into this Agreement and the other Loan Documents, in form and substance satisfactory to the
Agent, in its reasonable discretion, the Loan Parties, and their respective counsel.

          “Investment” has the meaning specified in Section 6.15.

          “Lender Expenses” means all reasonable and documented (a) costs or expenses (including taxes and
insurance premiums) required to be paid by the Borrower under any of the Loan Documents that are paid, advanced,
or incurred by the Agent and/or any Lenders, (b) out-of-pocket fees or charges paid or incurred by the Agent and/or
such Lenders in connection with its transactions with the Borrower under any of the Loan Documents, including, but
not limited to, fees or charges for photocopying, notarization, couriers and messengers, telecommunication, public
record searches (including tax lien, litigation, and UCC searches and including searches with the patent and
trademark office or the copyright office), filing, recording, publication, appraisal (including periodic collateral
appraisals or business valuations), real estate surveys, real estate title policies and endorsements, and environmental
audits, (c) out-of-pocket costs and expenses incurred by the Agent and/or such Lenders in the disbursement of funds
to Borrower (by wire transfer or otherwise), (d) out-of-pocket costs, fees (including reasonable and documented
attorneys’ fees, but limited to one primary counsel for the Agent and the Lenders (taken as a whole) plus local
counsel to the extent reasonably necessary in any relevant jurisdiction) and expenses paid or incurred by the Agent
and/or such Lenders to enforce any provision of the Loan Documents, or during the continuance of an Event of
Default, in gaining possession of, maintaining, handling, preserving, storing, shipping, selling, preparing for sale, or
advertising to sell the Collateral, or any portion thereof, irrespective of whether a sale is consummated, (e) out-of-
pocket audit fees and reasonable expenses of the Agent and/or such Lenders related to any inspections or audits, (f)
out-of-pocket costs and expenses of third party claims or any other suit paid or incurred by the Agent and/or such
Lenders in enforcing or defending the Loan Documents or in connection with the transactions contemplated by the
Loan Documents or the Agent and/or such Lenders’ relationship with the Borrower or any Loan Party, (g) out-of-
pocket costs and expenses (including attorneys’ fees) incurred by the Agent and/or such Lenders incurred in
advising, structuring, drafting, reviewing, administering, or amending the Loan Documents (limited to one primary
counsel for the Agent and the Lenders (taken as a whole) plus local counsel to the extent reasonably necessary in
any relevant jurisdiction), (h) out-of-pocket fees and expenses of the Agent and/or such Lenders related to any due
diligence in connection with the Facility or meetings with Borrower in connection with the Facility, and (i) costs and
expenses of the Agent and/or such Lenders incurred in terminating, enforcing, or defending the Loan Documents,
irrespective of whether suit is brought, or in taking any Remedial Action concerning the Collateral.

         “Lender Related Person” means each Lender, together with such Lender’s officers, directors, employees,
attorneys, and agents (including the Agent).

          “Lenders” has the meaning set forth in the preamble to this Agreement.

          “Lien” means any pledge, hypothecation, assignment (which is intended as security), charge, deposit
arrangement (which is intended as security), encumbrance, easement, lien (statutory or other), mortgage, security
interest, or other security arrangement.

         “Loan Account” means the loan accounts maintained by the Agent in the name of Borrower in which shall
be recorded the date and amount of each Advance made by the Lenders and the amount of each payment in respect
thereof.

          “Loan Documents” means this Agreement and any other agreement entered into, now or in the future, by
the Borrower or any other Loan Party and the Agent or any Lender in connection with this Agreement and
designated a Loan Document, and all amendments, modifications, renewals, substitutions and replacements of any
of the foregoing.

         “Material Adverse Change” means, any event, condition, circumstance or contingency (other than as
customarily occurs as a result of events leading up to and following the commencement of a proceeding under
chapter 11 of the Bankruptcy Code) that, individually or in the aggregate, (a) has had or would reasonably be
expected to have, a material adverse effect on the business, operations, performance or financial condition of the
Loan Parties and their subsidiaries, taken as a whole, (b) has resulted in, or would reasonably be expected to result
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in, a material adverse effect on the validity or enforceability of, or the rights, remedies or benefits available to the
Agent or the Lenders under, any Loan Document (other than as permitted hereunder or as a result of an action or
failure to take action by the Agent or a Lender) or of Agent’s ability to enforce the Obligations, (c) has had or would
reasonably be expected to have, a material adverse effect on the ability of the Borrower and the other Loan Parties,
taken as a whole, to perform their obligations under any Loan Document, or (d) a material impairment of the
enforceability or priority of the Agent’s Liens with respect to the Collateral, or the priority of such Liens.

          “Material Contract” means each contract or agreement as to which the breach, nonperformance,
cancellation, termination, loss, expiration or failure to renew by any party thereto would reasonably be expected to
result in a Material Adverse Change.

          “Maturity Date” means the earliest of (i) the date that is six (6) months after the Closing Date, (ii) the
substantial consummation (as defined in Section 1101 of the Bankruptcy Code and which for purposes hereof shall
be no later than the “effective date” thereof) of a plan of reorganization filed in the Chapter 11 Cases that is
confirmed pursuant to an order entered by the Bankruptcy Court, (iii) the consummation of a sale or other
disposition of all or substantially all of the assets of the Loan Parties under Section 363 of the Bankruptcy Code, (iv)
entry of an order converting the Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code or dismissing the
Chapter 11 Cases, and (v) the acceleration of the outstanding Obligations and termination of the Commitments as a
result of the occurrence and continuation of an Event of Default.

          “Net Cash Proceeds” means with respect to any sale or disposition of Collateral by any Person, the amount
of cash proceeds received (directly or indirectly) from time to time (whether as initial consideration or through the
payment of deferred consideration) by or on behalf of such Person, in connection therewith, after deducting
therefrom only (i) fees, commissions, and expenses related thereto and required to be paid in connection with such
sale or disposition and (ii) taxes paid or payable to any taxing authorities in connection with such sale or disposition,
in each case to the extent, but only to the extent, that the amounts so deducted are properly attributable to such
transaction.

          “Obligations” means (a) the due and punctual payment by the Loan Parties of (i) the unpaid principal
amount of and interest on (including interest accruing after the Maturity Date and interest accruing after the Petition
Date) the Advances, as and when due, whether at maturity, by acceleration or otherwise, and (ii) all other monetary
obligations, including advances, debts, contingent reimbursement or indemnification obligations, liabilities
(including all amounts charged to the Loan Account pursuant to this Agreement), obligations (including
indemnification obligations), fees (including, but not limited to, all Lender Expenses), premiums, costs, expenses
and indemnities, whether primary, secondary, direct, indirect, absolute or contingent, due or to become due, now
existing or hereafter arising, fixed or otherwise, irrespective of whether for the payment of money, of the Loan
Parties to the Agent and Lenders under the Loan Documents and the DIP Orders, and including all interest not paid
when due and all other expenses or other amounts that Borrower are required to pay or reimburse by the Loan
Documents or by law or otherwise in connection with the Loan Documents including, without limitation, including
in connection with the collection or enforcement of or preservation of rights of the Agent and the Lenders under the
Loan Documents, and (b) the due and punctual payment and performance of all covenants, duties, agreements,
obligations and liabilities of the Loan Parties to the Agent and the Lenders under or pursuant to the Loan Documents
and the DIP Orders; provided, that Obligations shall not include any Excluded Swap Obligations.

         “Ordinary Course” and “Ordinary Course of Business” shall mean, in respect of any Person, the ordinary
course and reasonable requirements of such Person’s business and undertaken in good faith except as such conduct
has been changed resulting from the Chapter 11 Cases.

          “Organizational Documents” means (a) for any corporation, the certificate or articles of incorporation, the
bylaws, any certificate of designation or other instrument relating to the rights of preferred shareholders or
stockholders of such corporation, any shareholder rights agreement and all applicable resolutions of the board of
directors (or any committee thereof) of such corporation, (b) for any partnership, the partnership agreement and, if
applicable, the certificate of limited partnership, (c) for any limited liability company, the operating agreement and
articles or certificate of formation or organization and all applicable resolutions of any managing member of such
limited liability company, and (d) any agreement between any Loan Party and its shareholders, members, partners or
its equity owners, or among any of the foregoing relating to the governance of such Loan Party.
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          “Payment Account” means the Deposit Account of the Agent identified on Schedule A-1.

          “Permitted Indebtedness” has the meaning set forth in Section 6.1.

          “Permitted Liens” means:

          (a)         all Liens granted pursuant to the Loan Documents and Liens created by the DIP Orders (including
                      the Carve Out);

          (b)         Permitted Prior Liens;

          (c)         Liens existing on the Petition Date and listed on Schedule 6.2 and any renewals or extensions
                      thereof, provided, that (i) the property or asset covered thereby has not changed, (ii) the
                      outstanding principal amount thereof secured by such property or asset does not increase, and (iii)
                      the Borrower or Subsidiary liable with respect there to has not changed;

          (d)         Liens for taxes that are not delinquent or thereafter payable and that are being contested in good
                      faith and by appropriate proceedings diligently conducted, if adequate reserves with respect
                      thereto are maintained on the books of the applicable Person in accordance with GAAP;

          (e)         statutory Liens of landlords and Liens of carriers, warehousemen, mechanics, bailees,
                      materialmen, repairmen, construction contractors and suppliers and other Liens imposed by law or
                      pursuant to customary reservations or retentions of title arising in the Ordinary Course of Business
                      for amounts not overdue or subject to Permitted Protest;

          (f)         (i) pledges or deposits in the Ordinary Course of Business in connection with workers’
                      compensation, unemployment insurance and other social security legislation, other than any Lien
                      imposed by ERISA, and (ii) pledges and deposits of cash in the Ordinary Course of Business
                      securing liability for reimbursement or indemnification obligations of (including obligations in
                      respect of letters of credit or bank guarantees for the benefit of) insurance carriers providing
                      property, casualty or liability insurance to the Borrower or any Subsidiary of the Borrower;

          (g)         deposits to secure the performance of bids, trade contracts, governmental contracts and leases
                      (other than Indebtedness for borrowed money), statutory obligations, surety, stay, customs and
                      appeal bonds, performance bonds and other obligations of a like nature (including those to secure
                      health, safety and environmental obligations) incurred in the Ordinary Course of Business;

          (h)         easements, rights-of-way, restrictions, encroachments, protrusions and other similar encumbrances
                      and minor title defects affecting real property that, in the aggregate, do not in any case materially
                      detract from the value or use of the property subject thereto, impair the use or operation of the
                      Collateral for the use currently being made thereof or impair Borrower’s ability to pay the
                      Obligations in a timely manner or materially interfere with the ordinary conduct of the business of
                      the applicable Person;

          (i)         Liens securing judgments for the payment of money (or appeal or other surety bonds relating to
                      such judgments) in existence for less than sixty (60) days after the entry thereof or with respect to
                      which execution has been stayed and which do not otherwise result in an Event of Default;

          (j)         licenses and sublicenses of intellectual property entered into in the Ordinary Course of Business;

          (k)         any interest or title of a lessor, sublessor, licensor or sublicensor or secured by a lessor’s,
                      sublessor’s, licensor’s or sublicensor’s interest under leases or licenses entered into by the
                      Borrower or any Subsidiary in the Ordinary Course of Business and covering only the assets so
                      leased, subleased, licensed or sublicensed and Liens arising from precautionary Uniform


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                      Commercial Code financing statements or similar filings (or equivalent filings, registrations or
                      agreements in foreign jurisdictions) in connection with any such applicable leases or subleases;

          (l)         normal and customary rights of setoff upon deposits of cash in favor of banks or other depository
                      institutions incurred in connection with the maintenance of such deposits in the Ordinary Course
                      and not arising in connection with the issuance or repayment of Indebtedness;

          (m)         Liens that are contractual rights of setoff relating to pooled deposit or sweep accounts of the
                      Borrower or its Subsidiaries to permit satisfaction of overdraft or similar obligations incurred in
                      the Ordinary Course of Business of the Borrower and the Subsidiaries;

          (n)         Liens on insurance policies and the proceeds thereof solely securing the financing of the premiums
                      with respect thereto;

          (o)         any zoning or similar law or right reserved to or vested in any Governmental Authority to control
                      or regulate the use of any real property that does not materially interfere with the ordinary conduct
                      of the business of (i) the Borrower, individually, or (ii) the Borrower and its Subsidiaries, taken as
                      a whole;

          (p)         Liens in favor of customs and revenue authorities arising as a matter of law to secure payment of
                      customs duties in connection with the importation of goods;

          (q)         Liens in favor of collecting banks arising under Section 4-210 of the Uniform Commercial Code;

          (r)         Liens relating to non-assignment provisions under service contracts entered into in the ordinary
                      course of business; and

          (s)         other Liens securing liabilities in an aggregate amount not to exceed $500,000 at any time
                      outstanding.

          “Permitted Prior Liens” means valid, enforceable, and non-avoidable Liens on the Collateral that are in
existence on the Petition Date and (A) are either perfected as of the Petition Date or perfected on or after the Petition
Date solely to the extent permitted by section 546(b) of the Bankruptcy Code, (B) are not subject to avoidance,
disallowance, or subordination pursuant to the Bankruptcy Code or applicable non-bankruptcy law, and (C) are
senior in priority to the Agent’s Liens under applicable law and after giving effect to any lien release, subordination
or inter-creditor agreements.

         “Permitted Protest” means the right of any Loan Party to protest any Lien (other than any Lien that secures
the Obligations), taxes (other than payroll taxes or taxes that are the subject of a United States federal tax lien), or
rental payment, provided that (a) a reserve with respect to such obligation is established on such Loan Party’s books
and records in such amount as is required under GAAP and (b) any such protest is instituted promptly and
prosecuted diligently by such Loan Party in good faith.

         “Permitted Transfers” means (a) dispositions of inventory or obsolete or worn out property in the Ordinary
Course of Business; (b) dispositions of property to the Borrower or any Loan Party; (c) dispositions of accounts
receivable in connection with the collection or compromise thereof; (d) licenses and sublicenses of intellectual
property entered into in the Ordinary Course of Business; (e) terminations of leases, subleases, licenses or
sublicenses in the Ordinary Course of Business; (f) dispositions of cash equivalents for fair market value; (g) the
lapse, abandonment or cancellation of immaterial intellectual property which is no longer used or useful in any
material respect in the business of the Loan Parties; (h) dispositions of property so long as such sales are in
accordance with the Approved Budget; and (i) other dispositions, the proceeds of which, when aggregated with the
proceeds of all other dispositions made pursuant to this clause (i), do not exceed $500,000.

          “Permitted Variance” means, collectively, the Cash Operating Variance and the Cash Receipt Variance.


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          “Person” means natural persons, corporations, limited liability companies, limited partnerships, general
partnerships, limited liability partnerships, joint ventures, trusts, land trusts, business trusts, or other organizations,
irrespective of whether they are legal entities, and governments and agencies and political subdivisions thereof.

          “Petition Date” has the meaning set forth in the recitals hereto.

          “Pre-Trigger Carve Out Cap” has the meaning set forth in the DIP Orders.

          “Professional Fee Reserves” has the meaning set forth in the DIP Orders.

        “Record” means information that is inscribed on a tangible medium or that is stored in an electronic or
other medium and is retrievable in perceivable form.

          “Remedial Action” means all actions taken to (a) clean up, remove, remediate, contain, treat, monitor,
assess, evaluate, or in any way address Hazardous Materials in the indoor or outdoor environment, (b) prevent or
minimize a release or threatened release of Hazardous Materials so they do not migrate or endanger or threaten to
endanger public health or welfare or the indoor or outdoor environment, (c) restore or reclaim natural resources or
the environment, (d) perform any pre-remedial studies, investigations, or post-remedial operation and maintenance
activities, or (e) conduct any other actions with respect to Hazardous Materials required by Environmental Laws.

        “Required Lenders” means at any time Lenders then holding more than fifty percent (50%) of the aggregate
unpaid principal amount of the Advances then outstanding.

         “Required Lien Priority” means, with respect to any Lien purported to be created in any Collateral pursuant
to this Agreement, that such Lien is the highest priority Lien to which such Collateral is subject, other than
Permitted Liens.

          “Sale” means the sale of all or substantially all of the assets of Borrower or any Subsidiary thereof to any
party, including the Agent, any Lender or any of their respective Affiliates, pursuant to an Acceptable 363 Sale or
pursuant to an Acceptable Plan.

          “Schedules” means those certain schedules annexed hereto and made a part hereof.

          “Second Advance Amount” means Four Million Dollars ($4,000,000).

          “Subsidiary” means, with respect to any Person, any corporation, partnership, limited liability company,
association or other business entity of which more than fifty percent (50%) of the total voting power of shares of
stock (or equivalent ownership or controlling interest) entitled (without regard to the occurrence of any contingency)
to vote in the election of directors, managers, governors or trustees thereof is at the time owned or controlled,
directly or indirectly, by that Person or one or more of the other Subsidiaries of that Person or a combination thereof.

          “Superpriority Claim” has the meaning set forth in Section 9.1(a)(i).

       “Swap Obligation” means, with respect to any Guarantor, any obligation to pay or perform under any
agreement, contract or transaction that constitutes a “swap” within the meaning of section 1a(47) of the Commodity
Exchange Act.

          “Testing Date” means April 22, 2024 and the first Business Day of every other week thereafter.

        “Testing Period” means the period beginning as of the first day of the first full week following the Petition
Date and ending on the last Business Day of the week prior to the week of such Testing Date.

         “UCC” means the Uniform Commercial Code as in effect in the State of New York; provided that, if
perfection or the effect of perfection or non-perfection or the priority of any security interest in any Collateral is
governed by the Uniform Commercial Code as in effect in a jurisdiction other than the State of New York, “UCC”

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means the Uniform Commercial Code as in effect from time to time in such other jurisdiction for purposes of the
provisions hereof relating to such perfection, effect of perfection or non-perfection or priority.

          “United States” means the United States of America.

          “United States Trustee” means the United States Trustee applicable to the Chapter 11 Cases.

          “Variance Report” has the meaning specified in Section 5.2(b).

          “Waiting Period” has the meaning set forth in the DIP Orders.

         1.2.      Accounting Terms. All accounting terms not specifically defined herein shall be construed in
accordance with GAAP; provided, that if Borrower notifies the Agent that Borrower requests an amendment to any
provision hereof to eliminate the effect of any change occurring after the Closing Date in GAAP or in the
application thereof on the operation of such provision (or if the Agent notifies Borrower that the Agent requests an
amendment to any provision hereof for such purpose), regardless of whether any such notice is given before or after
such change in GAAP or in the application thereof, then the Agent and Borrower agree that they will negotiate in
good faith amendments to the provisions of this Agreement that are directly affected by such change in GAAP with
the intent of having the respective positions of the Agent and the Borrower after such change in GAAP conform as
nearly as possible to their respective positions as of the date of this Agreement and, until any such amendments have
been agreed upon, the provisions in this Agreement shall be interpreted on the basis of GAAP as in effect and
applied immediately before such change shall have become effective. When used herein, the term “financial
statements” shall include the notes and schedules thereto. Whenever the term “Borrower” is used in respect of a
financial covenant or a related definition, it shall be understood to mean Loan Parties on a consolidated basis, unless
the context clearly requires otherwise.

         1.3.      UCC. Any terms used in this Agreement that are defined in the UCC shall be construed and
defined as set forth in the UCC unless otherwise defined herein; provided, that to the extent that the UCC is used to
define any term herein and such term is defined differently in different Articles of the UCC, the definition of such
term contained in Article 9 of the UCC shall govern.

          1.4.      Construction. Unless the context of this Agreement or any other Loan Document clearly requires
otherwise, references to the plural include the singular, references to the singular include the plural, the terms
“includes” and “including” are not limiting, and the term “or” has, except where otherwise indicated, the inclusive
meaning represented by the phrase “and/or.” The words “hereof,” “herein,” “hereby,” “hereunder,” and similar
terms in this Agreement or any other Loan Document refer to this Agreement or such other Loan Document, as the
case may be, as a whole and not to any particular provision of this Agreement or such other Loan Document, as the
case may be. Section, subsection, clause, schedule, and exhibit references herein are to this Agreement unless
otherwise specified. Any reference in this Agreement or in any other Loan Document to any agreement, instrument,
or document shall include all alterations, amendments, changes, extensions, modifications, renewals, replacements,
substitutions, joinders, and supplements, thereto and thereof, as applicable (subject to any restrictions on such
alterations, amendments, changes, extensions, modifications, renewals, replacements, substitutions, joinders, and
supplements set forth herein). The words “asset” and “property” shall be construed to have the same meaning and
effect and to refer to any and all tangible and intangible assets and properties, including cash, securities, accounts,
and contract rights. Any reference herein or in any other Loan Document to the satisfaction, repayment, or payment
in full of the Obligations shall mean the repayment in full in cash of all Obligations other than unasserted contingent
indemnification Obligations (with all such Obligations consisting of monetary or payment Obligations having been
paid in full in cash). Any reference herein to any Person shall be construed to include such Person’s successors and
assigns. Any requirement of a writing contained herein or in any other Loan Document shall be satisfied by the
transmission of a Record. Any reference herein to the Agent shall mean the Agent on behalf of the Lenders and not
in the Agent’s individual capacity. Any reference to a time of day or day of the week shall be a reference to New
York time or a day of the week in New York, respectively.

        1.5.    Schedules and Exhibits. All of the schedules and exhibits attached to this Agreement shall be
deemed incorporated herein by reference.

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         1.6.     Payment and Performance. Whenever the payment of any Obligation or the performance of any
covenant, duty or other obligation hereunder or under any other Loan Document is stated to be due on a day that is
not a Business Day, the date of such payment or performance shall extend to the next succeeding Business Day and
such extension of time shall be included in the computation of the payment of interest hereunder.

2.        LOAN AND TERMS OF PAYMENT.

          2.1.        Commitment to Lend.

          (a)      Lenders severally and not jointly agree, subject to the satisfaction or waiver of the conditions
precedent in Section 3, to make advances to Borrower (each, an “Advance” and, collectively, the “Advances”);
provided that in no event shall the Advances made by a Lender exceed such Lender’s Commitment set forth on
Schedule 2.1 hereto. The first Advance shall be made upon entry of the Interim Order (the “Initial Advance”) and
shall be in an aggregate principal amount equal to the Initial Advance Amount. Upon or after entry of the Final
Order, Lenders further severally and not jointly agree, subject to the satisfaction or waiver of the conditions
precedent in Section 3.2, to make a second Advance to Borrower, as Borrower may request, in an aggregate
principal amount equal to the Second Advance Amount. After Borrower has received the Initial Advance Amount
and the Second Advance Amount, if Borrower determines in its reasonable discretion based on the then-current
projected cash flow forecast of the Loan Parties (including, without limitation, taking into account any expected
sales of inventory) that Borrower has a need for additional funding, Borrower may request, and Lenders severally
and not jointly agree, subject to the satisfaction or waiver of the conditions precedent in Section 3.2, to make, a final
Advance to Borrower in an aggregate principal amount equal to the Final Advance Amount. Any Advance, or
portion thereof, that is repaid or prepaid (whether as an optional prepayment or a mandatory prepayment) cannot be
reborrowed.

         (b)     The Advances shall be secured by the Collateral as set forth in this Agreement, the DIP Orders,
and the other Loan Documents.

          (c)     Each Loan Party agrees that it is jointly and severally liable for the prompt payment and
performance of all Obligations under the Loan Documents. Borrower promises to pay the Obligations in Dollars in
full on the Maturity Date.

         2.2.      Borrowing Procedures. Each Advance under Section 2.1(a) shall be made by a written request
substantially in the form of the Request for Advance attached hereto as Exhibit C executed by an Authorized Person
of the Borrower and delivered to the Agent no later than one (1) Business Day prior to the requested funding date (or
such shorter period as the Agent may permit in its sole discretion); provided that the aggregate amount of all such
Advances shall not exceed the aggregate Commitments of all Lenders. Upon satisfaction or waiver of the applicable
conditions precedent specified herein, the Agent shall make the proceeds of the relevant Advance available to the
Borrower on the requested funding date by causing the principal amount of the relevant Advance to be credited to
the Designated Account.

          2.3.        Payments; Reductions of the Commitment; Prepayments.

         (a)       Payments by Borrower. Except as otherwise expressly provided herein, all payments by
Borrower shall be made to the Payment Account for the account of the Lenders and shall be made in immediately
available funds, no later than 4:00 p.m. on the date specified herein. Any payment received by the Agent later than
4:00 p.m. shall be deemed to have been received on the following Business Day and any applicable interest or fee
shall continue to accrue until such following Business Day.

        (b)       Application of Payments and Proceeds. If no Event of Default has occurred and is continuing,
all payments remitted to the Agent and all proceeds of Collateral received by the Agent shall be applied as directed
by the Borrower. Upon the occurrence and during the continuance of an Event of Default, all payments remitted to
the Agent and all proceeds of Collateral received by the Agent shall be applied as follows (unless otherwise directed
by the Agent):


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                   (i)     first, to pay any Lender Expenses (including reasonable cost or expense reimbursements,
          such as reasonable attorneys’ fees) then owed to the Agent and Lenders or Lender Related Persons in
          accordance with the DIP Orders, or indemnities then due to the Agent and the Lenders under the Loan
          Documents, until paid in full;

                (ii)       second, to pay any Fees then due to the Agent and the Lenders under the Loan
          Documents until paid in full;

                      (iii)   third, to pay interest due in respect of the Advances until paid in full;

                      (iv)    fourth, to pay the principal of the Advances until paid in full;

                      (v)     fifth, to pay any other Obligations until paid in full; and

                   (vi)       sixth, to Borrower (to be wired to the Designated Account) or as otherwise required by
          applicable law.

          In the event of a direct conflict between the priority provisions of this Section 2.3(b) and any other
          provision contained in any other Loan Document, it is the intention of the parties hereto that such
          provisions be read together and construed, to the fullest extent possible, to be in concert with each other. In
          the event of any actual, irreconcilable conflict that cannot be resolved as aforesaid, the terms and provisions
          of this Section 2.3(b) shall control and govern. Notwithstanding the foregoing, to the extent there is a
          conflict between the DIP Orders and any other Loan Document, the DIP Orders shall control and govern.

          (c)      Optional Prepayments. Upon one (1) Business Day’s prior notice to Agent, Borrower may
prepay any Advance, in whole or in part, at any time, provided that Borrower shall also pay all accrued and unpaid
interest on such principal amount.

          (d)         Mandatory Prepayments.

                    (i)      Dispositions. Within five (5) Business Days of the date of receipt by any Loan Party or
          any Subsidiary of a Loan Party of the Net Cash Proceeds of any disposition (whether through a voluntary
          or involuntary sale, the loss, destruction or damage thereof or any actual condemnation, confiscation,
          requisition, seizure or taking thereof or otherwise) of Collateral (other than Permitted Transfers), the
          Borrower shall prepay such portion of the outstanding amount of the Obligations in accordance with
          Section 2.3(b) in an amount equal to 100% of the Net Cash Proceeds (including insurance proceeds,
          condemnation awards, and payments in lieu thereof) received in connection with such sales or dispositions.
          Nothing contained in this Section 2.3(d)(i) shall permit any Loan Party to sell any Collateral other than in
          accordance with Section 6.4. In no event shall any amount paid to the Agent under this Section 2.3(d)(i)
          exceed the outstanding amount of the Obligations.

                   (ii)     Indebtedness. Within five (5) Business Days of the date of incurrence by any Loan Party
          or any Subsidiary of a Loan Party of any Indebtedness (other than Permitted Indebtedness), the Borrower
          shall prepay the outstanding principal amount of the Obligations in accordance with Section 2.3(b) in an
          amount equal to 100% of the Net Cash Proceeds received by such Person in connection with the incurrence
          of such Indebtedness plus the accrued interest. The provisions of this Section 2.3(d)(ii) shall not be deemed
          to be implied consent to any such incurrence otherwise prohibited by the terms and conditions of this
          Agreement.

          2.4.        Interest Rates and Rates, Payments and Calculations.

        (a)       Interest Rate. Except as provided in Section 2.4(b), the Advances shall bear interest on the Daily
Balance thereof at a rate equal to fifteen percent (15.00%) per annum.



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          (b)       Default Rate. Upon the occurrence and during the continuation of an Event of Default, the
principal balance of the Facility shall bear interest on the Daily Balance thereof at a per annum rate equal to the
interest rate set forth in Section 2.4(a) plus two percent (2.00%) upon written notice from the Agent of its election to
impose interest at the default rate. Any such notice may impose interest at the default rate retroactively to the date of
the occurrence of the related Event of Default.

          (c)      Payment. Except to the extent provided to the contrary herein, all interest payable hereunder shall
be due and payable, in arrears, on the first (1st) day of each month (each, an “Interest Payment Date”) at any time
that the Advances are outstanding and shall be paid in kind and capitalized and added to the principal amount of the
Facility on each Interest Payment Date. Borrower agrees that the Agent and each Lender have all rights of setoff and
bankers’ liens provided by applicable law on account of any accounts maintained at Agent or such Lender, and in
addition thereto, the Borrower agrees that at any time any Event of Default exists, upon prior written notice to the
Borrower, the Agent and each Lender may apply all balances, credits, deposits, accounts or moneys of the Borrower
then or thereafter with the Agent or such Lender to the payment of any Obligations of the Borrower hereunder,
whether or not then due. Lender Expenses payable hereunder shall be paid within thirty (30) days after written
demand by the Agent. To the extent not previously paid, the outstanding unpaid principal balance of the Advances,
together with all accrued and unpaid interest thereon, shall be due and payable in full in cash on the Maturity Date.

          (d)      Computation. All interest and fees chargeable under the Loan Documents shall be computed on
the basis of a 365 or 366 day year, as applicable, in each case, for the actual number of days elapsed in the period
during which the interest or fees accrue.

          (e)       Intent to Limit Charges to Maximum Lawful Rate. In no event shall the interest rate or rates
payable under this Agreement, plus any other amounts paid in connection herewith, exceed the highest rate
permissible under any law that a court of competent jurisdiction shall, in a final determination, deem applicable. The
Loan Parties, the Agent and the Lenders, in executing and delivering this Agreement, intend legally to agree upon
the rate or rates of interest and manner of payment stated within it; provided, that, anything contained herein to the
contrary notwithstanding, if said rate or rates of interest or manner of payment exceeds the maximum allowable
under applicable law, then, ipso facto, as of the date of this Agreement, Loan Parties are and shall be liable only for
the payment of such maximum as allowed by law, and payment received from Loan Parties in excess of such legal
maximum, whenever received, shall be applied to reduce the principal balance of the Obligations to the extent of
such excess.

         2.5.     Crediting Payments; Clearance Charge. The receipt of any payment item by the Agent shall not
be considered a payment on account unless such payment item is a wire transfer of immediately available federal
funds made to the Payment Account or unless and until such payment item is honored when presented for payment.
Should any payment item not be honored when presented for payment, then Loan Parties shall be deemed not to
have made such payment and interest shall be calculated accordingly. Anything to the contrary contained herein
notwithstanding, any payment item shall be deemed received by Lender only if it is received into the Payment
Account on a Business Day on or before 4:00 p.m. If any payment item is received into the Payment Account on a
non-Business Day or after 4:00 p.m. on a Business Day, it shall be deemed to have been received by Lender as of
the opening of business on the immediately following Business Day.

         2.6.    Designated Account. Borrower agrees to maintain the Designated Account with the Designated
Account Bank and to receive the proceeds of the Advances requested by Borrower and made by Lenders hereunder
in such Designated Account (or such other Deposit Account as the Agent may agree).

         2.7.     Statements of Obligations. The Agent shall maintain true, correct and complete electronic or
written records evidencing the Indebtedness and other Obligations owed by the Borrower to the Agent and the
Lenders, in which the Agent will record in the Loan Account (i) the amount of the Advances made under this
Agreement, (ii) the amount of any principal and/or interest due and payable and/or to become due and payable from
the Borrower to the Agent and Lenders under this Agreement and (iii) all amounts received by the Agent under this
Agreement from any Loan Party.

        2.8.     Fees. On the Closing Date, Borrower shall pay the applicable Lender Expenses, including
reasonable and documented attorney’s fees, to the Lenders from the proceeds of the Facility. The Fees payable to the
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Agent and the Lenders hereunder or under any of the other Loan Documents shall not be subject to proration and
shall be non-refundable and non-avoidable obligations of the Borrower and shall be paid by the Borrower in full in
cash, or deducted from the applicable Advance, as the case may be.

3.        CONDITIONS; TERM OF AGREEMENT.

          3.1.    Conditions Precedent to the Initial Advance. Lenders shall not be required to make the Initial
Advance unless and until all of the conditions specified below in this Section 3.1 and Section 3.2 shall have been
satisfied or waived by the Agent in its sole discretion.

          (a)         The Agent shall have received a copy of the initial Approved Budget.

          (b)      The Bankruptcy Court shall have entered the Interim Order in form and substance satisfactory to
the Agent in its reasonable discretion. The Borrower and the Agent be entitled to rely in good faith upon the Interim
Order and shall be permitted and required to perform their respective obligations in compliance with this Agreement
notwithstanding any such objections thereto, unless the relevant order has been stayed by a court of competent
jurisdiction.

         (c)      The Agent shall have received copies of UCC, tax, and judgment lien searches and title reports, in
each case satisfactory to the Agent in its sole discretion.

         (d)      All Fees required to be paid as of the Closing Date under this Agreement shall have been paid or
will be paid from the Initial Advance.

         3.2.     Additional Conditions Precedent to each Advance. No Lender shall be required to make any
Advance unless and until all of the additional conditions specified below (in addition to the conditions set forth
above in Section 3.1) shall have been satisfied or waived by the Agent in its sole discretion.

         (a)      The representations and warranties of Loan Parties contained in this Agreement or in the other
Loan Documents shall be true and correct in all material respects (except that such materiality qualifier shall not be
applicable to any representations and warranties that already are qualified or modified by materiality in the text
thereof) on and as of the date of such extension of credit, as though made on and as of such date (except to the extent
that such representations and warranties relate solely to an earlier date).

         (b)      No Default or Event of Default shall have occurred and be continuing on the date of such
extension of credit, nor shall either result from the making thereof.

         3.3.     Maturity. This Agreement shall continue in full force and effect until the payment in full of the
Obligations. All Obligations including, without limitation, the outstanding unpaid principal balance and all accrued
and unpaid interest and all Fees on the Advances shall be due and payable on the Maturity Date.

         3.4.      Effect of Maturity. On the Maturity Date, the Commitment of the Lenders to provide any
additional credit hereunder shall automatically be terminated and all Obligations immediately shall become due and
payable without notice or demand. No termination of the obligations of Lenders (other than payment in full of the
Obligations and termination of the Commitment) shall relieve or discharge any Loan Party of its duties, obligations,
or covenants hereunder or under any other Loan Document and the Agent’s Liens in the Collateral shall continue to
secure the Obligations and shall remain in effect until all Obligations have been paid in full and the Commitment has
been terminated. When all of the Obligations have been paid in full in immediately available funds and Lenders
have no further obligation hereunder to make further Advances, the Agent will, at the Borrower’s expense, execute
and deliver any termination statements, lien releases, discharges of security interests, and other similar discharge or
release documents (and, if applicable, in recordable form) as are reasonably necessary to release, as of record, the
Agent’s Liens and all notices of security interests and Liens previously filed by the Agent with respect to the
Obligations.



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4.        REPRESENTATIONS AND WARRANTIES.

         In order to induce the Agent and the Lenders to enter into this Agreement, each Loan Party makes the
following representations and warranties to the Agent and the Lenders. The Loan Parties further represent that such
representations and warranties shall be true, correct, and complete, in all respects, as of the Closing Date and such
representations and warranties shall survive the execution and delivery of this Agreement until all Obligations have
been paid in full:

          4.1.     Due Organization and Qualification. Each Loan Party (i) is duly formed and existing and in
good standing under the laws of the jurisdiction of its formation, (ii) where the ownership of Collateral requires such
qualification, is qualified to do business in any state where the failure to be so qualified would reasonably be
expected to result in a Material Adverse Change, and (iii) subject to the Bankruptcy Court’s entry of the Interim
Order and the Final Order, as applicable, and any limitation under the Bankruptcy Code or other debtor relief law,
has all requisite power and authority to own and operate its properties, to carry on its business as now conducted and
as proposed to be conducted, to enter into the Loan Documents to which it is a party and to carry out the transactions
contemplated thereby. Schedule 4.1 is an organizational chart showing, as of the Closing Date, the complete and
accurate direct ownership structure of the Loan Parties.

          4.2.     Due Authorization. The execution, delivery, and performance by each Loan Party of the Loan
Documents to which it is a party have been duly authorized by all necessary corporate or limited liability company
action on the part of such Loan Party and, with respect to each Loan Party, is only subject to the Bankruptcy Court’s
entry of the Interim Order or Final Order, as applicable.

         4.3.       Binding Obligations. Each Loan Document has been duly executed and delivered by each Loan
Party that is a party thereto and, subject to the entry of the Interim Order or Final Order, as applicable, is the legally
valid and binding obligation of such Loan Party, enforceable against such Loan Party in accordance with its
respective terms, except as enforcement may be limited by equitable principles or by bankruptcy, insolvency,
reorganization, moratorium, or similar laws relating to or limiting creditors’ rights generally (regardless of whether
such enforceability is considered in a proceeding at law or in equity).

           4.4.      Title to Properties. Except for Permitted Liens, each Loan Party has (i) good, sufficient and legal
title to (in the case of real property), and (ii) good and marketable title to (in the case of personal property), all of
such Loan Party’s right, interest and title in the Collateral.

         4.5.    Jurisdiction of Formation; Location of Chief Executive Office; Organizational;
Identification Number; Commercial Tort Claims.

           (a)      As of the Closing Date, Schedule 4.5 sets forth, for each Loan Party, its legal name (within the
meaning of Section 9-503 of the UCC), jurisdiction of incorporation or formation, type of entity (for profit or non-
profit), tax identification number and organizational identification number (if any).

         (b)      As of the Closing Date, the chief executive office of each Loan Party is located at the address
indicated on Schedule 4.5. Except with respect to potential claims with respect to accounts receivable collections,
the Loan Parties have no actual knowledge of the existence of any commercial tort claims except as described on
such Schedule 4.5 (as such Schedule may be updated from time to time by notice from such Loan Party to Agent).

          4.6.     Litigation. Other than the Chapter 11 Cases, there are no unstayed actions, suits, proceedings,
claims or disputes pending or, to the actual knowledge of Loan Parties, threatened in writing, at law, in equity, in
arbitration or before any Governmental Authority, by or against any Loan Party or against any of its properties or
revenues that (a) purport to affect or pertain to this Agreement or any other Loan Document, or any of the
transactions contemplated hereby (other than objections or pleadings that may have been filed in the Chapter 11
Cases with respect to the Loan Parties seeking authorization to enter into the Loan Documents and incur the
Obligations under this Agreement), or (b) except as set forth on Schedule 4.6 as of the Closing Date, either
individually or in the aggregate, if determined adversely, would reasonably be expected to have a Material Adverse
Change.

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         4.7.     Fraudulent Transfer. No transfer of property is being made by a Loan Party and no obligation is
being incurred by a Loan Party in connection with the transactions contemplated by this Agreement or the Loan
Documents with the intent to hinder, delay or defraud either present or future creditors of any Loan Party.

         4.8.     Disclosure. None of the information and data heretofore or contemporaneously furnished in
writing by or on behalf of any Loan Party (other than financial estimates, forecasts and other forward-looking
information, pro forma financial information and information of a general economic or industry-specific nature) to
the Agent or any Lender in connection with the transactions contemplated hereby and the negotiation of this
Agreement or delivered hereunder or any other Loan Document (as modified or supplemented by other information
so furnished) when taken as a whole contains any material misstatement of fact or omits to state any material fact
necessary to make such information and data (taken as a whole), in the light of the circumstances under which it was
delivered, not materially misleading. With respect to any financial estimates, forecasts and other forward-looking
information or any pro forma financial information, the Borrower represents that such information was prepared in
good faith based upon assumptions believed to be reasonable at the time of preparation; it being understood that
such projections may vary from actual results and that such variances may be material.

         4.9.      Payment of Taxes. Except as permitted under Section 5.5, all United States federal, state and
other material tax returns and reports of each Borrower required to be filed by any of them with respect to the
Collateral have been timely filed, and all taxes due with respect to the period covered by such tax returns and all
material assessments, fees and other governmental charges upon any Collateral that are due and payable have been
paid when due and payable, other than taxes that are the subject of a Permitted Protest.

        4.10.    Approved Budget. As of the Closing Date, attached to this Agreement as Exhibit A is a true and
complete copy of the initial Approved Budget.

Except for the representations and warranties contained in this Article 4 (including the related portions of the
Schedules), no Loan Party nor any other Person has made or makes any other express or implied representation or
warranty, either written or oral, on behalf of the Loan Parties including, without limitation, any representation or
warranty as to the accuracy or completeness of any information, documents or material delivered to the Agent and
each Lender or made available to the Agent and such Lender. Each Lender hereby acknowledges and agrees that: (a)
in making its decision to enter into this Agreement and to consummate the transactions contemplated hereby, such
Lender has relied solely upon its own investigation and the express representations and warranties of the Loan
Parties set forth in this Article 4 (including the related portions of the Schedules) and (b) no Loan Party nor any
other Person has made any representation or warranty except as expressly set forth in this Article 4 (including the
related portions of the Schedules).

5.        AFFIRMATIVE COVENANTS.

        Each Loan Party covenants and agrees that, until the payment in full of the Obligations, it shall comply
with each of the following, as applicable:

          5.1.    Financial Statements, Reports, Certificates. Borrower shall deliver to the Agent (a) promptly
upon it or any Loan Party becoming aware of any Default, notice of such Default; and (b) promptly upon becoming
aware of any litigation threatened in writing against any Loan Party or filed (other than any adversary proceeding
filed in the Chapter 11 Cases), or any event (other than events of public knowledge in the Chapter 11 Cases) which
would reasonably be expected to have a Material Adverse Change, notice of such event. In addition, the Borrower
agrees to maintain a system of accounting that enables the Borrower to produce unaudited financial statements in
accordance with GAAP in all material respects.

          5.2.        Reporting; Budget; Conference Calls; Material Contracts; Sale Offers.

         (a)        Each Loan Party shall comply with the agreements, requirements, covenants and undertakings
applicable to it set forth in Exhibit B, in accordance with the terms thereof.




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          (b)      Borrower will, on April 29, 2024 and on the first Business Day of every four (4) week period
thereafter, prepare and deliver to the Agent a supplement to the initial Approved Budget (or the previously
supplemented Approved Budget) updating and/or extending the period covered by the initial Approved Budget (or
the previously supplemented Approved Budget) so that it covers at least a 13 week period from the date of such
initial Approved Budget or supplemental Approved Budget, as applicable, which supplemental Approved Budget
shall be subject to the Agent’s approval in its reasonable discretion and without further order of the Bankruptcy
Court; provided, however, that in the event the Agent, on the one hand, and the Borrower, on the other hand, cannot
agree as to a supplemented budget promptly, but in any event within two (2) days after the delivery thereof, the
Approved Budget in effect immediately prior to such requested supplement shall govern and control for purposes of
variance testing hereunder.

          (c)       Borrower will, on each Testing Date, prepare and deliver to the Agent a variance report, which
shall be certified in writing by an Authorized Person of Borrower, and shall set forth (i) the actual Cash Operating
Disbursements and Cash Receipts made by the Borrower and its Subsidiaries for the applicable Testing Period
ending on the last Business Day of the prior week, (ii) the variance, if any, of the Cash Operating Disbursements and
Cash Receipts of the Borrower and its Subsidiaries for such Testing Period against the Cash Operating
Disbursements and Cash Receipts set forth for such period in the most recent Approved Budget and (iii) a written
explanation of all such variances greater than 10% (the “Variance Report”).

          (d)     If requested by the Agent, an Authorized Person of the Borrower shall participate in a conference
call with the Agent (as long as no Event of Default has occurred and is continuing, such call shall be no more often
than once per week), following the Petition Date regarding management issues and other matters.

         (e)       Other than defaults existing as of the date hereof, Borrower shall deliver to the Agent (a) promptly
upon any Loan Party becoming aware of any material default (other than the filing of the Chapter 11 Case) under
any Material Contract to which any Loan Party is a party, notice of such defaults, and (b) promptly notify the Agent
upon any bona fide written offer by a third party to purchase all or substantially all of the assets of the Borrower, or
to purchase all or substantially all of the equity of the Borrower, in a binding bid related to a potential Sale.

         5.3.     Existence. At all times, each Loan Party shall (a) maintain and preserve in full force and effect its
existence (including being in good standing in its jurisdiction of incorporation or formation) and (b) maintain all its
rights and franchises, licenses and permits, except where the failure to maintain any such rights and franchises, or
licenses and permits would not reasonably be expected to result in a Material Adverse Change.

         5.4.     Maintenance of Properties. Each Loan Party shall maintain and preserve the Collateral that is
necessary to the proper conduct of its business in good working order and condition, ordinary wear, tear, and
casualty and condemnation excepted.

          5.5.     Taxes. Each Loan Party shall cause all assessments and taxes imposed, levied, or assessed after
the Petition Date against any Collateral to be paid in full, before delinquency or before the expiration of any
extension period, except (a) to the extent that any such assessments and taxes (i) shall be paid as part of a Sale or
pursuant to the Approved Budget or (ii) is subject to a Permitted Protest or (b) where the failure to so pay would not
reasonably be expected to have a Material Adverse Change.

          5.6.     Insurance. At the relevant Loan Party’s expense, each Loan Party shall maintain insurance with
respect to the Collateral in which such Loan Party has any right, interest or title, covering loss or damage by fire,
theft, explosion, and all other hazards and risks as ordinarily are insured against by other Persons engaged in the
same or similar businesses operating in the same and similar locations and consistent with such Loan Party’s
insurance policies in effect on the Petition Date. All such policies of insurance shall be with responsible and
reputable insurance companies and in such amounts as is carried generally in accordance with sound business
practice by companies in similar businesses similarly situated and located. All proceeds of insurance maintained by
the Loan Parties shall be payable to the Lenders in accordance with the DIP Orders. If any Loan Party fails to
maintain the insurance required by this Section 5.6, the Agent may arrange for such insurance, but at the Borrower’s
expense and without any responsibility on the Agent’s part for obtaining the insurance, the solvency of the insurance
companies, the adequacy of the coverage, or the collection of claims. Each relevant Loan Party shall give the Agent
prompt notice of any loss covered by its casualty or business interruption insurance. Upon the occurrence and during
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the continuance of an Event of Default, the Agent shall have the sole right to file claims under any property and
general liability insurance policies in respect of the Collateral, to receive, receipt and give acquittance for any
payments that may be payable thereunder, and to execute any and all endorsements, receipts, releases, assignments,
reassignments or other documents that may be necessary to effect the collection, compromise or settlement of any
claims under any such insurance policies.

          5.7.      Inspection. Each Loan Party shall permit the Agent and each of its duly authorized representatives
or agent to visit any of its properties and inspect any of its Collateral or books and records, to conduct appraisals and
valuations, to examine and make copies of its books and records, and to discuss its affairs, finances, and accounts
with, and to be advised as to the same by, its officers and employees at such reasonable times and intervals as the
Agent may reasonably require and, so long as no Default or Event of Default exists, with reasonable prior notice to
the applicable Loan Party; provided, that no Loan Party will be required to deliver or disclose any document,
information or other matter that (x) constitutes non-financial trade secrets or non-financial proprietary information,
(y) in respect of which disclosure to the Agent or any Lender (or its attorneys, accountants and representatives) is
prohibited by applicable requirement of law or any binding agreement with any third party or (z) is subject to
attorney-client or similar privilege or constitutes attorney work product. Such inspections shall not occur more than
once every six (6) months; provided that no such limitation shall apply in the event that an Event of Default exists.

          5.8.        Environmental. Each Loan Party shall:

        (a)      Comply with all applicable Environmental Laws, except where the failure to so comply would not
reasonably be expected result in a Material Adverse Change.

         (b)      Promptly notify the Agent of any release of which such Loan Party has knowledge of a Hazardous
Material in any reportable quantity from or onto property owned or operated by any Loan Party that would
reasonably be expected to result in a Material Adverse Change.

        (c)       Promptly after its receipt thereof, provide the Agent with written notice of (i) commencement of
any Environmental Action against a Loan Party, and (ii) written notice of a material violation, citation, or other
administrative order from a Governmental Authority against a Loan Party.

         5.9.      Compliance with Laws. Each Loan Party shall comply with the requirements of all applicable
laws, rules, regulations, and orders of any Governmental Authority, other than laws, rules, regulations, and orders
the non-compliance with which, individually or in the aggregate, would not reasonably be expected to result in a
Material Adverse Change.

         5.10.     Formation of Subsidiaries. No Loan Party may form any direct or indirect Subsidiary or acquire
any direct or indirect Subsidiary after the Closing Date without the consent of the Agent, in its sole but reasonable
discretion, unless such Subsidiary is joined as a Loan Party under this Agreement by executing a Guarantor Joinder
Agreement in substantially the form attached hereto as Exhibit D within thirty (30) days after formation or
acquisition.

         5.11.     Approved Budget Variance. As of any Testing Date, for the Testing Period ending on such
Testing Date, the Borrower shall not permit (a) the aggregate actual Cash Receipts of the Borrower and its
Subsidiaries for such Testing Period to be less than 85% of the cumulative Cash Receipts from the Approved Budget
for such Testing Period or (b) the aggregate actual Cash Operating Disbursements of the Borrower and its
Subsidiaries for such Testing Period to be greater than 115% of the cumulative Cash Operating Disbursements from
the Approved Budget for such Testing Period.

         5.12.   Professional Fee Reserve. The Loan Parties shall deposit and hold in a segregated account the
Professional Fee Reserve to pay such then unpaid Allowed Professional Fees prior to any and all other claims. The
Professional Fee Reserve shall be funded by Loan Parties on a weekly basis, and shall contain an amount equal to
the amount of Pre-Trigger Carve Out Cap reflected in the Approved Budget from the Petition Date through the
weekly date of funding.


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6.        NEGATIVE COVENANTS.

          Each Loan Party covenants and agrees that, until the payment in full of the Obligations, such Loan Party
will not do any of the following without the prior consent of the Agent in its reasonable discretion:

          6.1.     Indebtedness. Create, incur, assume, suffer to exist, guarantee, or otherwise become or remain,
directly or indirectly, liable with respect to any Indebtedness with respect to the Collateral, except for the following
(“Permitted Indebtedness”):

        (a)      Indebtedness evidenced by this Agreement and the other Loan Documents (including, for the
avoidance of doubt, the Carve Out);

          (b)         Indebtedness outstanding as of the Petition Date and listed on Schedule 6.1;

       (c)       intercompany Indebtedness owing from a Subsidiary of the Borrower that is a Loan Party to the
Borrower or to any other Subsidiary of the Borrower that is a Loan Party;

          (d)      obligations (contingent or otherwise) of the Borrower or any Subsidiary existing or arising under
any swap contract, provided that (i) such obligations are (or were) entered into by such Person in the Ordinary
Course of Business for the purpose of directly mitigating risks associated with liabilities, commitments, investments,
assets, or property held or reasonably anticipated by such Person, or changes in the value of securities issued by such
Person, and not for purposes of speculation or taking a “market view”, and (ii) such swap contract is not for
speculative purposes;

          (e)      obligations under any cash management agreement and other Indebtedness in respect of netting
services, automatic clearinghouse arrangements, overdraft protections, credit cards, credit card processing services,
debit cards, stored value cards, purchase cards (including so-called “procurement cards” or “P-cards”) and other
cash management and similar arrangements incurred in the Ordinary Course of Business;

        (f)       Indebtedness consisting of (i) the financing of insurance premiums or (ii) take-or-pay obligations
contained in supply arrangements, in each case, incurred in the Ordinary Course of Business;

          (g)        Indebtedness incurred by Borrower or any Subsidiary in respect of letters of credit, bank
guarantees, bankers’ acceptances, warehouse receipts or similar instruments issued or created in the Ordinary
Course of Business, including in respect of workers compensation claims, health, disability or other employee
benefits or property, casualty or liability insurance or self-insurance or other Indebtedness with respect to
reimbursement-type obligations regarding workers compensation claims, provided that upon the drawing of such
letter of credit, the reimbursement of obligations in respect of bankers’ acceptances and the incurrence of such
Indebtedness, and such obligations are reimbursed promptly (but no more than five (5) Business Days) following
such drawing, reimbursement obligation or incurrence;

          (h)         Indebtedness incurred in accordance with the DIP Orders;

          (i)         guarantees with respect to Indebtedness permitted under this Section 6.1;

         (j)      Indebtedness that may be deemed to exist pursuant to any performance, surety, regulatory, bid,
appeal or similar bonds or statutory obligations incurred in the Ordinary Course of Business;

         (k)      Indebtedness consisting of endorsements for collection, deposit or negotiation and warranties of
products or services and obligations owing to suppliers, in each case incurred in the Ordinary Course of Business;

         (l)     unfunded pension fund and other employee benefit plan obligations and liabilities incurred by the
Borrower and its Subsidiaries in the Ordinary Course of Business to the extent that the unfunded amounts are
permitted to remain unfunded under applicable law;


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       (m)       Indebtedness in respect of any incentive, supplier finance or similar programs or similar
agreements entered into with vendors in the Ordinary Course of Business;

         (n)       Indebtedness consisting of customer deposits and advance payments received by the Borrower or
its Subsidiaries in the ordinary course of business from their customers for goods purchased by such customers from
the Borrower or such Subsidiaries in the Ordinary Course of Business;

          (o)         other Indebtedness in an outstanding principal amount not to exceed $500,000 at any time; and

         (p)      all premiums (if any), interest (including post-petition interest), fees, expenses, charges and
additional or contingent interest on obligations described in clauses (a) through (o) above below.

          6.2.     Liens. Create, incur, assume, or suffer to exist on or after the date of this Agreement, directly or
indirectly, any Lien on or with respect to any of the Collateral, of any kind, whether now owned or hereafter
acquired, or any income or profits therefrom, except for Permitted Liens.

         6.3.     Restrictions on Fundamental Changes. Except in connection with a plan of reorganization or a
Sale or Sales approved by the Bankruptcy Court:

          (a)       no Loan Party shall enter into any merger, consolidation, reorganization, or recapitalization, or
reclassify its equity interests, and

          (b)         Borrower shall not liquidate, wind up, or dissolve itself (or suffer any liquidation or dissolution);

provided (i) any Loan Party may merge or consolidate with any other Loan Party, (ii) any foreign Subsidiary may be
merged or consolidated with or into any other foreign Subsidiary, (iii) any Subsidiary may dissolve, liquidate or
wind up its affairs at any time if such Subsidiary is inactive or holds assets of a de minimis value, (iv) any Loan
Party and any Subsidiary may make any investments permitted hereunder and (v) any Loan Party and any
Subsidiary may make any disposition permitted under Section 6.4.

          6.4.      Disposal of Assets. Except for a Sale or Sales approved by the Bankruptcy Court, convey, sell,
lease, license, assign, transfer, or otherwise dispose of any Collateral held by any Loan Party, other than (a)
Permitted Transfers, (b) any loss of, damage to or destruction of, any property of any Loan Party or any Subsidiary,
and (c) any condemnation or other taking for public use of, any property of any Loan Party or any Subsidiary. Any
proceeds of such disposed assets and property shall be used to replace such Collateral within one hundred and eighty
(180) days after such assets and property are damaged or destroyed, or to satisfy the Obligations are required by
Section 2.3(d)(i).

          6.5.        Change Name. Change any Loan Party’s name, state of organization or organizational identity.

           6.6.     Nature of Business. Make any change in the nature of any Loan Party’s business or acquire any
properties or assets that are not reasonably related to the conduct of such business activities; provided, that the
foregoing shall not prevent any Loan Party from (i) engaging in any business that is reasonably related or ancillary
to its or their business, or (ii) complying with any requirement of the Bankruptcy Code or the DIP Orders.

         6.7.     Material Contracts; Amendments. Change or modify the material terms of any Material
Contract in connection with Collateral except in a manner that would not reasonably be expected to result in a
Material Adverse Change, or materially alter any Organizational Documents except in a manner that is not
materially adverse to the Lenders’ interests.

          6.8.        Change of Control. Cause, permit, or suffer, directly or indirectly, any Change of Control.

        6.9.     Accounting Methods. Modify or change its fiscal year or its method of accounting (other than as
may be required to conform to GAAP).


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         6.10.     Transactions with Affiliates. Directly or indirectly enter into or permit to exist any transaction
with any Affiliate of any Loan Party, except for (a) transactions that are in the Ordinary Course of such Loan Party’s
business, such as intercompany transactions with Subsidiaries and various employee incentive and retention
programs (in compliance with the Bankruptcy Code) among the Loan Parties and their Affiliates, (b) transactions
between or among the Loan Parties and (c) any transaction in accordance with an order of the Bankruptcy Court.

          6.11.     Use of Proceeds. Use the proceeds of the Advances for any purpose other than to fund payments
related to the: (a) working capital and other general corporate purposes of the Loan Parties, including the payment of
professional fees and expenses; (b) the pursuit of an Acceptable 363 Sale; and (c) bankruptcy-related expenses,
subject to the Carve Out, and in each case, consistent with, subject to, and within the categories and limitations
contained in the DIP Orders and the Approved Budget (subject to Permitted Variances).

         6.12.     Distributions or Redemptions. Pay any dividends or distributions on, or make any redemptions
of, any equity interest of any Loan Party except in a manner consistent with the Approved Budget (subject to
Permitted Variances).

          6.13.    Chapter 11 Case. Seek, consent or suffer to exist (i) any modification, stay, vacation or
amendment to the DIP Orders; (ii) in connection with the Collateral, a priority claim for any administrative expense
or unsecured claim against any Borrower (now existing or hereafter arising of any kind or nature whatsoever,
including, without limitation, any administrative expense of any kind specified in Section 503(b), 506(b) or (c) or
507(b) of the Bankruptcy Code) equal to or superior to the priority claim of the Agent in respect to the Collateral;
and (iii) any Lien on Collateral having a priority equal or superior to the Liens in favor of the Agent in respect of the
Obligations, other than as required under a purchase agreement with respect to the good faith deposit thereunder.

          6.14.       Plan. Propose and/or support any plan that is not an Acceptable Plan.

          6.15.    Acquisitions, Loans or Investments. Make any acquisition of the capital stock or debt or other
securities of another Person or of all or substantially all of the property and assets or business of another Person or
assets constituting a business unit, line of business or division of such Person or make any advance, loan or any
other capital contribution of any kind or nature (each, an “Investment”), other than:

          (a)         acquisitions of inventory in the Ordinary Course;

          (b)         Investments held by the Borrower and its Subsidiaries in the form of cash or cash equivalents;

          (c)         Investments existing as of the Closing Date;

          (d)         Investments in any Person that is a Loan Party;

          (e)      Investments consisting of extensions of credit in the nature of accounts receivable or notes
receivable arising from the grant of trade credit in the Ordinary Course of Business, and Investments received in
satisfaction or partial satisfaction thereof from financially troubled account debtors to the extent reasonably
necessary in order to prevent or limit loss;

          (f)         Investments made in accordance with the DIP Orders;

         (g)     Investments representing non-cash consideration received in connection with any disposition
permitted hereunder;

         (h)       Investments (including debt obligations, capital stock and capital stock equivalents) received in
connection with the bankruptcy or reorganization of suppliers and customers or in settlement of delinquent
obligations of, or other disputes with, customers and suppliers arising in the Ordinary Course of Business or upon
the foreclosure with respect to any secured investment or other transfer of title with respect to any secured
Investment;


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        (i)       Investments consisting of Indebtedness, Liens, fundamental changes and dispositions permitted
under Sections 6.1, 6.2, 6.3 and 6.4, respectively; and

          (j)         other Investments that do not exceed in the aggregate at any time outstanding $500,000.

         6.16.     Payments on Indebtedness. Other than pursuant to the Approved Budget (subject to Permitted
Variances), prepay, redeem, purchase, defease or otherwise satisfy prior to the scheduled maturity thereof in any
manner any unsecured Indebtedness for borrowed money, any Indebtedness that is secured by Liens that are junior
to the Liens securing the Obligations, or any Indebtedness that is subordinated in right of payment to the Obligations
expressly by its terms.

         6.17.    Case Milestones. Fail to comply with any of the milestones set forth on Exhibit E (each, a “Case
Milestone” and, collectively, the “Case Milestones”) on or before the deadline specified for such Case Milestone set
forth on Exhibit E (subject to extension by the Agent in its reasonable discretion).

7.        GUARANTY.

          7.1.    Guaranty. Each Guarantor unconditionally and irrevocably guarantees to the Agent and Lenders
the full and prompt payment when due (whether at stated maturity, by required prepayment, declaration,
acceleration, demand or otherwise) and performance of the Obligations (the “Guaranteed Obligations”).

          7.2.    Separate Obligation. Each Guarantor acknowledges and agrees that, in providing benefits to
Borrower, the Agent and the Lenders are relying upon the enforceability of this Section 7 and the Guaranteed
Obligations. The fact that the guaranty is set forth in this Agreement rather than in a separate guaranty document is
for the convenience of Borrower and Guarantors and shall in no way impair or adversely affect the rights or benefits
of the Agent or any Lender under this Section 7.

          7.3.     Limitation of Guaranty. To the extent that any court of competent jurisdiction shall impose by
final judgment under applicable laws (including Sections 544 and 548 of the Bankruptcy Code) any limitations on
the amount of any Guarantor’s liability with respect to the Guaranteed Obligations that the Agent can enforce under
this Section 7, the Agent accepts such limitation on the amount of such Guarantor’s liability hereunder only to the
extent needed to make this Section 7 fully enforceable and non-avoidable.

         7.4.     Liability of Guarantors. The liability of each Guarantor under this Section 7 shall be irrevocable,
absolute, independent and unconditional, and shall not be affected by any circumstance that might constitute a
discharge of a surety or Guarantor other than the payment and performance in full of all Guaranteed Obligations. In
furtherance of the foregoing and without limiting the generality thereof, each Guarantor agrees as follows:

        (a)      such Guarantor’s liability hereunder shall be the immediate, direct, and primary obligation of such
Guarantor and shall not be contingent upon the Agent’s exercise or enforcement of any remedy it may have against
Borrower or any other Person, or against any Collateral or any security for any Guaranteed Obligations;

          (b)         this guarantee is a guaranty of payment when due and not merely of collectability;

          (c)      such Guarantor’s payment of a portion, but not all, of the Guaranteed Obligations shall in no way
limit, affect, modify or abridge such Guarantor’s liability for any portion of the Guaranteed Obligations remaining
unsatisfied; and

         (d)      such Guarantor’s liability with respect to the Guaranteed Obligations shall remain in full force and
effect without regard to, and shall not be impaired or affected by, nor shall such Guarantor be exonerated or
discharged by, any of the following events:

                      (i)     any proceeding under the Bankruptcy Code (except to the extent set forth in Section 7.3);



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                    (ii)     any limitation, discharge, or cessation of the liability of Borrower or any other Person for
          any Guaranteed Obligations due to any applicable law, or any invalidity or unenforceability in whole or in
          part of any of the Guaranteed Obligations or the Loan Documents;

                    (iii)   any merger, acquisition, consolidation or change in structure of Borrower, any Subsidiary
          thereof or any other Guarantor or Person, or any sale, lease, transfer or other disposition of any or all of the
          assets of Borrower or any other Person;

                   (iv)    any assignment or other transfer, in whole or in part, of the Agent’s interests in and rights
          under this Agreement (including this Section 7) or the other Loan Documents;

                   (v)     any claim, defense, counterclaim or setoff, other than that of prior performance, that
          Borrower, such Guarantor, any other Guarantor or any other Person may have or assert, including any
          defense of incapacity or lack of corporate or other authority to execute any of the Loan Documents;

                (vi)      the amendment, modification, renewal, extension, cancellation or surrender of any Loan
          Document or any Guaranteed Obligations; or

                  (vii)   the Agent’s exercise or non-exercise of any power, right or remedy with respect to any
          Guaranteed Obligations.

         7.5.     Consents of Guarantors. Each Guarantor hereby unconditionally consents and agrees that,
without notice to or further assent from such Guarantor:

         (a)      the principal amount of the Guaranteed Obligations may be increased or decreased and additional
indebtedness or obligations of Borrower under the Loan Documents may be incurred and the time, manner, place or
terms of any payment under any Loan Document may be extended or changed, by one or more amendments,
modifications, renewals or extensions of any Loan Document or otherwise;

         (b)     the time for Borrower’s (or any other Person’s) performance of or compliance with any term,
covenant or agreement on its part to be performed or observed under any Loan Document may be extended, or such
performance or compliance waived, or failure in or departure from such performance or compliance consented to, all
in such manner and upon such terms as the Agent may deem proper;

         (c)      the Agent may request and accept other guaranties and may take and hold security as collateral for
the Guaranteed Obligations, and may, from time to time, in whole or in part, exchange, sell, surrender, release,
subordinate, modify, waive, rescind, compromise or extend such other guaranties or security and may permit or
consent to any such action or the result of any such action, and may apply such security and direct the order or
manner of sale thereof; and

        (d)       the Agent may exercise, or waive or otherwise refrain from exercising, any other right, remedy,
power or privilege even if the exercise thereof affects or eliminates any right of subrogation or any other right of
such Guarantor against Borrower.

          7.6.        Guarantor’s Waivers. Each Guarantor waives and agrees not to assert:

       (a)      any defense arising by reason of any lack of corporate or other authority or any other defense of
Borrower, such Guarantor or any other Person, other than a defense that the Obligations have been paid in full;

          (b)     any and all notice of the acceptance of this Guaranty, and any and all notice of the creation,
renewal, modification, extension or accrual of the Guaranteed Obligations. The Guaranteed Obligations shall
conclusively be deemed to have been created, contracted, incurred and permitted to exist in reliance upon this
Guaranty. Each Guarantor waives promptness, diligence, presentment, protest, demand for payment, notice of
default, dishonor or nonpayment and all other notices to or upon Borrower, each Guarantor or any other Person with
respect to the Guaranteed Obligations.

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         7.7.     Continuing Guaranty. This Guaranty is a continuing guaranty and agreement of subordination
and shall continue in effect and be binding upon each Guarantor until termination of the Commitment and payment
and performance in full of the Guaranteed Obligations.

         7.8.     Reinstatement. This Guaranty shall continue to be effective or shall be reinstated and revived, as
the case may be, if, for any reason, any payment of the Guaranteed Obligations by or on behalf of Borrower (or
receipt of any proceeds of Collateral) shall be rescinded, invalidated, declared to be fraudulent or preferential, set
aside, voided or otherwise required to be repaid to Borrower, its estate, trustee, receiver or any other Person
(including under the Bankruptcy Code), or must otherwise be restored by the Agent in the Chapter 11 Cases of the
Borrower.

8.        EVENTS OF DEFAULT.

        8.1.     Event of Default. Any one or more of the following events shall constitute an event of default
following giving of any applicable notice (if required) and the expiration of the applicable cure period (if any) (each,
an “Event of Default”) under this Agreement:

         (a)       Any Loan Party shall fail to pay (i) when due, any principal (including without limitation pursuant
to Section 2.3(d) hereof), and (ii) within five (5) Business Days of when due, interest, Fees or costs due to Agent and
Lenders or any other Obligations, other than payment of principal, under this Agreement or any Loan Document;

          (b)     Any Loan Party shall fail to comply with its obligations under Sections 5.1 and 5.2 (and such
failure to comply with Sections 5.1 and 5.2 shall continue unremedied for five (5) Business Days), Section 5.3(a)
(solely with respect to the Borrower), Section 5.10, Section 6 and/or Section 9.1;

          (c)       Other than as set forth in any other sub-section of this Section 8.1, any Loan Party, as applicable,
shall fail to perform, or otherwise breach, any of its respective covenants or obligations contained in this Agreement,
which failure or breach shall continue for thirty (30) days after the earlier to occur of (i) the date on which any
officer of the relevant Loan Party has knowledge of the failure or breach, or (ii) the date on which the Agent shall
have notified the relevant Loan Party of such failure;

          (d)       Any representation or warranty made by any Loan Party in this Agreement or in any agreement,
certificate, instrument or financial statement or other statement delivered to the Agent pursuant to or in connection
with this Agreement shall prove to have been incorrect in any material respect when made or deemed made, which
failure or breach shall continue for thirty (30) days after the date upon which any officer of the relevant Loan Party
has knowledge of the failure or breach or it has received a written notice of such failure or breach from the Agent;

          (e)      Except upon the Agent’s prior written request or with the Agent’s express prior written consent
(and no such consent shall be implied from any other action, inaction, or acquiescence of the Agent), any Loan Party
shall file a motion with the Bankruptcy Court or any other court with jurisdiction in the matter seeking an order, or
an order is otherwise entered, (i) amending or modifying the DIP Orders in a manner materially adverse to the
Lenders’ interests or (ii) reversing, revoking, staying, rescinding, or vacating the DIP Orders;

         (f)      Borrower shall file or obtain Bankruptcy Court approval of a disclosure statement for a plan of
reorganization that is not an Acceptable Plan or a Chapter 11 plan is confirmed that is not an Acceptable Plan;

          (g)      Except with respect to the Carve Out and any Permitted Liens, any Loan Party shall file any
motion or application, or the Bankruptcy Court allows the motion or application of any other Person, which seeks
approval for or allowance of any claim, lien, security interest ranking equal or senior in priority to the claims, liens
and security interests granted to the Agent under the DIP Orders, or with respect to the Collateral or any such equal
or prior claim, lien, or security interest shall be established in any manner, except, in any case, as expressly
permitted under the DIP Orders;

        (h)     The DIP Orders shall cease to be in full force and effect from and after the date of entry thereof by
the Bankruptcy Court;

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         (i)       The entry of an order which provides relief from the automatic stay otherwise imposed pursuant to
Section 362 of the Bankruptcy Code, which order permits any creditor, other than the Agent (other than any creditor
having a Lien on specific equipment that is senior to the Agent), to realize upon, or to exercise any right or remedy
with respect to, any material portion of the Collateral;

        (j)      Conversion of the Chapter 11 Case to a Chapter 7 case under the Bankruptcy Code, or dismissal of
the Chapter 11 Case or any subsequent Chapter 7 case either voluntarily or involuntarily and the Obligations are not
simultaneously paid in full; or

        (k)     A trustee or an examiner with special powers is appointed pursuant to Section 1104 of the
Bankruptcy Code.

          8.2.        Rights and Remedies.

          (a)      Upon the occurrence and during the continuance of an Event of Default, and notwithstanding
Section 362 of the Bankruptcy Code and without further order of the Bankruptcy Court or any other court or the
initiation of any further proceeding with the Loan Parties except as provided in this Section 8.2, in addition to any
other rights or remedies provided for hereunder or under any other Loan Document (including the DIP Orders) or by
the UCC or any other applicable law, the Agent may do any one or more of the following, in each case subject, as
set forth in the DIP Orders, to the requirement for a Default Notice and the expiration of the Waiting Period:

                   (i)     declare the Obligations, whether evidenced by this Agreement or by any of the other
          Loan Documents due and payable, and the Commitments terminated, in each case upon the expiration of
          the Waiting Period, whereupon the Obligations shall become and be immediately due and payable, without
          presentment, demand, protest, or further notice or other requirements of any kind, all of which are hereby
          expressly waived by the Loan Parties;

                   (ii)     terminate, restrict or reduce the Borrower’s ability to use Cash Collateral other than to
          pay expenses set forth in the Approved Budget that are necessary to avoid immediate and irreparable harm
          to the Debtors’ estates provided, however, that the professional fees and expenses of the Loan Parties’ and
          the Committee’s professionals shall be governed by Paragraph 19 of the DIP Orders;

                      (iii)   charge interest at the Default Rate;

                   (iv)      upon five (5) Business Days’ prior written notice (which period shall be deemed to be
          reasonable notice) to the Loan Parties in accordance with the terms hereof, the United States Trustee and
          lead counsel for any creditors’ committee, obtain and liquidate the Collateral. If notice of disposition of
          Collateral is required by law, ten (10) days prior notice by the Agent to the Loan Parties designating the
          time and place of any public sale or the time after which any private sale or other intended disposition of
          Collateral is to be made, shall be deemed to be reasonable notice thereof and shall constitute “authenticated
          notice of disposition” within the meaning of Section 9-611 of the UCC, and the Loan Parties waive any
          other notice. The Agent or any Lender may bid for and purchase the Collateral at any public sale. The
          Agent or any Lender may bid and purchase any Collateral at a private sale if the Collateral in question has a
          readily ascertainable market value;

                   (v)      require the applicable Loan Party to assemble all of the Collateral constituting personal
          property without judicial process pursuant to Section 9-609 of the UCC;

                   (vi)     upon five (5) Business Days’ prior written notice (which period shall be deemed to be
          reasonable notice) to the Loan Parties in accordance with the terms hereof, the United States Trustee and
          lead counsel for any creditors’ committee, take possession of all Collateral constituting tangible personal
          property without judicial process pursuant to Section 9-609 of the UCC; and

                  (vii)    exercise any of its other rights under the Loan Documents, any rights granted under the
          Final Order and applicable law.

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            8.3.     Application of Proceeds upon Event of Default. The Agent shall apply the cash proceeds
actually received from any foreclosure sale, other disposition of the Collateral upon an Event of Default as follows:
(i) first, to fund the Carve Out (to the extent not fully funded by Borrower at such time), (ii) second to Lender
Expenses consisting of reasonable attorneys’ fees and all expenses (including, but not limited to, court costs,
advertising expenses, auctioneer’s fees, premiums for any required bonds, auditor’s fees, amounts advanced for
taxes and other expenses) incurred by the Agent in attempting to enforce this Agreement or in the prosecution or
defense of any action or proceeding related to the subject matter of this Agreement; (iii) third, to the discharge of
any accrued but unpaid Fees, (iv) fourth, to the discharge of any accrued but unpaid interest on the Obligations, (v)
fifth, to the outstanding principal balance of any Obligations and (vi) sixth, to pay any remaining surplus to
Borrower, on behalf of the Loan Parties collectively.

          8.4.     Remedies Cumulative. The rights and remedies of the Agent and the Lenders under this
Agreement, the other Loan Documents, and all other agreements shall be cumulative. The Agent and the Lenders
shall have all other rights and remedies not inconsistent herewith or with the DIP Orders, as provided under the
UCC, by law, or in equity. No exercise by the Agent or any Lender of one right or remedy shall be deemed an
election, and no waiver by the Agent or such Lender of any Event of Default shall be deemed a continuing waiver.
No delay by the Agent or any Lender shall constitute a waiver, election, or acquiescence by it.

         8.5.     Acknowledgments. Notwithstanding anything herein to the contrary, the Agent and each Lender
acknowledges and agrees that in no event shall an “event of default” or “default” under any other Indebtedness of
Borrower (other than the Indebtedness evidenced by this Agreement and the other Loan Documents), cause a
Default or Event of Default hereunder, or cause a breach of any covenant described in Section 5 or Section 6 of this
Agreement.

9.        PRIORITY AND COLLATERAL SECURITY.

          9.1.        Superpriority Claims; Subordination in favor of the Agent’s Liens.

         (a)     Subject to the terms and conditions of the DIP Orders, Borrower and each other Loan Party
warrants and covenants that, except as otherwise expressly provided in this paragraph, the Obligations of Borrower
under the Loan Documents:

                    (i)       Shall, in accordance with section 364(c)(1) of the Bankruptcy Code, constitute allowed
          senior administrative expense claims against each Borrower and their estates (the “Superpriority Claims”)
          with priority in payment over any and all administrative expenses at any time existing or arising, of any
          kind or nature whatsoever, including, without limitation, the kinds specified or ordered pursuant to any
          provision of the Bankruptcy Code, including, but not limited to, Sections 105, 326, 328, 330, 331, 503(b),
          506(c), 507(a), 507(b), 726, 1113 and 1114 of the Bankruptcy Code or otherwise, including those resulting
          from the conversion of any of the Chapter 11 Cases pursuant to Section 1112 of the Bankruptcy Code,
          whether or not such expenses or claims may become secured by a judgment lien or other non-consensual
          lien, levy or attachment; provided, however, that the Superpriority Claims shall be subject to and
          subordinate to only the Carve Out and Permitted Prior Liens;

                    (ii)     shall be secured by valid, enforceable, non-avoidable and perfected liens on and security
          interests in favor of the Agent in all Collateral in which any Loan Party has any right, title or interest, in
          accordance with the Required Lien Priority.

          (b)       In the event any of the Collateral is transferred to any Loan Party, such transfer shall be subject in
all respects to the Agent’s Liens.

        (c)       The Superpriority Claims referred to in this Section 9.1 shall have the priority afforded to such
Superpriority Claims in the DIP Orders.




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         9.2.      Grant of Security Interest in the Collateral. Subject to the terms and conditions of the DIP
Orders, to secure the payment and performance of the Obligations, Borrower and each Loan Party hereby grants,
pledges and collaterally assigns to the Agent for its benefit and for the ratable benefit of the Lenders the following:

         (a)     Pursuant to Section 364(d)(1) of the Bankruptcy Code, valid, binding, continuing, enforceable,
non-avoidable automatically and fully perfected first priority senior liens and security interests in all Collateral,
regardless of where located and subject only to Permitted Prior Liens and the Carve Out.

          (b)       Pursuant to Section 364(c)(2) of the Bankruptcy Code, subject only to the Carve Out, valid,
binding, continuing, enforceable, non-avoidable automatically and fully perfected first priority liens on and security
interests in all Collateral that is not otherwise subject to any Permitted Prior Lien.

         9.3.    Representations and Warranties in Connection with Security Interest. Each Loan Party
represents and warrants to the Agent and Lenders as follows:

         (a)      Subject to the approval of the Bankruptcy Court, such Loan Party has full right and power to grant
to the Agent a perfected, security interest and Lien, in accordance with the Required Lien Priority, on such Loan
Party’s respective interests in the Collateral pursuant to this Agreement and the other Loan Documents.

         (b)      Subject to the approval of the Bankruptcy Court, upon (i) the execution and delivery of this
Agreement, and (ii) upon the entry of the Interim Order or the Final Order, as applicable, the Agent will have a
good, valid and perfected Lien and security interest in the Collateral granted by the applicable Loan Party, in
accordance with the Required Lien Priority, subject to no transfer or other restrictions or Liens of any kind in favor
of any other Person.

          9.4.     Locations of Collateral. The Collateral shall be kept only at the locations set forth on Schedule
9.4 and shall not be moved from such locations without the prior consent of the Agent, except for ordinary course
activities incidental to the operation of the Loan Parties’ businesses.

          9.5.     Agent’s Ability to Perform Obligations on Behalf of Loan Parties with Respect to the
Collateral. At any time when an Event of Default has occurred and is continuing, the Agent shall have the right, but
not the obligation, to perform on such Loan Party’s behalf any or all of such Loan Party’s obligations under this
Agreement with respect to the Collateral, when such obligations are due, at the expense, for the account and at the
sole risk of the applicable Loan Party.

         9.6.     Perfection. No perfection steps shall be required so long as the Interim Order or the Final Order,
as applicable, remains in full force and effect.

         9.7.     No Discharge; Survival of Claims. Pursuant to Section 1141(d)(4) of the Bankruptcy Code, the
Borrower hereby waives any discharge of the Obligations with respect to any plan of reorganization that shall not
provide for the payment in full in cash of the Obligations under this Agreement.

10.       WAIVERS; INDEMNIFICATION.

         10.1.     Demand; Protest; etc. To the extent permitted by applicable law or as expressly required
pursuant to the terms of this Agreement, each Loan Party waives demand, protest, notice of protest, notice of default
or dishonor, notice of payment and nonpayment, nonpayment at maturity, release, compromise, settlement,
extension, or renewal of documents, instruments, chattel paper, and guarantees at any time held by the Agent on
which such Loan Party may in any way be liable.

           10.2.    Agent’s Liability for Collateral. As long as the Agent complies with its obligations, if any, under
the UCC and applicable law, neither the Agent nor any Lender shall in any way or manner be liable or responsible
for: (i) the safekeeping of the Collateral, (ii) any loss or damage thereto occurring or arising in any manner or
fashion from any cause, (iii) any diminution in the value thereof, or (iv) any act or default of any carrier,
warehouseman, bailee, forwarding agency, or other Person. All risk of loss, damage, or destruction of the Collateral

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shall be borne by the Loan Parties, except any thereof resulting from (x) the gross negligence, bad faith or willful
misconduct of the Agent or such Lender as finally determined by a court of competent jurisdiction or (y) a material
breach of any obligation of the Agent or such Lender under the Loan Documents.

          10.3.     Indemnification. Each Loan Party shall pay, indemnify, defend, and hold the Lender Related
Persons (each, an “Indemnified Person”) harmless (to the fullest extent permitted by law) for any losses, claims,
damages, liabilities, expenses, penalties, fined, actions, judgement, and disbursements of any kind or nature
whatsoever (including reasonable and documented out of pocket fees and disbursements of experts, consultants and
counsel incurred by any of them, but limited to one primary counsel for the Indemnified Persons (taken as a whole)
plus local counsel to the extent reasonably necessary in any relevant jurisdiction (a) in connection with or as a result
of or related to the execution and delivery, enforcement, performance, or administration (including any restructuring
or workout with respect hereto) of this Agreement, any of the other Loan Documents, or the transactions
contemplated hereby or thereby or the monitoring of the Loan Parties’ compliance with the terms of the Loan
Documents, (b) with respect to any investigation, litigation, or proceeding related to this Agreement, any other Loan
Document, or the use of the proceeds of the credit provided hereunder (irrespective of whether any Indemnified
Person is a party thereto), or any act, omission, event, or circumstance in any manner related thereto, and (c) in
connection with or arising out of any presence or release of Hazardous Materials at, on, under, to or from any
Collateral or any Environmental Actions, Environmental Liabilities or Remedial Actions related in any way to any
Collateral (each and all of the foregoing, the “Indemnified Liabilities”). The foregoing to the contrary
notwithstanding, the Loan Parties shall have no obligation to any Indemnified Person under this Section 10.3 (i) with
respect to any Indemnified Liability that a court of competent jurisdiction finally determines to have resulted from
the gross negligence, bad faith or willful misconduct of such Indemnified Person, (ii) to the extent arising from a
material breach of any obligation of such Indemnified Person under the Loan Documents or (iii) to the extent arising
out of any loss, claim, damage, liability or expense that does not involve an act or omission of the Loan Parties and
that is brought by an Indemnified Person against another Indemnified Person (other than claims against an
Indemnified Person in its capacity or in fulfilling its role as the Agent or any similar role under the Loan
Documents). This provision shall survive the termination of this Agreement and the repayment of the Obligations.

11.       NOTICES.

          All notices or demands relating to this Agreement or any other Loan Document shall be in writing and shall
be personally delivered or sent by registered or certified mail (postage prepaid, return receipt requested), overnight
courier, or electronic mail (at such email addresses as a party may designate in accordance herewith). In the case of
notices or demands to any party hereunder or any service of process to any party hereunder, they shall be sent to the
respective addresses set forth below:

          If to any Loan Party:

                      ICON Aircraft Inc.
                      2141 ICON Way

                      Vacaville, CA 95688
                      Attn: Jason Huang
                      Email: jason.huang@iconaircraft.com

          with a copy to (which shall not constitute notice):

                      Sidley Austin LLP
                      2021 McKinney Avenue
                      Suite 2000
                      Dallas, TX 75201
                      Attn: Charles M. Persons; Banks Bruce
                      Email: cpersons@sidley.com; bbruce@sidley.com




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          If to the Agent or any Lender:

                      FeiRen International Co., Ltd.
                      12/F, Henley Building
                      5 Queen’s Road Central, Central, Hong Kong, China
                      Attn: Zheng Ying
                      Email: zhengy@flymen.com.cn

          with a copy to (which shall not constitute notice):

                      Tian Yuan Law Firm
                      Attention: Hao Zheng
                      Email: Teamxu1@tylaw.com.cn

          Any party hereto may change the address at which they are to receive notices hereunder, by notice in
writing in the foregoing manner given to the other party. All notices or demands sent in accordance with this Section
11, shall be deemed received on the earlier of the date of actual receipt or five (5) Business Days after the deposit
thereof certified, return receipt requested in the mail; provided, that (a) notices sent by overnight courier service
shall be deemed to have been given when received, and (b) notices by electronic mail shall be deemed received
when sent upon confirmation of transmission as evidenced by a delivery receipt or similar electronic mail function.
If any notice, disclosure, or report is required to be delivered pursuant to the terms of this Agreement on a day that is
not a Business Day, such notice, disclosure, or report shall be deemed to have been required to be delivered on the
immediately following Business Day.

12.       CHOICE OF LAW AND VENUE; JURY TRIAL WAIVER.

      (a)    THE VALIDITY OF THIS AGREEMENT AND THE OTHER LOAN DOCUMENTS (UNLESS
EXPRESSLY PROVIDED TO THE CONTRARY IN ANOTHER LOAN DOCUMENT IN RESPECT OF SUCH
OTHER LOAN DOCUMENT), THE CONSTRUCTION, INTERPRETATION, AND ENFORCEMENT HEREOF
AND THEREOF, AND THE RIGHTS OF THE PARTIES HERETO AND THERETO WITH RESPECT TO ALL
MATTERS ARISING HEREUNDER OR THEREUNDER OR RELATED HERETO OR THERETO SHALL BE
DETERMINED UNDER, GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF
THE STATE OF NEW YORK.

       (b)   THE PARTIES AGREE THAT ALL ACTIONS OR PROCEEDINGS ARISING IN
CONNECTION WITH THIS AGREEMENT AND THE OTHER LOAN DOCUMENTS SHALL BE TRIED AND
LITIGATED ONLY IN THE BANKRUPTCY COURT AND, TO THE EXTENT PERMITTED BY
APPLICABLE LAW, FEDERAL COURTS LOCATED IN NEW YORK; PROVIDED, HOWEVER, THAT ANY
SUIT SEEKING ENFORCEMENT AGAINST ANY COLLATERAL OR OTHER PROPERTY MAY BE
BROUGHT, AT THE AGENT’S OR ANY LENDER’S OPTION, IN THE COURTS OF ANY JURISDICTION
WHERE THE AGENT OR SUCH LENDER ELECTS TO BRING SUCH ACTION OR WHERE SUCH
COLLATERAL OR OTHER PROPERTY MAY BE FOUND. EACH LOAN PARTY AND THE AGENT
WAIVE, TO THE EXTENT PERMITTED UNDER APPLICABLE LAW, ANY RIGHT EACH MAY HAVE TO
ASSERT THE DOCTRINE OF FORUM NON CONVENIENS OR TO OBJECT TO VENUE TO THE EXTENT
ANY PROCEEDING IS BROUGHT IN ACCORDANCE WITH THIS SECTION 12(b); PROVIDED, FURTHER,
HOWEVER, THAT ALL PARTIES HEREBY AGREE THAT THEY HAVE CONSENTED TO THE
JURISDICTION OF THE BANKRUPTCY COURT AND THAT THE BANKRUPTCY COURT WILL RETAIN
EXCLUSIVE JURISDICTION WITH RESPECT TO ALL DISPUTES SO LONG AS THE CHAPTER 11 CASE
REMAINS PENDING.

       (c)   EACH LOAN PARTY, THE AGENT AND THE LENDERS HEREBY IRREVOCABLY
WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL ACTION OR PROCEEDING
ARISING OUT OF OR RELATING TO THE LOAN DOCUMENTS OR THE TRANSACTIONS
CONTEMPLATED THEREBY AND AGREES THAT ANY SUCH ACTION OR PROCEEDING SHALL BE
TRIED BEFORE A COURT AND NOT BEFORE A JURY. EACH LOAN PARTY, THE AGENT AND EACH
LENDER ACKNOWLEDGES THAT THIS WAIVER IS A MATERIAL INDUCEMENT TO ENTER INTO A
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BUSINESS RELATIONSHIP, THAT EACH HAS RELIED ON THE WAIVER IN ENTERING INTO THIS
AGREEMENT AND THE OTHER LOAN DOCUMENTS, AND THAT EACH WILL CONTINUE TO RELY ON
THIS WAIVER IN THEIR RELATED FUTURE DEALINGS. EACH LOAN PARTY, THE AGENT AND EACH
LENDER WARRANTS AND REPRESENTS THAT IT HAS HAD THE OPPORTUNITY OF REVIEWING THIS
JURY WAIVER WITH LEGAL COUNSEL, AND THAT IT KNOWINGLY AND VOLUNTARILY WAIVES
ITS JURY TRIAL RIGHTS.

13.       AMENDMENTS; WAIVERS; SUCCESSORS.

          13.1.    Amendments and Waivers. No amendment, waiver or other modification of any provision of this
Agreement or any other Loan Document, and no consent with respect to any departure by any Loan Party therefrom,
shall be effective unless the same shall be in writing and signed by the Agent, the Required Lenders and Loan
Parties that are party thereto and then any such waiver or consent shall be effective, but only in the specific instance
and for the specific purpose for which given.

         13.2.    No Waivers; Cumulative Remedies. No failure by the Agent or any Lender to exercise any right,
remedy, or option under this Agreement or any other Loan Document, or delay by the Agent or such Lender in
exercising the same, will operate as a waiver thereof. No waiver by Lender will be effective unless it is in writing,
and then only to the extent specifically stated.

         No waiver by the Agent or any Lender on any occasion shall affect or diminish the Agent’s or such
Lender’s rights thereafter to require strict performance by Loan Parties of any provision of this Agreement. The
Agent’s and each Lender’s rights under this Agreement and the other Loan Documents will be cumulative and not
exclusive of any other right or remedy that the Agent or such Lender may have.

          13.3.    Successors. This Agreement shall bind and inure to the benefit of the respective successors and
assigns of each of the parties; provided that no Loan Party may assign this Agreement or any rights or duties
hereunder without the Agent’s prior written consent and such consent shall not, unless otherwise provided in such
consent, release any Loan Party from its Obligations. Any assignment by a Loan Party which is not explicitly
permitted hereunder shall be absolutely void ab initio. Any Lender (with the consent of (a) Agent which shall not be
unreasonably withheld or delayed and (b) if no Event of Default has occurred and is continuing, the Borrower,
which shall not be unreasonably withheld or delayed and which consent shall be deemed given if the Borrower does
not respond to such request within ten (10) Business Days) may freely assign all or part of its rights and duties
hereunder to any Person except in no event shall any Lender assign its rights hereunder to any Person that competes,
directly or indirectly, with the Borrower or any of its respective Subsidiaries.

14.       GENERAL PROVISIONS.

          14.1.   Effectiveness. This Agreement shall be binding and deemed effective when executed by the Loan
Parties, the Agent and the initial Lenders.

         14.2.    Section Headings. Headings and numbers have been set forth herein for convenience only. Unless
the contrary is compelled by the context, everything contained in each Section applies equally to this entire
Agreement.

         14.3.    Interpretation. Neither this Agreement nor any uncertainty or ambiguity herein shall be
construed against Lender or any Loan Party, whether under any rule of construction or otherwise. On the contrary,
this Agreement has been reviewed by all parties and shall be construed and interpreted according to the ordinary
meaning of the words used so as to accomplish fairly the purposes and intentions of all parties hereto.

         14.4.     Severability of Provisions. Each provision of this Agreement shall be severable from every other
provision of this Agreement for the purpose of determining the legal enforceability of any specific provision.

        14.5.    Debtor-Creditor Relationship. The relationship between the Agent and each Lender, on the one
hand, and each Loan Party, on the other hand, is solely that of creditor and debtor, as applicable. Neither Agent nor

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any Lender has (and shall not be deemed to have) any fiduciary relationship or duty to any Loan Party arising out of
or in connection with the Loan Documents or the transactions contemplated thereby, and there is no agency or joint
venture relationship between the Agent and each Lender, on the one hand, and Loan Parties, on the other hand, by
virtue of any Loan Document or any transaction contemplated therein.

          14.6.     Counterparts; Electronic Execution. This Agreement may be executed in any number of
counterparts and by different parties on separate counterparts, each of which, when executed and delivered, shall be
deemed to be an original, and all of which, when taken together, shall constitute but one and the same Agreement.
Delivery of an executed counterpart of this Agreement by facsimile or other electronic method of transmission shall
be equally as effective as delivery of an original executed counterpart of this Agreement. Any party delivering an
executed counterpart of this Agreement by facsimile or other electronic method of transmission also shall deliver an
original executed counterpart of this Agreement but the failure to deliver an original executed counterpart shall not
affect the validity, enforceability, and binding effect of this Agreement. The foregoing shall apply to each other
Loan Document mutatis mutandis.

         14.7.     Revival and Reinstatement of Obligations. If the incurrence or payment of the Obligations by
Loan Parties or the transfer to the Agent of any property should for any reason subsequently be asserted, or declared,
to be void or voidable under any state or federal law relating to creditors’ rights, including provisions of the
Bankruptcy Code relating to fraudulent conveyances, preferences, or other voidable or recoverable payments of
money or transfers of property (each, a “Voidable Transfer”), and if the Agent is required to repay or restore, in
whole or in part, any such Voidable Transfer, or elects to do so upon the reasonable advice of its counsel, then, as to
any such Voidable Transfer, or the amount thereof that the Agent is required or elects to repay or restore, and as to
all reasonable and actual out-of-pocket costs, expenses, and attorneys’ fees of the Agent related thereto, the liability
of Loan Parties automatically shall be revived, reinstated, and restored and shall exist as though such Voidable
Transfer had never been made.

          14.8.    Lender Expenses. The Borrower agree to pay any and all Lender Expenses within thirty (30) days
after written demand therefor by the Agent and that such Obligations shall survive payment or satisfaction in full of
all other Obligations.

         14.9.    Integration. This Agreement, together with the other Loan Documents, reflects the entire
understanding of the parties with respect to the transactions contemplated hereby and shall not be contradicted or
qualified by any other agreement, oral or written, before the date hereof.

15.       TREATMENT OF CERTAIN INFORMATION.

          The Agent and each Lender agrees to use reasonable precautions to keep confidential, in accordance with
its customary procedures for handling confidential information of the same nature, all non-public information
supplied by the Borrower or any of its Subsidiaries pursuant to this Agreement (“Information”), provided, however
that nothing herein shall limit the disclosure of any such Information (i) to any Lender Related Person who needs to
know such Information (it being understood that the Persons to whom such disclosure is made will be informed of
the confidential nature of such Information and instructed to keep such Information confidential), (ii) to the extent
required by applicable laws or regulations or by any subpoena or similar legal process, or requested by any bank
regulatory authority, provided that the Agent or such Lender, as applicable, agrees that it will notify the Borrower as
soon as practicable in the event of any such disclosure by such Person (other than at the request of a regulatory
authority) unless such notification is prohibited by law, rule or regulation, (iii) in connection with any litigation to
which Agent or any Lender is a party, (iv) to the extent such Information (A) becomes publicly available other than
as a result of a breach of this Agreement, (B) becomes available to the Agent or such Lender on a confidential basis
from a source other than the Borrower or any Subsidiary, or (C) was available to the Agent on a non-confidential
basis prior its disclosure to it by the Borrower, any Subsidiary, or any of their agents or advisors, and (v) to the
extent the Borrower shall have consented to such disclosure in writing.

16.       AGENCY PROVISIONS

         16.1.    Appointment of the Agent. Each Lender hereby appoints the Agent as its agent hereunder and
under the other Loan Documents and such Lender hereby authorizes the Agent, in such capacity, to act as the
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Lender’s agent in accordance with the terms hereof and the other Loan Documents. The Agent hereby agrees to act
upon the express conditions contained herein and the other Loan Documents, as applicable. The provisions of this
Article 16 (other than Section 16.6) are solely for the benefit of the Agent and the Lenders and no Loan Party shall
have any rights as a third party beneficiary of any of the provisions thereof. In performing its functions and duties
hereunder, the Agent shall act solely as an agent of the Lenders and does not assume and shall not be deemed to
have assumed any obligation towards or relationship of agency or trust with or for any Loan Party.

         16.2.     Powers and Duties. Each Lender authorizes the Agent to take such action on the Lender’s behalf
and to exercise such powers, rights and remedies hereunder and under the other Loan Documents as are specifically
delegated or granted to the Agent by the terms hereof and thereof, together with such powers, rights and remedies as
are reasonably incidental thereto. The Agent shall have only those duties and responsibilities that are expressly
specified herein and the other Loan Documents. The Agent may exercise such powers, rights and remedies and
perform such duties by or through its agents or employees. The Agent shall not have, by reason hereof or any of the
other Loan Documents, a fiduciary relationship in respect of the Lender; and nothing herein or any of the other Loan
Documents, expressed or implied, is intended to or shall be so construed as to impose upon the Agent any
obligations in respect hereof or any of the other Loan Documents except as expressly set forth herein or therein.

          16.3.       General Immunity.

          (a)      No Responsibility for Certain Matters. The Agent shall not be responsible to the Lenders for the
execution, effectiveness, genuineness, validity, enforceability, collectability or sufficiency hereof or any other Loan
Document or for any representations, warranties, recitals or statements made herein or therein or made in any
written or oral statements or in any financial or other statements, instruments, reports or certificates or any other
documents furnished or made by the Agent to Lenders or by or on behalf of any Loan Party to the Agent in
connection with the Loan Documents and the transactions contemplated thereby or for the financial condition or
business affairs of any Loan Party or any other Person liable for the payment of any Obligations, nor shall the Agent
be required to ascertain or inquire as to the performance or observance of any of the terms, conditions, provisions,
covenants or agreements contained in any of the Loan Documents or as to the use of the proceeds of any Advance or
as to the existence or possible existence of any Event of Default or Default or to make any disclosures with respect
to the foregoing. Anything contained herein to the contrary notwithstanding, the Agent shall not have any liability
arising from confirmations of the amount of outstanding Advances or the component amounts thereof.

          (b)      Exculpatory Provisions. Neither the Agent nor any of its officers, partners, directors, employees or
agents shall be liable to the Lenders for any action taken or omitted by the Agent under or in connection with any of
the Loan Documents except to the extent caused by the Agent’s gross negligence or willful misconduct, as
determined by a court of competent jurisdiction in a final, non-appealable order. The Agent shall be entitled to
refrain from any act or the taking of any action (including the failure to take an action) in connection herewith or any
of the other Loan Documents or from the exercise of any power, discretion or authority vested in it hereunder or
thereunder unless and until the Agent shall have received instructions in respect thereof from the Lenders and, upon
receipt of such instructions from the Lender, the Agent shall be entitled to act or (where so instructed) refrain from
acting, or to exercise such power, discretion or authority, in accordance with such instructions. Without prejudice to
the generality of the foregoing, (i) the Agent shall be entitled to rely, and shall be fully protected in relying, upon
any communication, instrument or document believed by it to be genuine and correct and to have been signed or
sent by the proper Person or Persons, and shall be entitled to rely and shall be protected in relying on opinions and
judgments of attorneys (who may be attorneys for the Loan Parties), accountants, experts and other professional
advisors selected by it; and (ii) the Lenders shall not have any right of action whatsoever against the Agent as a
result of the Agent acting or (where so instructed) refraining from acting hereunder or any of the other Loan
Documents in accordance with the instructions of such Lender.

          16.4.       Lenders’ Representations, Warranties and Acknowledgment.

         (a)      Each Lender represents and warrants that it has made its own independent investigation of the
financial condition and affairs of the Loan Parties in connection with the making of any Advance hereunder and that
it has made and shall continue to make its own appraisal of the creditworthiness of the Loan Parties. The Agent shall
not have any duty or responsibility, either initially or on a continuing basis, to make any such investigation or any
such appraisal on behalf of any Lender or to provide any Lender with any credit or other information with respect
                                                         -33-

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thereto, whether coming into its possession before the making of any Advance or at any time or times thereafter, and
the Agent shall not have any responsibility with respect to the accuracy of or the completeness of any information
provided to any Lender.

        (b)     Each Lender, by delivering its signature page to this Agreement and funding any Advance, shall
be deemed to have acknowledged receipt of, and consented to and approved, each Loan Document and each other
document required to be approved by such Lender.

          16.5.    Right to Indemnity. Each Lender agrees to indemnify the Agent, its Affiliates and their
respective officers, partners, directors, trustees, employees and agents of the Agent (each, an “Indemnitee Agent
Party”), to the extent that such Indemnitee Agent Party shall not have been reimbursed by any Loan Party, for and
against any and all liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses
(including counsel fees and disbursements) or disbursements of any kind or nature whatsoever which may be
imposed on, incurred by or asserted against such Indemnitee Agent Party in exercising its powers, rights and
remedies or performing its duties hereunder or under the other Loan Documents or otherwise in its capacity as such
Indemnitee Agent Party in any way relating to or arising out of this Agreement or the other Loan Documents, IN
ALL CASES, WHETHER OR NOT CAUSED BY OR ARISING, IN WHOLE OR IN PART, OUT OF THE
COMPARATIVE, CONTRIBUTORY, OR SOLE NEGLIGENCE OF SUCH INDEMNITEE AGENT PARTY;
provided, such Lender shall not be liable for any portion of such liabilities, obligations, losses, damages, penalties,
actions, judgments, suits, costs, expenses or disbursements resulting from such Indemnitee Agent Party’s gross
negligence or willful misconduct, as determined by a court of competent jurisdiction in a final, non-appealable
order.

          16.6.      Successor Agent.

          (a)      The Agent may resign at any time by giving thirty (30) days’ prior written notice thereof to the
Lenders and the Loan Parties, or the Required Lenders may remove the Agent at any time by giving thirty (30) days’
prior written notice thereof to the Agent and the Loan Parties. Upon any such notice of resignation by the Agent or
notice of removal from the Required Lenders, the Lenders shall have the right, upon ten (10) Business Days’ prior
written notice to the Loan Parties to appoint a successor agent reasonably satisfactory to Borrower; provided, that in
no event shall any successor agent be a Person that competes, directly or indirectly, with the Borrower or any of its
Subsidiaries. Upon the acceptance of any appointment as agent hereunder by a successor agent, that successor agent
shall thereupon succeed to and become vested with all the rights, powers, privileges and duties of the retiring agent
and the retiring agent shall promptly (i) transfer to such successor agent all records and other documents necessary
or appropriate in connection with the performance of the duties of the successor agent under the Loan Documents,
and (ii) take such other actions as may be necessary or appropriate in connection with the assignment of the retiring
agent’s rights and obligations under the Loan Documents to such successor agent, whereupon such retiring agent
shall be discharged from its duties and obligations under the Loan Documents. After any retiring agent’s resignation
hereunder as agent, the provisions of this Section 16.6 shall inure to its benefit as to any actions taken or omitted to
be taken by it while it was agent hereunder.

         (b)      Notwithstanding anything herein to the contrary, the Agent may assign its rights and duties as
agent hereunder to any Lender or an Affiliate of any Lender without the prior written consent of, or prior written
notice to, the Loan Parties; provided that the Loan Parties may deem and treat such assigning agent as the agent for
all purposes hereof, unless and until such assigning agent provides written notice to the Loan Parties of such
assignment. Upon such assignment, such Lender or such Affiliate shall succeed to and become vested with all rights,
powers, privileges and duties as agent hereunder and under the other Loan Documents.

                                               [Signature pages follow.]




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            IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed and delivered as of the
            date first above written.

                                                                               BORROWER:

                                                                               ICON AIRCRAFT INC., a Delaware
                                                                               corporation


                                                                               By: ________________________________
                                                                               Name: Thomas McCabe
                                                                               Title: Chief Restructuring Officer




                           [Signature Page to Senior Secured, Super-Priority DIP Loan and Security Agreement]
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                                                                               GUARANTORS:


                                                                               RYCON, LLC, a Delaware limited liability
                                                                               company

                                                                               By:
                                                                               Name: Thomas McCabe
                                                                               Title: Chief Restructuring Officer

                                                                               IC TECHNOLOGIES, INC., a Delaware
                                                                               corporation

                                                                               By:
                                                                               Name: Thomas McCabe
                                                                               Title: Chief Restructuring Officer

                                                                               ICON FLYING CLUB, LLC, a Delaware
                                                                               limited liability company

                                                                               By:
                                                                               Name: Thomas McCabe
                                                                               Title: Chief Restructuring Officer




                           [Signature Page to Senior Secured, Super-Priority DIP Loan and Security Agreement]
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                                                    AGENT:

                                                    FEIREN INTERNATIONAL CO., LTD.

                                                    By:




                                                    Name: Ying Zheng
                                                    Title: Managing Director

                                                    LENDER:

                                                    FEIREN INTERNATIONAL CO., LTD.

                                                    By:




                                                    Name:    Ying Zheng
                                                    Title:   Managing Director




[Signature Page to Senior Secured, Super-Priority DIP Loan and Security Agreement]
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                                         EXHIBIT A

                                       Approved Budget

                                         See attached.




                                         Exhibit A-1

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ICON Aircraft
13-Week Projected Cash Flow                                                                              13-Week Cash Forecast - DRAFT
         5-Apr    thru          28-Jun

                              week--->                        1          2           3           4               5             6          7             8           9        10          11          12          13
In US$k                                  Mar-24    Mar-24     Apr-24     Apr-24      Apr-24      Apr-24         May-24        May-24     May-24        May-24      May-24    Jun-24      Jun-24      Jun-24      Jun-24
Week ending Friday                       22-Mar    29-Mar      5-Apr     12-Apr      19-Apr      26-Apr          3-May        10-May     17-May        24-May      31-May     7-Jun      14-Jun      21-Jun      28-Jun

Opening Cash Balance                       242       859          471        (76)     (698)      (2,070)        (2,857)       (3,942)    (4,948)       (5,773)     (6,343)   (7,548)     (8,434)     (8,641)     (8,828)

Payroll/Benefits: US                       351           15       328            8     295            10             418           10         295             10      240           88        -           -           -
Payroll/Benefits: MX                                              -          -         110           110             110         110          110           110       110         110         -           -           -
Consultants                                   4          4          47           7        4            1              61            1            1             4         1          61        -           -           -
Rent                                        (67)     -            -              0     342                                       (45)         -             -         342         (45)        -           -           -
Facilities                                    1      -              80       -         -             -                   31        80         -             -           31          80        -           -           -
Loans                                         5          3        -              3     -             -               -              3         -             -         -           -           -           -           -
Taxes                                       -        -            -          -           32          -               -           -            -             -         -           -           -           -           -
IT                                          -            0          21         63        68            36            37          -            -             -           37           2        -           -           -
Legal fees                                                        -          -         -             -             -             -            -             -         -           -           -           -           -
Professional Fees - Restructuring          400       342          372        497       372           402           295           420          295           325       295         466         186         186         186
Unsecured Creditor Committee               -         -            -          -           52            52            52            52           52            52        52          46          46          26          26
Insurance expenses                         -           24           40       -         -             105             10          280          -             -         -             10        -           -           -
Other professional expenses                -         104             5          5        34             6             9            30            9             6        34           5        -           -           -
Credit Cards/Travel                          13        10           14         15        14            15            14            16           13            14        14          15        -           -           -
Vendor/Employee/Other Obligations          204       318            56         50        75            75            75            75           75            75        75          75        -           -           -
Total Obligations                          909       820          962        647     1,397           812         1,110         1,032          850           595     1,229         911         232         212         212

(Airplane Revenue)                          -        -         (390)       -            -           -              -             -          -             -           -         -           -           -           -
(Other revenue)                             (27)     (22)       (25)       (25)         (25)        (25)           (25)          (25)       (25)          (25)        (25)      (25)        (25)        (25)        (25)
(Funding)                                (1,500)    (410)       -          -            -           -              -             -          -             -           -         -           -           -           -
Cash Balance                                859      471        (76)      (698)      (2,070)     (2,857)        (3,942)       (4,948)    (5,773)       (6,343)     (7,548)   (8,434)     (8,641)     (8,828)     (9,015)

Airplane Sales (in units)                   -        -              1        -           -           -               -             -          -             -           -         -           -           -           -      <--- Input # of units
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                                                       EXHIBIT B

Reporting Requirements

(a)       Financial Reports. Borrower shall furnish to the Agent, which, subject to the following sentence, shall be
          in a form reasonably satisfactory to the Agent, as soon as available and in any event within twenty-one (21)
          days after the end of each calendar month:

          (i)        unaudited consolidated financial statements for such calendar month, as applicable, of the
                     Borrower consisting of a balance sheet, and related statements of income and cash flows, all of
                     which shall be certified on behalf of the Borrower by an Authorized Person as being in compliance
                     with this paragraph (a);

          (ii)       an operating report for Borrower, including a detailed comparison of the actual year-to-date
                     operating results against the Approved Budget; and

          (iii)      solely with respect to the last month of each fiscal quarter, a management report signed by an
                     Authorized Person of Borrower, describing in reasonable detail the Borrower’s operations and
                     financial condition for such month.

          The reports required under sub-sections (a)(i) and (a)(iii) above may consist of the monthly operating
          reports as filed in the Chapter 11 Case.

          All financial statements shall be prepared, and shall be complete, correct and fairly presenting in all
          material respects, in each case in accordance with GAAP, consistently applied, the financial position and
          results of operations of the Borrower on a consolidated basis, in each case, subject to the absence of
          footnote disclosure and may be subject to normal year-end adjustments.

(b)       Other Materials. The Loan Parties shall promptly furnish to the Agent, in form and substance reasonably
          satisfactory to the Agent, such additional information, documents, statements, and other materials as the
          Agent may reasonably request from time to time and which is reasonably capable of being obtained,
          produced or generated by such Loan Party; provided that in no event shall the Loan Parties be required to
          provide any information, documents, statements, and other materials (x) that constitutes non-financial trade
          secrets or non-financial proprietary information, (y) in respect of which disclosure to the Agent or any
          Lender (or its attorneys, accountants and representatives) is prohibited by applicable requirement of law or
          any binding agreement with any third party or (z) that is subject to attorney-client or other privilege or that
          consists of attorney work product.

(c)       Notices. Borrower or the Loan Parties shall promptly notify the Agent in writing of:

          (i)        any action, suit, proceeding or investigation involving a Loan Party or Subsidiary thereof, or any
                     such Person’s property, that is pending or threatened in writing, to the extent such action, suit,
                     proceeding or investigation would reasonably be expected to have a Material Adverse Change; or

          (ii)       (A) the receipt of any written notice or request from any Governmental Authority regarding any
                     liability or claim or (B) any material action taken or threatened in writing to be taken by any
                     Governmental Authority (or any written notice of any of the foregoing), in each case, that would
                     reasonably be expected to have a Material Adverse Change.

(d)       Material Adverse Change. Promptly upon an Authorized Person of any Loan Party obtaining knowledge
          of any development or event pertaining to such Loan Party that has caused, or which would reasonably be
          expected to cause, a Material Adverse Change with respect to which notice is not otherwise required to be
          given pursuant to this Exhibit B, a certificate signed by an Authorized Person of Borrower or the relevant
          Loan Party setting forth the details of such development or event and stating what action the relevant Loan
          Party has taken or proposes to take with respect thereto; provided that in no event shall the Loan Parties be

                                                       Exhibit B-1

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          subject to provide any detail or action-related decision that is subject to attorney-client or other privilege or
          that consists of attorney work product.




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                                                    EXHIBIT C

                                               Request for Advance

FeiRen International Co., Ltd., as Agent
12/F, Henley Building
5 Queen’s Road Central, Central, Hong Kong, China
Attention: Zheng Ying

Ladies and Gentlemen:

The undersigned, as Borrower, executes and delivers this Request for Advance (this “Request”) in connection with
the Senior Secured, Super-Priority Debtor-In-Possession Loan and Security Agreement, dated as of April 4, 2024 (as
amended, restated, supplemented, replaced, renewed or otherwise modified from time to time, the “Loan
Agreement”) by and among ICON Aircraft Inc., a Delaware corporation (“Borrower”), the guarantors party thereto,
the Lenders (as defined below) and FeiRen International Co., Ltd., as agent (in such capacity, “Agent”) for itself and
the other financial institutions from time to time a party thereto as lenders (collectively, “Lenders”). Capitalized
terms used in this Request without definition shall have the same meanings herein as they have in the Loan
Agreement.

Pursuant to Section 2.2 of the Loan Agreement, Borrower hereby requests an Advance in the amount of
___________ Million Dollars ($ _____) to be made on ___________, 2024.

                                              [Signature Page Follows]




                                                     Exhibit C-1

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                                                             BORROWER:
                                                             ICON AIRCRAFT INC., a
                                                             Delaware corporation

                                                             By:
                                                             Name:
                                                             Title:




                               [Signature Page to Request for Advance]
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                                                     EXHIBIT D

                                    GUARANTOR JOINDER AGREEMENT

THIS GUARANTOR JOINDER AGREEMENT (this “Agreement”), dated as of [ ], is entered into between [ ], a [ ]
(the “New Subsidiary”) and FeiRen International Co., Ltd., as agent (in such capacity, “Agent”) under that certain
Senior Secured, Super-Priority Debtor-In-Possession Loan and Security Agreement, dated as of April 4, 2024 (as
amended, restated, supplemented, replaced, renewed or otherwise modified from time to time, the “Loan
Agreement”) by and among ICON Aircraft Inc., a Delaware corporation (“Borrower”), the guarantors party thereto,
the Lenders (as defined below) the Agent, for itself and the other financial institutions from time to time a party
thereto as lenders (collectively, “Lenders”). Capitalized terms used in this Agreement without definition shall have
the same meanings herein as they have in the Loan Agreement. This Agreement constitutes a Loan Document.

The New Subsidiary and the Agent, for the benefit of the Lenders, hereby agree as follows:

1.      The New Subsidiary hereby acknowledges, agrees and confirms that, by its execution of this Agreement,
the New Subsidiary will be deemed to be a Loan Party under the Loan Agreement and a “Guarantor” for all
purposes of the Loan Agreement and shall have all of the obligations of a Loan Party and a thereunder as if it had
executed the Loan Agreement.

2.       The New Subsidiary hereby ratifies, as of the date hereof, and agrees to be bound by, all of the terms,
provisions and conditions contained in the Loan Agreement, including without limitation (a) all of the
representations and warranties of the Loan Parties set forth in Article 4 of the Loan Agreement, (b) all of the
covenants set forth in Articles 5 and 6 of the Loan Agreement and (c) all of the guaranty obligations set forth in
Article 7 of the Loan Agreement.

3.        Without limiting the generality of the foregoing terms of this paragraph 1, the New Subsidiary, subject to
the limitations set forth in Article 7 of the Loan Agreement, hereby guarantees, jointly and severally with the other
Guarantors, to the Agent and the Lenders, as provided in Article 7 of the Loan Agreement, the prompt payment and
performance of the Obligations in full when due (whether at stated maturity, as a mandatory prepayment, by
acceleration or otherwise) strictly in accordance with the terms thereof and agrees that if any of the Obligations are
not paid or performed in full when due (whether at stated maturity, as a mandatory prepayment, by acceleration or
otherwise), the New Subsidiary will, jointly and severally together with the other Guarantors, promptly pay and
perform the same, without any demand or notice whatsoever, and that in the case of any extension of time of
payment or renewal of any of the Obligations, the same will be promptly paid in full when due (whether at extended
maturity, as a mandatory prepayment, by acceleration or otherwise) in accordance with the terms of such extension
or renewal.

4.      The New Subsidiary hereby waives acceptance by the Agent and the Lenders of the guaranty by the New
Subsidiary upon the execution of this Agreement by the New Subsidiary.

5.       This Agreement may be executed in any number of counterparts, each of which when so executed and
delivered shall be an original, but all of which shall constitute one and the same Agreement. Delivery of an executed
counterpart of a signature page of this Agreement by facsimile or other electronic transmission shall be effective as
delivery of a manually executed counterpart of this Agreement.

6.    THIS AGREEMENT AND THE RIGHTS AND OBLIGATIONS OF THE PARTIES HEREUNDER
SHALL BE GOVERNED BY AND CONSTRUED AND INTERPRETED IN ACCORDANCE WITH THE LAWS
OF THE STATE OF NEW YORK.




                                                     Exhibit D-1

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IN WITNESS WHEREOF, the New Subsidiary has caused this Agreement to be duly executed by its authorized
officer, and the Agent, for the benefit of the Lenders, has caused the same to be accepted by its authorized officer, as
of the day and year first above written.

                                                                        [NEW SUBSIDIARY]


                                                                        By:
                                                                              Name:
                                                                              Title:

                                                                        Acknowledged and accepted:

                                                                        FeiRen International Co., Ltd., as Agent

                                                                        By:

                                                                           Name:
                                                                           Title:




                                                      Exhibit D-1

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                                                     EXHIBIT E

                                                CASE MILESTONES

1.        Not later than ninety (90) days after the Petition Date, the Bankruptcy Court shall have entered the Sale
          Order.

2.        Not later than one hundred fifty (150) days after the Petition Date, the Bankruptcy Court shall have entered
          an order to approve the disclosure statement for an Acceptable Plan.

3.        Not later than one hundred eighty (180) days after the Petition Date, the Bankruptcy Court shall have
          entered an order to approve an Acceptable Plan.




                                                      Exhibit E-1

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                                          Schedule A-1

                                        PAYMENT ACCOUNT


The bank account designated by Agent to Borrower in writing from time to time.




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                                           Schedule A-2

                                        AUTHORIZED PERSONS

                          Name                                        Title
 Jerry Meyer                                      Chief Executive Officer
 Jason Huang                                      President
 Simi Gupta                                       Controller
 Thomas McCabe                                    Chief Restructuring Officer




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                                            Schedule D-1

                        DESIGNATED ACCOUNT AND DESIGNATED ACCOUNT BANK

       Account Holder                   Designated Account Bank        Account Number
 ICON Aircraft, Inc.                    Wells Fargo                4124007964




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                                            Schedule 2.1

                                        LENDER COMMITMENTS

                   Lender                                          Commitment
 FeiRen International Co., Ltd.                    $9,000,000.00




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                                                  Schedule 4.1

                                         ORGANIZATIONAL CHART


 Entity Name            Purpose                         Fed Tax ID   Incorporation Ownership
                                                        #            date

 ICON                   Parent Company                  XX-XXXXXXX   6/30/2006
 Aircraft, Inc.

 Rycon, LLC             A holding entity for            XX-XXXXXXX   10/12/2015    100% owned by
                        watercraft/vehicles                                        ICON Aircraft, Inc.

 IC                     Composite Production for XX-XXXXXXX          12/31/2013    100% owned by
 Technologies           Mexico                                                     ICON Aircraft, Inc.
 Inc.

 ICON Flying            ICON Flying Club                XX-XXXXXXX   10/27/2016    100% owned by
 Club, LLC                                                                         ICON Aircraft, Inc.




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                                               Schedule 4.5

                                      LOAN PARTY INFORMATION
General Information

    Legal Name            Jurisdiction of     Type of Entity      Tax ID Number    Organizational
                           Incorporation                                            ID Number
                           or Formation,
                          (as applicable)
 ICON Aircraft,           Delaware           For profit           XX-XXXXXXX      4155135
 Inc.
 Rycon, LLC               Delaware           For profit           XX-XXXXXXX      5848324
 IC Technologies          Delaware           For profit           XX-XXXXXXX      5458081
 Inc.
 ICON Flying              Delaware           For profit           XX-XXXXXXX      6194285
 Club, LLC

Chief Executive Office

                 Loan Party                                        Chief Executive Office
 ICON Aircraft, Inc.                                      2141 ICON Way Vacaville, CA 95688
 Rycon, LLC                                               2141 ICON Way Vacaville, CA 95688
 IC Technologies Inc.                                     2141 ICON Way Vacaville, CA 95688
 ICON Flying Club, LLC                                    2141 ICON Way Vacaville, CA 95688


Commercial Tort Claims:

None.




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                                           Schedule 4.6

                                           LITIGATION

     1. Asset Management Company Venture Fund, L.P., et al. v. Shanghai Pudong Science and
        Technology Investment Co. Ltd., et al., C.A. No. 2021-0475-JTL (Del. Ct. Chancery).
     2. Hawkins v. Icon Aircraft, Inc., et al., Case No. 20STCV24193 (pending in Los Angeles,
        California, Superior Court).




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                                             Schedule 6.1

                                        EXISTING INDEBTEDNESS

     1. Notes owing to East West Bank in a principal amount of $65,000,000.00.
     2. Convertible notes owing Pudong Science and Technologies Investment in an aggregate
        principal amount of $93,000,000.00.
     3. Convertible notes owing to FEIREN International Co., Limited in an aggregate principal
        amount of $10,000,000.00.
     4. Convertible notes owing to Unimax Asset Holdings Ltd. in an aggregate principal amount
        of $2,400,000.00.
     5. Advances booked to customer deposits owing to FEIREN International Co., Limited in an
        aggregate principal amount of $8,500,000.00.
     6. Vehicle financing in respect of two (2) Chevrolet Tahoes owing to GM Financial in an
        amount of $14,728.03.
     7. Indebtedness in respect of the Liens disclosed on Schedule 6.2.




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                                                                 Schedule 6.2

                                                               EXISTING LIENS

     Debtor            Secured Party    Filing Number       Filing Type                   Jurisdiction               Collateral           Amount
 ICON Aircraft, Inc.   CIT Bank, N.A.   2018 1039821    UCC-1                  Delaware Secretary of State        Fortus 450mc       $0
                                        2023 1096253    UCC-3 (Continuation)   Delaware Secretary of State        3D Printer
 ICON Aircraft         G.A.R.           201600025877    Mechanics Lien         Official Records, Solano County,   Labor and          $66,436.33
                       Plumbing                                                CA                                 material related
                       Partners INC                                                                               to
                                                                                                                  heating/chilling
                                                                                                                  piping
 ICON Aircraft         G.A.R.           201600011339    Mechanics Lien         Official Records, Solano County,   Labor and          $112,020.97
 Manufacturing         Plumbing                                                CA                                 material related
                       Partners INC                                                                               to
                                                                                                                  heating/chilling
                                                                                                                  piping




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                                             Schedule 9.4

                                        COLLATERAL LOCATIONS

     1. 2141 ICON Way Vacaville, CA 95688




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                                     Exhibit 2

                                 Initial DIP Budget




31517384.1
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ICON Aircraft
13-Week Projected Cash Flow                                                                              13-Week Cash Forecast
         5-Apr    thru          28-Jun

                              week--->                        1          2           3           4               5             6         7             8           9        10          11          12          13
In US$k                                  Mar-24    Mar-24     Apr-24     Apr-24      Apr-24      Apr-24        May-24         May-24    May-24        May-24      May-24    Jun-24      Jun-24      Jun-24      Jun-24
Week ending Friday                       22-Mar    29-Mar      5-Apr     12-Apr      19-Apr      26-Apr         3-May         10-May    17-May        24-May      31-May     7-Jun      14-Jun      21-Jun      28-Jun

Opening Cash Balance                       242       859          471        (76)     (698)      (2,070)        (2,857)       (3,942)   (4,948)       (5,773)     (6,343)   (7,548)     (8,434)     (8,641)     (8,828)

Payroll/Benefits: US                       351           15       328            8     295            10             418           10        295             10      240           88        -           -           -
Payroll/Benefits: MX                                              -          -         110           110             110         110         110           110       110         110         -           -           -
Consultants                                   4          4          47           7        4            1              61            1           1             4         1          61        -           -           -
Rent                                        (67)     -            -              0     342                                       (45)        -             -         342         (45)        -           -           -
Facilities                                    1      -              80       -         -             -                   31        80        -             -           31          80        -           -           -
Loans                                         5          3        -              3     -             -               -              3        -             -         -           -           -           -           -
Taxes                                       -        -            -          -           32          -               -           -           -             -         -           -           -           -           -
IT                                          -            0          21         63        68            36            37          -           -             -           37           2        -           -           -
Legal fees                                                        -          -         -             -             -             -           -             -         -           -           -           -           -
Professional Fees - Restructuring          400       342          372        497       372           402           295           420         295           325       295         466         186         186         186
Unsecured Creditor Committee               -         -            -          -           52            52            52            52          52            52        52          46          46          26          26
Insurance expenses                         -           24           40       -         -             105             10          280         -             -         -             10        -           -           -
Other professional expenses                -         104             5          5        34             6             9            30           9             6        34           5        -           -           -
Credit Cards/Travel                          13        10           14         15        14            15            14            16          13            14        14          15        -           -           -
Vendor/Employee/Other Obligations          204       318            56         50        75            75            75            75          75            75        75          75        -           -           -
Total Obligations                          909       820          962        647     1,397           812         1,110         1,032         850           595     1,229         911         232         212         212

(Airplane Revenue)                          -        -         (390)       -            -           -              -             -         -             -           -         -           -           -           -
(Other revenue)                             (27)     (22)       (25)       (25)         (25)        (25)           (25)          (25)      (25)          (25)        (25)      (25)        (25)        (25)        (25)
(Funding)                                (1,500)    (410)       -          -            -           -              -             -         -             -           -         -           -           -           -
Cash Balance                                859      471        (76)      (698)      (2,070)     (2,857)        (3,942)       (4,948)   (5,773)       (6,343)     (7,548)   (8,434)     (8,641)     (8,828)     (9,015)

Airplane Sales (in units)                   -        -              1        -           -           -               -             -         -             -           -         -           -           -           -      <--- Input # of units
